          Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 1 of 140                                      PageID 10




                                                                                                                        LYN / ALL
                                                                                                     Transmittal Number: 26547378
Notice of Service of Process                                                                            Date Processed: 03/14/2023

Primary Contact:           Melissa Hairston
                           State Auto Financial Corporation
                           518 E Broad St
                           Columbus, OH 43215-3976

Electronic copy provided to:                   Andrea (State Auto)
                                               Pamela Albery
                                               Suzanne Landacre
                                               Claim Service Dept
                                               Emilee Hanson
                                               Brittany Sheveland
                                               Janet (State Auto)

Entity:                                       State Auto Property & Casualty Insurance Company
                                              Entity ID Number 3047578
Entity Served:                                State Auto Property & Casualty Ins. Co.
Title of Action:                              Dr. Gwin Anderson, OD vs. State Auto Property & Casualty Insurance Co
Matter Name/ID:                               Dr. Gwin Anderson, OD vs. State Auto Property & Casualty Insurance Co
                                              (13773691)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Weakley County Chancery Court, TN
Case/Reference No:                            25552
Jurisdiction Served:                          Tennessee
Date Served on CSC:                           03/13/2023
Answer or Appearance Due:                     30 Days
Originally Served On:                         TN Department of Commerce and Insurance on 02/24/2023
How Served:                                   Certified Mail
Sender Information:                           The Berkley Law Firm, PLLC
                                              901-322-8706

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 2 of 140                   PageID 11

        Department of
      Commerce &
 _.Insurance




March 06, 2023




State Auto Property & Casualty Ins. Co.                          Certified Mail
2908 Poston Avenue C/O C S C                                     Return Receipt Requested
Nashville, TN 37203                                              7020 1290 0001 6213 1483
NAIC # 25127                                                     Cashier # 230557

Re:   Dr Gwin Anderson Od V. State Auto Property & Casualty Ins. Co.

      Docket # 92Cv12023Cv25552


To Whom It May Concerrr

Pursuant to Tennessee Code Annotated §56-2-504 or § 56-2-506, the Department of
Commerce and Insurance was served February 24, 2023, on your behalf in connection with
the above-styled proceeding. Documentation relating to the subject is herein enclosed.

Designated Agent
Service of Process

Enclosures

cc: Chancery Court Clerk
    Weakley County
    P O Box 197, 116 W. Main St., Ste 301
    Dresden, Tn 38225




                    State of Tennessee, Department of Commerce & Insurance
         500 James Robertson Parkway, Service of Process - 10th Floor, Nashville, TN 37243
                              Service.Processna.tn.gov; 615-532-5260
         Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 3 of 140                                                              PageID 12
0.11       .r                                                                                                      /--'\ /,-.~ F-- -\ n 17
  Weakley County Chancery                              STATE OF TENNESSE ~-       ✓ Number
                                                                         ~- 7 U Case
            PO Box 197
        116 West Main Street                                       CIVIL SUMMONS                                           92CH1-2023-CV-25552
         Dresden, TN 38225                                                     page I of 1
               (731)364-3454
  DR GWIN ANDERSON OD vs STATE AUTO PROPERTY AND CASUALTY INSUARNCE CO
                                  (et. al)
Served On:
STATE AUTO PROPERTY              500 JAMES ROBERTSON PARKWAY
     AND CASUALTY
       INSUARNCE CO              Nashville, TN 37243

  NAIC CO CODE: 25127
You are hereby summoned to defend a civil action filed against you in Weakley County Chancery, Weakley County, Tennessee. Your defense must
be made within thirty (30) days from the date this summons is served upon you. You are directed to file your defense with the clerk of-t~ ourt and
send a copy to the plaintiff s attorney at the address listed below. If you fail to defend this action by the re`q uired date, judgmen~~ ,arP1n ,.~p~cryiji '~ re,; •,
rendered against you for the relief sought in the complaint.
Issued: 2/17/2023
                                                                                                      Clerk - Wea ley County Cf              Pc                 ~
                                                                                                                                                              RC ~~k
Attorney for Plaintiff:      DRAYTON BERKLEY
                             1255 LYNNFIELD ROAD SUITE 226, Memphis, TN 38119

                                    NOTICE OF PERSONAL PROPERTY EXEMPTION                                                 L'O0w';;~
TO THE DEFENDANT(S): Tennessee law provides a ten thousand dollar ($10,000) personal property exemption as well as a homesfead-exnmption
from execution or seizure to satisfy a judgment. The amount of the homestead exemption depends upon your age and the other factors which are
listed in TCA §26-2-301. If a judgment should be entered against you in this action and you wish to claim property as exempt, you must file a
written list, under oath, of the items you wish to claim as exempt with the clerk of the court. The list may be filed at any time and may be changed by
you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include items of necessary
wearing apparel (clothing) for your self and your family and trunks or other receptacles necessary to contain such apparel, family portraits, the family
Bible, and school books. Should any of these items be seized you would have the right to recover them. If you do not understand your exemption
right or how to execute it, you may wish to seek the counsel of a lawyer. Please state file number on list.
Mail list to     Regina VanCleave, Weakley County Chancery Clerk, Weakley County
                 PO Box 197
                 116 West Main Street
                 Dresden, TN 38225
                                                   CERTIFICATION (IF APPLICABLE)                                            ~.•••~Y~;•.,~Oj;
                                                                                                                          ,.~ •             •,

I, Regina VanCleave, Weakley County Chancery Clerk of Weakley County do certify t's to be a true and corr   p:     t   rTg,~~ta]
issued in this case.^1                                                                                 ~~ ACRIC~      RE °
Date:
                                                       .C)opk-/Deoutv Clerk— Weaklev Countv ChancM}.            -_ _ gp !_..
OFFICER'S       RETURN: Please execute this summons and make  your return within ninety (90) days of issu     ~
                                                                                                                            .~~~                 ;
                                                                                                                             ~' ,
I certify that I have served this summons together with the complaint as follows:                                                   ..........

Date:                                                                                     By:
                                                                                                Please Print: Officer, Title

         Address

RETURN ON SERVICE OF SUMMONS BY MAIL: I hereby certify and return that on                                                      , I sent postage
prepaid, by registered return receipt mail or certified return receipt mail, a certified copy  of the summons     and a copy   of  the complaint
in the above styled case, to the defendant                                   On                               I received the return   receipt,
which had been signed by                              on                              The  return  receipt is attached to this original
summons to be filed by the Court Clerk.

Date:
                                                                                      Notary Public / Deputy Clerk (Comm. Expires                               )

 Signature of Plaintiff                                                   Plaintiff's Attomey (or Person Authorized to Serve Process)
                                                               return recei t on back)
ADA: Ifyott need assistance or accommodatfons because of a disability, please call Courtney McMinn, ADA Coordinator, at (731)364-3455
                                                                                                                                                      Rev. 8/05/10
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 4 of 140                        PageID 13




          IN THE CHANCERY COURT OF WEAKLEY COUNTY, TENNESSEE FOR
               THE TWENTY-SEVENTH JUDICIAL DISTRICT AT DRESDEN



     DR. GWIN ANDERSON, OD

     Plaintiff,                                              CASE N0. Z

     V.                                                                      WEA9CLEY COUNTY
                                                                                 1
     STATE AUTO PROPERTY &                                                           .L    E
     CASUALTY 1NSURANCE CO,                                                      FEg 1 ? 2023
     Am
                                                                                               D~
                ~                                                                          ~
     Defendant~~Q'~ V 0"`' ~^ ~sscElo~e.~

          COMPLAINT TO COMPEL APPRAISAL AND BREACH OF CONTRACT

     Comes now, Plaintiff. by and through counsel, and requests this Honorable Court to select

     an umpire and order the carrier to comply with the appraisal provision without interference

     and as required in the insurance contract; and does show this Honorable Court the

     following:

     1.           Dr. Gwin Anderson, OD "Plaintiff', is an individual conducting the business of

     property management and owns the insured premises locations 119 N Poplar Dresden, TN

     38225 and 121-126 N Poplar Street Dresden, TN 38225 covered by businessowners policy

     No. BOP9592386.


      i For purposes of judicial economy, only the Declarations Page and Appraisal provision of
      the policy are attached as collective Exhibit "1", to preclude the necessity for the Judge to
      "rifle through" a voluminous policy to locate the limited provisions relevant to this
      proceeding.
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 5 of 140                     PageID 14




     2.      State Auto Properry & Casualty Insurance Company ("Defendant") NAIC Code is

     a foreign corporation that conducts the business of insurance in Tennessee and can be

     served through the Commissioner of Insurance at 500 James Robertson Parkway,

     Nashville, Tennessee 37243 pursuant to Tenn. Code Ann. § 56-2-504. Defendant is

     responsible for the actions of Young & Associates consultants Chris Williams and Matt

     Buckner, via operation of the doctrines of respondent superior, actual or apparent agency,

     employer-employee or master —servant.

     3.        Chris Williams and Matt Buckner are believed to be adult resident citizens of

     Tennessee whose business address is 3102 West End Ave # 175 Nashville, Tennessee

     37203, and both may be served with process by any means authorized by Rule of the

     Tennessee Rules of Civil Procedure.

      3.     Defendants issued Policy No. BOP9592386 to Plaintiffs providing coverage for

     direct physical loss caused by a tornado occurring at insured locations 119 N Poplar

     Dresden, TN 38225 and 121-126 N Poplar Street Dresden, TN 38225, and was in effect on

     the date of loss of December 10, 2021, with all of the locations assigned the Claim No. PR-

     0000000-400470. Excerpts of the policy (declaration pages, Appraisal, and Loss

     provisions) are attached herewith as collective Exhibit "1".

     4.     Defendants have extended coverage and paid certain amounts for tornado damages

     at each location, yet Plaintiffs Public Adjuster and Defendants estimates to repair the

     damage were markedly different.

     5.         Defendants retained the services of Young & Associates, who operated as an

     agent of Defendant to inspect the property in early May 4, 2022, and consultant Chris
     Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 6 of 140                        PageID 15
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          Williams and engineer Matt Buckner met with Plaintiffs Public Adjuster to determine the

          cause and cost of the damaged properties.

          6.            Defendants Engineer, Matt Buckner inspected the property and issued a

          comprehensive report (See Exhibit "2") so wrought with misinformation, falsehoods and

          outright engineering malpractice; that the Public Adjuster was able to refute the report in

          its entirety with a side by side rebuttal (See Exhibit "3")and requested the Defendant retract

          the report, but they refused; and did so to deny payment of policy benefits to the Plaintiffs,

          despite having the PA rebuttal, whose estimate and photographs clearly showed Matt

          Buckner refused to acknowledge or document blatant damages on all of the buildings after

          being advised of the same.

          7.     As a result of the May 4, 2022, inspection, Chris Williams submitted his findings

          through an estimate he prepared for approximately $ 93,741.36, and did so being in

          possession of the estimate Public Adjuster William Griffin, had submitted with supporting

          documentation exceeding policy limits. See Exhibits "4" and "5".

          8.        Due to insufficient payments and Defendants refusal to retract their erroneous

          findings, Plaintiffs submitted a written demand for appraisal to determine the respective

          amounts of loss at all locations on July 15, 2022, naming therein an impartial and

          competent appraiser, and pursuant to the policy term of appraisal,

          9.    In response to the demand Defendants adjuster, Jennifer Stivers, sends a letter dated

          July 22, 2022, naming their appraiser, but also labeled it as a partial declination of

          coverage; in which she listed many "potential" exclusions but did not actually specify or

          identify a single exclusion that would applies to this loss. Stivers also made many material

          misrepresentations of policy coverage and provisions and conflated the conditions as
     Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 7 of 140                           PageID 16
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            causes of loss that she knew were not applicable and not part of the actual insurance

            contract with Plaintiffs. (See Exhibit "6") and all of her attempts to hijack the appraisal

            process and misrepresentations of material facts are refuted in detail in the Public

            Adjuster's reply to the letter, and attached herewith as Exhibit "7" and further refuted by

            Plaintiffs sworn affidavit of the conditions prior to the loss. See Exhibit "8".

            10.      All conditions precedents for the parties to choose an umpire have occurred, yet

            and the process cannot proceed as mandated by the policy.

                                         COUNT I. APPOINT UMPIRE

            11.         The policy appraisal provision provides as follows:

            Appraisal

            If we and you disagree on the amount of loss, either may make written demand for an
            appraisal of the loss. In this event, each party will select a competent and impartial
            appraiser. The two appraisers will select an umpire. If they cannot agree, either may request
            that selection be made by a judge of a court having jurisdiction. The appraisers will state
            separately the amount of loss. If they fail to agree, they will submit their differences to the
            umpire. A decision agreed to by any two will be binding. Each party will:
            a. Pay its chosen appraiser; and
            b. Bear the other expenses of the appraisal and umpire equally.
            If there is an appraisal, we will still retain our right to deny the claim. See Exhibit "1"


            12.    Both parties are entitled to an expeditious appraisal, pursuant to the policy language,
            with two competent appraisers and an impartial umpire, as these three are essential to an
            effective and fair process to determine the correct amounts of loss.
                                        II. UMPIRE QUALIFICATIONS

            13.     Although the policy provision does not outline the criteria to be used in the umpire

            selection process "Generally accepted insurance principles dictate only that 'an umpire

            selected to arbitrate a loss should be disinterested, unprejudiced, honest, and competent. "'
       Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 8 of 140                          PageID 17
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             Brothers v. Generali Us. Branch, No. CIV.A. 1:97-CV-798-MHS, 1997 WL 578681, at *3

             (N.D. Ga. July 11, 1997) (quoting 6 Appleman, Insurance Law and Practice § 3928, at 554

             (1972)). The umpire "should be impartial, honest, and competent..... " Corpus Juris

             Secundum, Insurance § 1897 (2011) See, e.g., b Appleman, Insurance Law and Practice §

             3928, at 554 (1972); Corpus Juris Secundum, Insurance § 1897 (2011).

             14.     Petitioner proposes the individuals who are well qualified, have no business or

             personal relationships with either parry, and meet the criteria described herein.

                   a) Scott Heidelberg — TN — Certified PLAN Ump/Appr- CV attached

                   b) Andy Fraraccio — Intrust Claims — CV attached

                   c) Zach Baker — TN - The David Group - Certified Umpire — CV attached

                   d) 1VIary Jo O'Neal — TN/Ind. Adj./- Certified Umpire-CV attached.

                   e) Scott Perkins — TN /General Contractor— CV attached

             15.    This Honorable Court is authorized by the mutual consent of the parties', and as

             outlined in the policy appraisal provision, to choose an impartial umpire and/or a competent

             appraiser, if necessary, upon the request of either party.

                                     COUNT III. BREACH OF CONTRACT

             16.        The Plaintiff incorporates the foregoing allegations as if fully set forth herein.

             17.        Defendant has materially breached the contract by refusing to pay the amounts

             owed to Plaintiff for the Loss pursuant to the insurance coverage afforded by the Policy.

             18.    Defendant breached its contractual obligations by failing to properly and reasonably

             inspect the Properties, failing to identify heavily damaged items, and failing to pay for cost

             related benefits to properly repair the Properties, as well as for losses associated with the

             subject loss event, including substantial business interruption costs.
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     18.      Defendant materially breached the contract specifically by ignoring the objective

     evidence, affidavits, report rebuttals, photographs refuting the Young & Associates

     engineer report and consultant estimates, and overwhelming proof of the tornado damage

     to the Properties roofing systems and exterior claddings.

     19.     Defendant breached the contract by continuing to rely solely on the Young &

     Associates report and estimate after being made aware of their errors, and wrongfully

     denied the major portions of Plaintiff's claim, under paid the remainder, and refused to

     issue the prompt and fair payment Plaintiff was rightfully owed under the Policy.

     20.    This Honorable Court is authorized by the mutual consent of the parties', and as

     outlined in the policy appraisal provision, to choose a competent and impartial umpire

     and/or a competent im

                              COUNT IV. PUNITIVE DAMAGES

     21.    The Plaintiff incorporates the foregoing allegations as if fully set forth herein.

     22.    Defendants conduct was reckless in light of the foregoing allegations and entitles

     Plaintiff to an award of punitive damages.

                        COUNT V. FRAUDULENT INSURANCE ACT

     23.    The Plaintiff incorporates the foregoing allegations as if fully set forth herein.


     24.    Defendants staff adjuster, Jennifer Stivers, made false statements and material

     misrepresentations of facts and policy coverage terms to the insured and Plaintiffs

     insurance professional / practitioner, in her July 22, 2022 letter, by stating in the opening

     paragraph that, "State Automobile Mutual Insurance Company ("State Auto ") is in receipt

     of your correspondence dated July 19, 2022, wherein a demand for appraisal is made

     arising out of an alleged date of loss of December 10, 2021. While State Auto will proceed
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      in accordance with the policy, there are genuine questions of coverage and State Auto

      reserves all rights under the Policy regarding coverage, including the right to maintain its

      coverage decisions outlined in this correspondence to you, the insureds and/or their

      agents, servants or employees. ", and in the first paragraph on pg .2, Stivers attempts to

      circumvent the appraisal process by stating, " Mr. Betts is authorized to retain any and all

      outside consultants he believes can assist in determining the amount of loss, and to the

      extent necessary in determining causation."; and in the second paragraph on pg. 2, of the

      letter, she again provides material misrepresentation of coverage and terms, stating, "To

      the extent Mr. Betts is unable to obtain cooperation from your appraiser in compliance

      with the Policy conditions, he isfurther authorized to coordinate directly with the umpire

      to establish an appraisal protocol that sets the scope of the appraisal, and to submit his

     findings to the entire appraisal panel "; and Stivers adds even more falsities by stating on

      pg . 7 that, "Because you have invoked appraisal, be assured it is State Auto's intention to

     participate in goodfaith and work to resolve as many amounts of loss disagreements as

     possible. However, if an appraisal award is (1) made without authority, (2) the result of

     fraud, accident, or mistake, or (3) is not in compliance with the requirements of the Policy,

      it is not valid and can be overturned. To that end, you should be aware that knowingly

      including damages in an appraisal award that are not covered losses, or appointing an

     appraiser who is not "competent and impartial ", may cause any appraisal or resulting

     award not to be in compliance with the Policy. "; and Stivers knew full well that all of these

      statements were untruthful misrepresentations of policy coverage and that she was

      intentionally conflating and presenting existing conditions as actual causes of loss, and that

      none of the potential exclusions she listed in the letter actually applied to the loss, nor had
      Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 11 of 140                         PageID 20
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             any of them been claimed or submitted to Defendants; as such, Mrs. Stivers actions

             constitute violations of the Fraudulent Insurance Act found at §56-53-103(a)(1) and has

             wrongfully delayed or denied the payment of insurance benefits to Plaintiff. A copy of this

             letter is incorporated herein by reference as Exhibit "6".


             25.   On June 21, 2022, Chris Williams, who on information and belief is a resident of the

             State of Tennessee, and whose business address is 3102 West End Ave, # 175 Nashville,

             TN 37203, while in the Course and scope of his employment with Defendants, presented

             false information to an insured and an insurance professional related to an insurance claim

             payment by presenting information and representations, the falsity of which he recklessly

             disregarded knowing that the Metal canopy on the front of the building was heavily

             damaged, yet he states in his estimate that, "no damage was observed ", when the damage

             was clearly visible to anyone walking along the sidewalk; a.nd Williams presented his

             estimate knowing full well that it failed to include necessary or identify damage that had

             been attested to by the Public Adjuster, Plaintiffs, and tenants, including the State Auto

             insurance agent that occupies 125 Poplar Street unit. As such, Mr. Williams actions

             constitute violations of the Fraudulent Insurance Act found at §56-53-103(a)(1) and have

             wrongfully reduced the amounts, delayed, and denied the payment of benefits to Plaintiff.

             A copy of his estimate is attached incorporated herein by reference as Exhibits "4".


             26.     On June 21, 2022, Matt Buckner, P.E, who on information and belief is a resident

             of the State of Tennessee, and whose business address is 3102 West End Ave, # 175

             Nashville, TN 37203, while in the Course and scope of his employment with Defendants,

             presented false information and engineer findngs to an insured and an insurance

             professional related to an insurance transaction and claim payment by presenting
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 12 of 140                         PageID 21




      information and representations, the falsity of which he recklessly disregarded knowing

      that "no damage was observed", when the damage was clearly visible to anyone walking

      along the sidewalk; and Buckner presented his report knowing full well that it failed to

      include truthful representations of the actual damages that had been attested to by the

      Public Adjuster, Plaintiffs, and tenants, including direct testimony he received from the

      State Auto insurance agent that occupies 125 Poplar Street unit. As such, Mr. Buckners

      actions constitute violations of the Fraudulent Insurance Act found at §56-53-103(a)(1)

      and have wrongfully reduced the amounts, delayed, andor denied the payment of benefits

      to Plaintiff. A copy of the report and rebuttal is attached incorporated herein by reference

      as Exhibits "2" and "3".


      27.   The actions of State Auto, Stivers, Williams, and Buckner are part of a pattern or

      practice of violating the Fraudulent Insurance Act that entitles Plaintiffs to treble

      damages.

              WHEREFORE, ALL PREMISES CONSIDERED, PLAINTIFF requests the court

      enter an order appointing a competent and impartial umpire, award pre judgment interest,

      post judgment interest, compensatory damages, attorney fees, treble damages, and other

      damages and expenses as authorized by Tenn. Code Ann. §56-53-107 of no less than

      THREE MILLION DOLLARS AND punitive damages of no less than TEN MILLION

      DOLLARS.
     Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 13 of 140                                 PageID 22
r'    '.




                                       CERTIFICATE OF SERVICE

           I do hereby certify that the foregoing document has been served upon the counsel of record
           or parties pro se in this cause, and as follows:

           Deparhnent of Commerce and Insurance
           Attn: Service of Process
           500 James Robertson Pkwy
           Nashville, TN 37243
           P: 615.532,5260
           E: Service.Process@tn.gov

           Matt Buckner
           Chris Williams
           Young & Asssociates
           3102 West End Ave, # 175
           Nashville, TN 37203
           insuranceadjustermike@gmail.com
           Consultants for Defendants


           This, 16tb day of February, 2023




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y`     •'~        STATE AVTO®
             .    Insurance ComPanies                    ~                                       BOP 9592386                       22 .

       BUSINESSOWNERS SPECIAL PROPERTY COVERAGE DECLARATIONS'

      DESCRIPTION OF PREMISES               I Premises 0001           Building 001

                   Building Address                                                 Construction/Protection Class
      :121-123-N,Poplar St                                                     Construction: Joisted Masonry
      Dresderi;-TN -38225                                                      Protection Class 06



      CLASS CODE I           OCCUPANCY
      65198                  Office - Building (Lessor's Risk Only)

                                                    COVERAGE DESCRIPTIONS

                                                               THEFT           LOSS PAYMENT AUTOMATIC
          COVERED PROPERTY                       LIMIT        COVERAGE             BASIS    INCREASE % I PREMIUM

       Building                                   $488;489       Yes, .      , >Replacement.Cost .      4           '     ~    $1;991
                    Property losses are subject to a$1,000                deductible except as otherwise noted.


                             PREMISES 0001' BUILDING 001                                          EXTRA COVERAGE
                  COVERAGES                  I           LIMIT                         d              PREMIUM
     Qrd/L-aw Dernolition~Cost .. .,                        $10,000                                  -Included
     Ord/Law: Increased'Cost of:Coristc
                                     _..,. .                $10;000 .                                 Included
                 _ :.... ... ..: ...               :•                                               -. .--
     Terrorism-Building                                    $488,489                                      $14

                                 See Policy-Wde Coverages,for,-additional valuable,coverages.




     Issue Date 03/21/2021            07:23:42 PM                                  BP 60 01 (01/08) Page 001 of 005
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                      MOBDEC
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                                                                                   038225

r~     `Y ~ STATE AUTO®
         .          Insurance Companies                                                            BOP 9592386                     22

      BUSINESSOWNERS SPECIAL PROPERTY COVERAGE DECLARATIONS

     DESCRIPTION OF PREMISES                I Premises 0002           Building 001

                     Building Address                                                Construction/Protection Class

     1,19:N Poplar,                                                            Construction: Joisted Masonry
     Dresden; TN.•38225                                                        Protection Class 06



     CLASS CODE I            OCCUPANCY
     65198                   Office - Building (Lessor's Risk Only)

                                                   COVERAGE DESCRIPTIONS

                                                               THEFT    LOSS PAYMENT AUTOMATIC
         COVERED PROPERTY                        LIMIT       ICOVERAGEI     BASIS    INCREASE % PREMIUM

      Building -,      - -    — I ~, :            $142,929 • , - Yes - .         Replacement Cost      , -.4                     $583.

                      Property losses are subjectto a$1,000                deductible except as otherwise noted.


                        PREMISES 0002 BUILDING 001                                                   EXTRA COVERAGE
                 COVERAGES                I        LIMIT                                                 PREMIUM
     Ord/Law: Demolition Cost                         $.1,O;OQ9                                :    r - Included
     Ord1L"aw Increased Gost of Constr ~,   :'        $10;000                                          _=lncluded
     Terrorism Building _         _      w :                   .      $142,929                            : $4

                                  See Policy-Wide Coverages for additional valuable cover.ages.




     Issue Date 03/21/2021             07:23:42 PM                                   BP 60 01 (01/08) Page 002 of 005
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                 MOBD'EC
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                                                                             038225

             STATE AVTO®
~            ~ su a ce Co Pa es                                                           BOP 9592386 22

                                        FORMS AND ENDORSEMENTS
                APPLICABLE TO THE BUSINESSOWNERS SPECIAL PROPERTY COVERAGE
NEW         FORM OR ENDORSEMENT I ENDORSEMENT TITLE
               AND EDITION DATE    (Only the endorsement titles are shown below, please review the
                                   form for a complete description of coverage.)


                BP 00 0212-99                Businessowners S,pecial. Property Coverage Form
                BP 04.34C 0197               Computer Coverage
                BP,04 46C 01 96              Ordinance or Law Coverage
                BP 2102 07 00                Appurtenant Structures
                BP 2103 07 00                Arson and Theft Reward
                BP 2106 0.7 00               Business lncome_Changes=Beginning of the:Period -of;Restoration
                                              (Adjustment of Waiting Period)
                BP 21 18 07 00                Exhibitions/Fairs/Sales Samples
                BP 2121 07 00                 Fire Extinguisher Recharge Expense
                BP 21 25 07`00               -Inventory_and Appraisals
                BP 21 28 07 00                Lock and key Replacement
                BP 2131 07 00                 Newly Acquired or Constructed Buildings
                BP 2132 07 00                 Premises Boundary
                BP 21, 48 0910                Business- Personal Property = Autornatic -lncrease
                BP 21- 71 11.02              zLimited, Coverage for Fungi;Vllet Rot;Dry Rot and Bacteria
                BP 21 72 11 02               Exclusion - Fungi,Wet Rot, Dry Rot and Bacteria
                BP 05 230 01 15              Cap On Losses From Certified Acts of Terrorism




*Indicates a new form has been added or a replacement form has been substituted for one of an earlier
    edition• Please retain all forms.

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                        ADDITIONAL-. INTERESTS/INSUREDS
                        BUSINESSOWNERS SPECIAL PROPERTY COVERAGE


MORTGAGEE                              ORDER                                             LOC/BLDG
SIMMONS BANK                           1st Mortgagee                                     0001 / 001
P0 6.0X 9007
PINE BLUFF, AR 71611;




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    BUSINESSOWNERS SPECIAL PROPERTY COVERAGE DECLARATIONS
Coverages provided by your Businessowners Policy are described in the coverage forms and endorsements attached
to your policy and identified in these declarations. The most we will pay for any one occurrence is the greatest of the
applicable limit of insurance shown below. Higher limits shown below supersede limits for the same coverage
described in the coverage forms and endorsements.
See coverages per building for additional valuable coverages.


           POLICY-WIDE COVERAGES                                       LIMIT                            PREMIUM


Accounts-Receivable---------                                           In/$2;500-Out--- -----        ----Includedi
AppuitenanfStiuctu~es                                        -        10%/iR-000           -             Included
Arson and Theft Reward                                                   $5,000                           Included
Building Limit Automatic Increase                                          4%                              Included
Business Inc-Vdait Period 72 hours                         Actual Loss -12 mos.                            Included
Business Income-Extended                                              30 Days                              Included i
Business`Inc-Ord Payroll Ext                                          60 Days                              Included;
Bus:Pers:Prop:Seasorial-Increase ---- ~-- ------ ------ -~--------- -_ --.25%0- --'_--~-.•~ .. ^ . ----- --Included
Computer Coverage                                                      $2,000                              Included
Debris Removal                                                      25%/$10,000                            Included
Exhibitions/Fairs/Sales- Samples -                                -      $5,000 - =          -        ---- Included;
Fire Department Service-Charge-                                            ,000: . .-.- .-.' —             Included'
Fire Extinguisher Recharge                                               $2,500                           Included
Forcaery and Alteration                                                  $2,500                           Included

Lock Replacement                                                            $500                          Included'
Money Orders/Counterfeit Currency                                         $1;000                          Included
Money and Securities*                                            $10;000 In/$2,000 Out                    Included'
Newly Acquired or Constructed Bidgs                                $500,000/120 Days                      Included
Outdoor Property                                                       $2 500/$500                        Included
Outdoor Signs*                                                            $5,000                          Included
Personal Effects                                                          $2,500                          Included
Pers: Prop-Newly Acquired~Premises--                               $250,000/120 Days                      Included
Persorial Property=0ff Premises                                         - $5;000                          Included
Premises Boundary                                                      1,000 Feet                         Included,
Preservation of Property                                                  30 Days                         Included
Valuable Papers                                                   $5,000 In/$2,500 Out                    Included
    Note: Policy-wide coverages followed by an * and the additional coverage-exterior building glass are subject to a
                             $500 Optional Coverage/exterior building glass deductible.




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    2. Appraisal                                                               Also permit us to take samples of
                                                                               dmWed and undamaged IxopertY for
       If we and you cisagree on the amort of
                                                                               i nspectiork testi ng and analysis, and
       loss, either may make written dernarxi for an
                                                                               permit us to rrrake copies from you
       apprai sal of the Ioss. In this ewwt, each
       perty wiII select a oompetert and i mpertial
                                                                                 books and reoords.
       apprai ser. The two apprai sers wil l sel ect an                    (7) Send ts a sigied, swom proof of loss
       unpire. If they carviot agree, either rrray                               oontai ring the i n[ormation we retNest
       request that sel ection be made by a julge of                              to investigate the claim. You must do
       a cart havi rg j t.risciction The apprai sers wiII                         tlros within 60 days after oi.r requ;st.
       state separately the arraurt of loss. If they                             M will st,pply you with the necessary
       faiI to agree, they wiI I subrnit thei r                                  forms:
       differertioes to the unpire. A decision agreed                      (g) Gboperdte with us in the irmtigetion
       to by any two wiII be bi rxing Each party                                  or settlerrienk oF the clai m.
       will:
                                                                           (9 ) Pestme         ai l  or    part  of     yoLr
       a. Pay its chosen appraiser, and                                          "operati ors" as qiickly as possi ble.
       b.Bear the other expenses of the appraisal                        b. We may exatni ne ary i nsued uider oath,
           and trrmpi re equal I y.                                         wlyle not in the presence oP any other
       If there is an appraisal, we will still retain                       i nsired and at sir;h times as may be
       our ri ght to derry the G ai m.                                      reasonabl y reqired, aba.t any matter
                                                                            relating to this insuanoe or the Gaim,
   3. Duties In The Event Of Loss Or                                        i ncl ui ng an i nsLred s books and records.
      Damaqe                                                                In the event of an examirstion, an
      a. You must see that the following are cbne                           insLreds answers mist be sigried.
         i n the event oF loss or darnage to QAwed
            R'oprrty:                                                4. Legal Action Aqainst Us
                                                                        Pb one may bri ng a Iegal acti on agai nst Ls
            (1) Pbtify the pdioe if a law may hae
                                                                        i nder this i nsirdnoe iniess:
                been txolcen.
                                                                         a. There has been f vi l compl i arxe wi th al l
           (2) ava us prampt notice of the loss or                          of the terms oF this insuarce; and
                dmmge. Inctude a description of the .
                property irnnlved                                        b. The action is brotght within 2 years after
                                                                            the date on which the drect physical loss
           (3) As soon as possible, giv+e us a                              or dariage occtrred
               description of. hav, when and where
               the loss or daTiage occured                           5. Limitation - Electronic Media And
            Take all reasonaUe            to      tect                  Records
          (4)he Cbuered I~operty ~from uther                            V1e wiII not pay for any loss oF Busi ness
            dariage, and keep a reoord oP yoir                          Ircome cased by, d rect physical Ioss of or
            expenses neoFssary to protect the                           darrWe to 6ectrorrc Meda and Peoords after
            Chverred FYoperty, for cortisideration in                   the longer of:
            the settlement oF the claim. This will                      a. 60 corseative days from the dete oP
            not i nerease the Li mit oF Insuranoe.                          cirect physical l oss or darnaqe; or
            I-bweuer, we wiII not pay for any
               sLbsequent loss or darrmqe resLlti rig                   b. The period, begming with the date oF
                from a catse of Ioss that is riot a                         cirect physical l oss or danage, rece,ssary
                QNered Qxse oF Loss: AIso, i f                              to repai r,    rebuI,d or repl ace with
                feasi ble, set the daTeged property                         reasonabl e speed and simi i ar qual ity, other
                aside and i n the best possi bl e order                     property at the described premises due to
                for exani reti ort                                          loss or darnage caused by the same
                                                                            oecurrerm
           (5) At ot.r request, give Ls complete
               i nwntori es  oP the danmqed arcJ                         8ectroruc Meda and Fecords are:
               uxdamaged property. InGude q.antities,                      (1) Bectrori c data processi ng, recording or
               costs, val ues and amouit of ' Ioss                              stordqe meci a such as fiIms, tapes,
                clai med                                                        ciscs, druns or eelIs;
           (6 ) As often as may be rea9onebi y                             (2) Lata storred on such niecia or
                requred, . permi t is to i nspect the                      (3) Rugrammirg records used for electronic
                property provi rg the l ass or dariage                          data      processi rig or   electroricalIy
                and exarni ne yoLr books and records.                           cortrol led equ pment.


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                                                                                 ~
                                              ~
                                                                                                                         William Griffin, CPLAU, AUG, PIA
                                                                                                                                           128 Poplar Street
                                 ~                                                                                                    Gadsden, TN 38337-3456
                                                                                                                                        Phone#: 731.420.1402
                                                                                                                           William@griffinlossconsultants.com

Engle Martin & Associates                                                                          July 15, 2022
3750 Hacks Cross Road
Suite 102-337
Memphis , TN 38125
                                                     a,stateauto.com
lathan.mcfadden(a~enQlemartin.com / iennifer.stivers(~

From:: Named Insured:                             Dr, Gwin Anderson
       Address:                                   119,121, 123
                                                  Dresden, TN 38225
         Date of Loss:                            Dec. 10, 2021
         Policy Number:                           BOP 9592386 22
         Claim Number:                            Plt-400470



                                                      ///// TBANSIVIITTAL VIA EMAIL /////

Jennifer and Lathan,:

Per your insureds and in accordance with the Appraisal provision in the above-mentioned policy, and as noted below, there is a dispute regarding the .
Amount of Loss, and within the policy specific language of appraisal as noted below:

    2. Appraisal

        If we and you disagree on the value of the property or the amount of loss, either may make written demand for an appraisal
        of the loss. In this event, each party will select a competent and impartial appraiser. The two appraisers will select an umpire.
        If they cannot agree, either may request that selection be made by a judge of a court having jurisdiction. The appraisers will state
        separately the value of the property and amount of loss. If they fail to agree, they will submit their differences to the umpire. A
        decision agreed to by any two will be binding. Each party will:
        a. Pay its chosen appraiser; and
        b. Bear the other expenses of the appraisal and umpire equally.
        If there is an appraisal, we will still retain our right to deny the claim.

They now forinally demand Appraisal of The Amount of Loss included in all Coverages and resulting from the tomado occurrence - and designate an
their appraiser as follows:

Ben Perry
ebenperry@me.com
(229)560-2713
Accordingly, please designate your Appraiser within the time frame as described within the Appraisal and have him/her contact Mr. Perry to proceed
accordingly with the panel assembly.

Sincerely,



  ft  Grim,~
   iam—                 AU,,     PIA




Enclosures:
Loss Assessment                                                                                  CC: Dr. Gwin Anderson
                                                                                                      J. Stivers
                                                                                                      L. Mcfadden
      Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 21 of 140                                   PageID 30
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              June 3, 2022                                                   C,) µ~ar pxedf
              Lathan McFadden
              Engle Martin & Associates
              5565 Glenridge Connector, Suite 900
              Atlanta, Georgia 30342

              RE:   Scope of Damage
                    Anderson Property
                    119/121/123 N. Poplar Street
                    Dresden, Tennessee
                    DOL: December 10, 2021
                    Claim No.: PR-400470
                    EM File No.: 1000353220
                    YAES No: ES-20220593



              Mr. McFadden,

              At your request, Mr. Matt Buckner, PE, of YA Engineering Services, LLC (YAES) visited the building
              at 119/121/123 N. Poplar Street in Dresden, Tennessee on May 4, 2022. It was reported that the
              building sustained damage during a tornado on December 10, 2021. The purpose of this
              investigation was to determine the extent of these damages and provide a preliminary scope of
              repair. This report contains a narrative followed by Figures. l through 25, for a total of eighteen
              pages.

              General repair recommendations are provided in this report; however, the preparation of detailed
              plans and specifications is beyond the scope of this project and report. AII repairs shall be completed
              in a workmanlike manner and in accordance with manufacturer's specifications and the applicable
              building code(s), including modifications by governing jurisdictions.

              The conclusions and opinions stated herein are based on information available to the investigation
              as of this writing. It is conceivable that additional information may be forthcoming which bears on
              these conclusions and opinions. Therefore, the right is reserved to review and modify all conclusions
              and opinions at any future point in time should, in fact, additional information become available.




                                        Services in CT, Mi, NY and NC provided through YA Engineering, PLLC

                                            Services in CA provided through YA Engineering Services, Inc.
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   Lathan McFadden - Engle Martin &Associates                                  YAES No. ES-20220593
   Scope of Damage - 119/121/123 N. Poplar Street                                        June 3, 2022


   Background

   The building is comprised of three adjoined two-story building structures that are separated with
   multi-wythe clay masonry party walls. The building construction consists of wood framing at the
   floors, roof, and interior partition walls; and loadbearing multi-wythe clay masonry walls at the
   exterior. The roof over the building has a low-sloped configuration with a mechanically-fastened
   ethylene propylene diene monomer (EPDM) membrane roof cover.

   For reference purposes, exterior views of the building are provided as Figure 1 and Figure 2. An
   aerial photograph of the property is provided as Aerial/mage 1. AII relative directions given in this
   report are based on an individual standing in N. Poplar Street, facing the building.




   Aerial /mage 1. Eag/e1/iewT'image of theproperty.

   Weather Research

   Weather data from the tornado event on December 10, 2021, was obtained online1 from the
   National Oceanic and Atmospheric Administration (NOAA). The weather data indicates an EF-3
   tornado passed near the property on this date. The path of the tornado was located approximately
   350 feet from the building in the south direction. An aerial image of the property, which identifies
   the path and EF rating of the tornado on December 10, 2021, is provided as Weather/mage 1.




   1   https://www.weather.gov/pah/December-l0th-11th-2021-Tornado

                                            m   www.YAEServices.com o                         P a g e 12
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  Lathan McFadden - Engle Martin &Associates                                    YAES No. ES-20220593
  Scope of Damage - 119/121/123 N. Poplar Street                                          June 3, 2022




   Weather /mage 1. Goog/e Earth image identifyingpath and EFrating of tornado on December 10,
   2021.

   Site Visit Observations
   Interior of 13uilding
   1. Significant long-term water damage to the interior ceiling and wall finishes was observed
      throughoutthe second level ofthe building. This includes severe staining, deterioration ofwood
      lathes, biological growth, and delaminated wallpaper and plastering (Figures3through c).

   2. Significant long-term water damage to the wood roof framing was observed .throughout the
      second' level of the building. This includes severe staining and deterioration of wood materials
      (Figures7and 6).

   3. Several roof framing members had been replaced at the rear of the building (Figure 9).
      Significant water damage was observed at the interior plaster finishes beneath this location
      (Figures 10and11). Staining and built-up debris from ponded water was observed at the roof
      above this location (Figure 1,1.

   Exterior of Building
   1. The top course of clay bricks, located alongthe front parapet wall at the right side of the building,
      sustained wind damage. This includes ciay bricks thatwere displaced, fallen, and separatedfrom
      the parapet walls (Figures13through 14.




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+J   `~ Lathan McFadden - Engle Martin & Associates                                  YAES No. ES-20220593
        Scope of Damage - 119/121/123 N. Poplar Street                                         June 3, 2022


       2. Various differing styles of clay bricks were observed throughout the exterior of the building.
          These clay bricks and mortaring materials varied significantly in shape, size, and appearance.
          (Figures 15 through 1 ~).

        3. The clay bricks at the front exterior wall of the building, including the clay bricks that sustained
           wind damage, were covered with various deteriorated paints (Figures 18 and 19). The clay
           .bricks at the rear exterior wall were covered with various plasters, and several isolated areas
            had been repaired with sprayfoams and plaster coatings (Figures20and21).

       4. Several areas of the EPDM roof cover sustained wind damage. This includes lifted and peeled-
          back sections of the membrane, separations between the membrane and batten strips, and
          impact damages from displaced clay bricks and terra cotta copings (Figures22 through25).

        Discussion
        It was reported that the building sustained damage during the passage of a tornado on
        December 10, 2021. The building structure was intact and standing during the time of YAES
        examination. However, the EPDM roof cover and the top course of clay bricks along the right side
        of the front par.apet wall sustained damage during the tornado. In addition, significant water-
        related damages were observed throughout the interior at the second level of the building. The
        extent and severity of these water damages are consistent with long-term and reoccurring
        exposure to water infiltration from the roof. A section of the roof framing had been replaced at the
        rear of the building. The interior wall finishes beneath this location were severely damaged from
        water exposure, while the roof above this location exhibited signs of ponding water. This indicates
        the original roof framing mernbers at this locationwere Iikely replaced due to prior water damage.
        Although the wind-damaged areas of the EPDM roof cover would allowwater infi Itration, water has
        been infi Itrating through the EPDM roof cover over a long-term period of time, prior to the tornado.

        Several clay bricks along the top course of the front parapet wall, at the right side of the building,
        sustained damage from wind exposure during the tornado. It was reported that the entirety of the
        clay bricks at the exterior walls will require replacement in order to repair these wind-damaged
        bricks. The basis for this requirement is that the appearance of the newer bricks will not match the
        style and/or appearance of tlie existing bricks at the building. This is unreasonable and
        unsubstantiated, considering the exterior walls of the building are not composed of clay bricks with
        one consistent style or appearance. Numerous clay bricks with varying colors, sizes, and shapes
        were observed throughout the exterior of the building. In addition, it should be noted the clay bricks
        at the front exterior wall of the building, including the wind-damage claybricks, have been painted.
        The coating of paint atthefront exteriorwall of the buildingwill conceal any apparent discrepancies
        in color between the existing clay bricks and new clay bricks.

        Conclusions
        1. The interior finishes and wood roof framing at the building have sustained damage from long-
            term exposure to water infiltration from the roof.


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  Scope of Damage - 119/121/123 N. Poplar Street                                          June 3, 2022


   2. Several areas of the EPDM roof cover sustained damage from wind exposure and wind-borne
      debris impacts during the tornado on December 10, 2021. It is recommended that the EPDM
      roof cover be replaced due to these wind damages.

   3. The top course of the clay bricks, located along the right side of the front parapet wall, sustained
      damagefrom wind exposure during the tornado on December 10, 2021. It is recommended that
      top course of clay bricks, located along the right side of the front parapet wall, be replaced due
         to these wind damages.

   VVe appreciate the opportunity to assist Engle Martin & Associates in this matter. Please feel free
   to call us with any questions.

   Sincerely,

   YA EhlGINEERING SERVICES, LLC


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   Matthew E. Buckner, PE
   Senior Managing Engineer




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       Scope of Damage - 119/121/123 N. Poplar Street                        June 3, 2022




        Figure 1.   Front of building.




        Figure 2.   Rear of building.



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  Scope of Damage - 119/121/123 N. Poplar Street                                   June 3, 2022




   Figure 3.    Note damage and staining to interior finishes, due to long-term exposure to water




    Figure 4.   Note damage and staining to interior finishes, due to long-term exposure to water
                in filtration from roof,

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          Lathan McFadden - Engle Martin & Associates                                                                                                                                                                                                                                YAES No_ ES-20220593
          Scope of Damage - 119/121/123 N. Poplar Street                                                                                                                                                                                                                                       June 3, 2022




          Figure 5.                             Note damage and staining to interior finishes, due to long-term exposure to water
                                                infiltration from roof.
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          Figure 6.                                 Note damage and staining to interior hnishes, due to long-term exposure to water
                                                    infiltration from roof


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    Figure 7.                                   Note damage and staining to wood roof framing, due to long-term exposure to water
                                                infiltration from roof.



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        Figure 8.                                   Note damage and staining to wood roof framing, due to long-term exposure to water
                                                    int-iltration from roof.


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   Figure 9.   Note replaced roof framing members at rear of building.




    Figure 10. Note damage at interior plaster finishes beneath replaced roof framing members, due to
               long-term exposure to water infiltration from roof.


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        Figure 11. Note damage at interior plaster ftnishes beneath replaced roof framing members, due to
                   long-term exposure to water infiltration from roof.




         Figure 12. Red arrows point to staining and built-up debris at the roof above the replaced roof
                    framing members.


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   Figure 13. Red arrows point to wind damage to top course of clay bricks at parapet wall around
              front-right corner of building




   Figure 14. Note wind damage to top course of clay bricks at parapet wall around front-right corner
              of building.


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            Lathan McF'adden - Engle Marttin & Associates                                YAES No. ES-20220593
          > Scope of Damage - 119/121/123 N. Poplar Street                                         June 3, 2022




                        Figure 15. Note differing styles o f clay bricks at exterior of building.




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•    , Scope of Damage - 119/121/123 N: Poplar Street                                       June 3, 2022




       Figure 16. Note di{fering styles of clay bricks at exterior of building.




       Figure 17. Note differing styles of clay bricks at exterior of building.



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       Lathan McFadden - Engle Martjn & Associates                                   YAES No. ES-20220593
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        Figure 20. Note clay bricks at rear exterior wall have been repaired with various plaster coatings.




        Figure 21. Note clay bricks at rear exterior wall have been repaired with spray foam.



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   Figure 22. Overview of EPDM roof cover from front of roof.




    Figure 23. Overview of EPDM roof cover from rear of roof.



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   Figure 24. Note wind damage to EPDM roof cover at front portion of roof.




    Figure 25. Note wind damage to EPDM roof cover at front-right corner of roof.



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                                                                                                            December 15, 2022
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                                                       REPORT I2EBUTTALS:

           YA ENGINEERING SEItVICES, LLC
           Matt Buckner, PE
           Sr. Managing Eaagiraeer

           The report begins with an introduction to the field adjuster stating that, "the purpose of this
           investigation was to determine the extent of these damages andprovide a preliminar;y scope
           of re air. General repair recommendations are provided in this report; however, the
           preparation of detailed plans and specifications are beyond the scope of the project and
           report All repairs shall be completed in a workmanlike manner and in accordance with
           manufacturer's specifications and the applicable building code(s), including modifications
           by governing iurisdictions. " This introduction immediately gives pause as costly elements
           of construction have been omitted from the recommended scope and estimate based on a
           inadequate and incomplete compilation of the actual extent of storm related damages to
           this structure — and nothing more than the same as far as the estimate is concerned. No
           insured -- especially one who has bore the brunt of excessive expenditures to protect
           property that should have been repaired months ago -- should be left with a preliminary
           scope of repair from a structural engineering firm hired to determine the extent of the
           damages. The estimate based upon this report is woefully inadequate due to the same.
           There is no legitimate or available method of construction that can be undertaken to
           properly indemnify the insured based upon the findings of this report, as you shall clearly
           see after being apprised of the facts of this loss; in part, and as follows:

           L:i ckt;ro u n c3

           This section of the report mistak~ outlines only two buildings with EPDM roof systems
           and omits the third building with the mod bit roof as shown in photo on left below. Photo
           on right is correct and this is why the report only discusses the EPDM roof systems.




           The Aerlal Image 1. Eagle ViewTm image of the property   Correct image of the three buildings that are subject
           Outlining dvo buildings. (EPDMonly)                      of the claim. (Mod Bit, EPDM) And two lower rear roofs.
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 40 of 140                                                                  PageID 49




                                                     Site Visit Observations

      lnterior of Bunflding

      1. Significant long-term water damage to the interior ceiling and wall finishes was
      observed throughout the second level of the building. This includes severe staining,
      deterioration of wood lathes, biological growth, and delaminated wallpaper andplastering
      (Figures 3 through 6).

      1) This opinion is refuted by the fact there is no long term water damage to the interior
      ceiling and wall finishes as the roof has not leaked in many years. (see affidavit) The severe
      staining described in the report is from the old stain conditions that were present at
      purchase, sustained tremendous amounts of water intrusion caused by the wind damages
      to the roof. The water entered through the opening created by the high winds and wind
      driven debris causing water to pour through the roof deck onto the framing, upper and
      lower walls, ceilings, and floors. Water entered into the multi wythe structural brick walls
      when the masonry cap was blown off and




      Figure 3. The report incorrectly determines that all of the damage and staining (above left) is due to long-term exposure to water
      infiltration from the roof. However, this assertion is wrong and cannot be substantiated as there is no methodology available to accurately
      date water stains and the factual background of the roof conditions and evidence of the upper floor conditions were unknown to the
      author on the date of photos and the publishing of this report. The stain on right was taken on December 2021 and the one on the left
      was taken May 4, 2022. but we know for sure that it was the new water that damaged the first floor because it had to have originated
      from the damaged roof at the time of the loss. (see affidavit)


      We know that the areas mentioned in the report pertaining to the staining of the upper level
      and roof deck were not as severe nor were they as numerous as they are now, the area
      "framed" was certainly not stained prior to the tornado, and there was no water damage to
      the first floor prior to the storm. The water had to travel through a lot of materials in order
      to reach the first floor.
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       2. Significant long-term water damage to the wood roofframing was observed throughout
      the second level of the building. This includes severe staining and deterioration of wood
      materials (Figures 7 and 8).

      2. The new water intrusion is evidenced by the water damage that occurred to the roof,
      deck, framing, ceilings walls, and into the first floor tenant offices. The existing
      "conditions" described in report were not the cause of the loss but the report is careful not
      to mention the areas of obvious water intrusion from the damaged roof. The conditions of
      any deteriorated wood materials, etc must be abated to properly replace the roof and its
      substrate and decking repair the roof and the other storm damaged components.




      Ffg 1 newe water damages to the newer decking and Fig. 2 Stains stfll wet from the tornado on the upper ceflfngs.
      the freshly patntedfirst,/loor walls and cetlfngs is not
      noted in the report.

      3. Several roofframing members had been replaced at the rear of the building (Figure -
      Significant water damage was observed at the interior plasterfinishes beneath this location
      (Figures 10 and 11). Staining and built-up debrisfrom ponded water was observed at the
      roof above this location (Figure 12)

      3) The replaced framing (area) was installed for extra support shortly after building was
      purchased and was not the result of a damage event to the structure. The debris under the
      area was there before the work was performed and the "ponding water and debris" observed
      was caused by the tornado when it lifted the rear gutter and roof section causing water to
      pour into the building. Some plaster damage was pre-existing and some of it happened
      during the tornado event. Number 3 is refuted by the photos below:
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      Compare Repon (Fig. 9) Not long-term                           Compare Report (Fig. 9)Not long-term




      Compare Report (Ftg. 12)Wfnd caused water to pour in.           Compare Report (Fig. 10, ll) Neiv damage to plaster. Not long-term.
      This is the rear ivall that ts misidentified as ' pondfng ".    Wood lathing fs not severely stafned.



      ExterIl®r ®f Build'nng

      1. The top course of clay bricks, located along the front parapet wall at the right side of
      the building, sustained wind damage. This includes clay bricks that were displaced, fallen,
      and separatedfrom the parapet walls (Figures 13 through 14)

      1. This observation is blatantly wrong because there are actually several courses of brick
      on the front and right elevations damaged from the tornado, and many were dislodged or
      have fallen and struck the metal roof and the ground due to the lightweight concrete and
      masonry cap being severely damaged by the tornado. The right elevation wall was damaged
      down to the mid-section due to the wind force. The only thing holding the first three courses
      together is the EPDM material and termination bar.
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      Fig. 1 Severe wind damage to the brick on top left of the front and right elevations has made the buildfng dangerous and
      a substantial amount of money has been expended in trying to protect the property and prevent injuries. Thfs photo alone
      refutes the opfnfons on scope and the amount of loss.


      2. Various differing styles of clay bricks were observed throughout the exterior of the
      building. These clay bricks and mortaring materials varied significantly in shape, size, and
      appearance. (Figures 15 through 17).

      2. The report erroneously identifies the exterior facing brick as having "differing styles of
      brick", and they varied significantly in shape, size, and appearance. I counter that this
      building was not built from the ground up in a haphazardly manner or with varying types
      of brick. In fact, there are bricks of different types in the different wythes for the adequate
      support of the structure and according to the standards of the era.

       A closer inspection of the brick reveals the front elevation is four wythe facing brick and
      all exterior brick are identical in size, shape, and pattern. The cap bricks have been set
      diagonal for decorative purposes. They are set with lime mortar and lightweight masonry
      coating is poured as the top cap and have See figures below:

                  Buildiug                     Sample                          Sample




      Above Common bond brickpatterns with five courses ofstretcher bond brickfollowed by a row ofheader course brfckpatterns.
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 44 of 140                                                                  PageID 53




      The pafntedfacfng brtck on left and unpainted on Right have the same size shape and pattern as fnterfor brfck on rtght that previously
      had masonry coating on top of it. Interior brick in the attic area are the same size, shape, and appearance — minus the wear of the
      exterior brfck Interfor brfck wal/ on upperfloor fs the same size, shape, and appearance. The two middle photos are samples


      3. The clay bricks at the front exterior wall of the building, including the clay bricks that
      sustained wind damage, were covered with various deteriorated paints (Figures 18 and
      19). The clay bricks at the rear exterior wall were covered with various plasters, and
      several isolated areas had been repaired with spray foams and plaster coatings (Figures
      20 and 21).

      3. This Front exterior painted brick was covered with multiple coats of paint and the
      degraded mortar and masonry coating was broken into pieces. The rear masonry wall is
      coated with a thick layer of lightweight concrete masonry coating that was installed during
      construction of the building.




      These brick are all the same type just pafnted and displayedfor aesthetics of the era and there was a diJj'erent type of mortar for the
      innerwythes and the outer wythefor structuralpurposes. 77ie brlck belmv these are severely de-bonded and wtll requtrefull replacement
      due to the same.




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      t!. The unpainted brick ion the right elevatfon along the parapet wa/l       b. Confirmed new damage to interior wall opposite side of a.
      fs severely bowedfrom tornadicwinds. The de-bonded conditlon of               showing coated masonry backsfde of right elevatfon wall.
      the facing brlck requfres it to be removed and replaced. Recent
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 45 of 140                                                              PageID 54




      debris strikes are evident all across the ivall and bricks from the
      cap have struck the buildfng roof next door as ivell. Attempts have
      been made to seal and stabfltze ft to no avall.




      Exposed cap sectfon ln the two photos above shows the same brtck was used to create the decorattve, yet structtaal support, of the top
      course with a masonry coating cap, andfurther refutes the theorles of the report.




      Clearly, the structural bricks have a consistent style, appearance, pattern, and function
      installed according to the methods of construction known in that era. Moreover, a proper
      repair of the structural walls cannot be accomplished due to the direct wind damages
      sustained, coupled with the condition of de-bonding throughout the exterior walls. Wind
      shear warped the right elevation wall. Also note the wind damaged windows on the front
      and rear elevations are not accounted for in estimates.
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      Front elevatfon canopies are severely damaged byfalling brick and debrisfrom roof. The consultant stated there was no damage present
      on these canopies in his estimate.


     4. Several areas of the EPDM roof cover sustained wind damage. This includes lifted and
     peeled-back sections of the membrane, separations between the membrane and batten
     strips, and impact damagesfrom displaced clay bricks and terracotta copings (Figures 22
      through 2S).

      4. This explains exactly how the tornadic winds caused the catastrophic water intrusion
      that poured through the roof openings created by the tornadic winds and was the cause of
      severe damages underneath it. This report has failed address this situation directly or
      attribute a single thing to the storm until this section.




      Common Statnvell wall and window result of tornadfc wlnd                                                                            Photo of recent water damage from roof into upper•Jloor.
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 47 of 140                                                                                                        PageID 56




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      Evidence ofivater intrusfon fnto upper ceilfng, ivall, subfloor, and into frrslfloor that was caused by tornado.




      Window frames wind damaged with recent water damage


      DIsCIl1SS9®flfl



      The allegations that were relied upon in this report section are incorrect assumptions based
      only in conjecture as such was never discussed with the insured prior to, or after, the May
      4, 2022 inspection. There has absolutely been no re-occurring or long-term exposure to
      water infiltration from the roof since the roof installation many years ago. The newer roof
      framing was actually installed shortly after the purchase of the building and initial inception
      of the policy and was not replaced due to a loss event. The ponding above the area is
      directly a result of tornadic winds that lifted the rear gutters that lifted the roof up as shown
      in photos above. The assertion that "water has been infiltrating through the EPDM over a
      long period of time" is preposterous when compared with the facts stated by insured.
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 48 of 140                         PageID 57




      The second paragraph of this section is refuted in its entirety by the fact that the masons
      who built this building in the 1900's had to use a soft, flexible and breathable lime-based
      mortar to act as a separator bed between individual bricks, which allowed the wall and its
      individual components to move as the mortar expanded and contracted, and to allow
      moisture to escape from the wall, which keeps the interior of the wall relatively dry.

      After constructing the building foundation, the masons built the exterior brick walls several
      courses (rows) thick. The most uniform and sound bricks were used on the exterior of the
      building. Bricks that contained flaws or irregularities were used on the interior walls and
      covered with plaster or a masonry coating. These clay bricks were also used on cornices,
      pediments, lintels, sills and as decorative features for the buildings.

      The masons of that era typically laid brick in different patterns of "headers" and
      "stretchers." A header is the short end of a brick, and a stretcher is the long end of a brick.
      Two typical patterns seen on these buildings is five-course and six-course common bond,
      also called American bond. To make these patterns, the masons laid five or six courses of
      stretcher bond brick followed by a row of header course brick, and so on, as shown in the
      photos and during inspections.

      A licensed General Contractor and brick subcontractor have agreed that these brick are
      patterned and cannot be duplicated to preserve the historic character of the buildings.
      However, that fact that the brick walls are so severely de-bonded that this condition will
      not allow a proper repair to be achieved
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 49 of 140                                                                             PageID 58




        Repoat Phot®s:                                                                              gnsured Ph®g®s:




      Fig. 12 The arrows pofnt to staining and butlt-up debris at the roof                  Fig. 12 The wfnds lifted the gutter and roof coverfng allowfng
      above the replacedframtng members.                                                      water to enter the rear elevation into upperfloors.




                   '          ~       •   -    ~'        ~   ...   ~._"s:a: ~-t ~




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      ni!fj


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          :S~.~A       ~T•'




      Ffg 13. Red arrowspoint to wind damage to top course of                       Fig. 13 Windows and canopies are severely damaged by wind debris.
      clay Bricks.                                                                         Window leniils and brick is damaged and debrisfallingfrom bldg.
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 50 of 140                                                                  PageID 59




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                                                                                                           ;.
                                                                                                      ~r~:~ ~. _.         ..   .   • . `"~"i




      Fig.14. Note wind damage to top course of clay bricks at parapet This,fig. shows there is sevrerl courses of brick and cap damaged
      wall aroundfront-rtght corner of butldfng.                       That will result in the walls having to be repafred or repalaced.




      ;                                               •



      x, .   .   ...   .   ~. . _ ~••A ,   _   ' ~I




      Fig. 16 Note dijfering styles of clay brlcks at exterfor of building   Fig. 16 This is the same brfck it has just been tuck and potnted
        This rs the Amerfcan Bond pattern for structural exterfor brick      stabilize the parapet wallfor roof installaion. No mortar set.
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      Fig.17. Note differing styles of clay bricks at exterior of building.




        Fig. 24 Notes wind damage to EPDM and bylck cap                       Fig. 25 Notes wind damage to EPDM
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      Fig. 11Report states this photo is clay bricks at rear exterior     Fig. 21 is not bricks, but a masonry window sealed with spray foam.
         wall have been repaired with spray foam.                                No bricks are shown in the photo as this is how it was built.




      Fig. 20 Note clay bricks at rear exterior wall have been repaired    Fig. 17 Building originally constructed wfth this masonry coating.
      with various plaster coatings.
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 53 of 140                                                        PageID 62




      Figure 22 Overview of EPDM roof cover from, front of roof   Figure 23 Overview of EPDM roof cover from reor of roof.


      Conc9usIlon

      The report and estimate are incorrect in many aspects and are addressed by their respective
      report number and supporting photo documentation in "Exhibit A" attached hereto.

      The alleged findings contained in this report have been refuted by the photographic
      evidence and sworn affidavit included herein and attached hereto. The inaccurate
      observations and conclusions of this report have been used to deny this legitimate claim,
      and it should be amended, corrected, and rescinded immediately. Roofing materials are not
      structural and are not even an engineering specialty. void of science (i.e. terminal velocity
      calculations, measurement ofmaterial impact resistance and relevant ambient factors, etc.)
      dovetails into a conclusion that supports the illusory coverage exclusions the adjuster has
      provided to the insured resulting in a wrongful denial of the insureds claim.

      Therefore, based upon the information provided to you herein, it is clear that the firm has
      submitted information that lacks in any merit or fact that supports your partial denial of of
      our estimations. We formally request that the roof and upper floor conditions described in
      the report be correctly identified as conditions and the true extent of the damages be
      rendered along with correct repair methods to include the conditions that will be abated in
      order to repair the damaged components. And also provide detailed plans and specifications
      using the applicable building codes by the governing jurisdiction to safely complete the
      work described.

      Due to the covered loss to the roof, the insurer is now required to bring the exterior
      masonry, structural brick walls, interior masonry walls, and interior decking and framing
      into compliance with applicable building codes before the roofs of those buildings are
      replaced. Moreover, the upper walls of the building are unreinforced with severe mortar
Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 54 of 140                         PageID 63




      degradation and the upper section of the walls the walls must be made code compliant
      before replacement of the roofs in those areas. T h e u p p e r c o u r s e o f b r i c k w a s
      ap p r o v e d a n d r epairing the walls is considered a major repair under the applicable
      building codes; Section 606.1 and 606.2.3 of the International Existing Building Code
      are triggered by the replacement of the roofs; and the walls are presently i n a
      dangerous condition that constitutes a high risk situation that must be addressed
      immediately.

      Section 606.1 of the 2012 International Building Code ("IBC") states: Structural repairs
      shall follow this section and Section 601.2. Regardless of the extent of structural or
      nonstructural damage, dangerous conditions shall be eliminated. Regardless of the scope
      of repair, new structural members and connections used for repair or rehabilitation shall
      comply with the detailing provisions of the [IBC] for new buildings of similar structure,
      purpose, and location. Any building, structure or portion thereof that meets any of the
      conditions described below shall be deemed dangerous:

      2. There exists a significant risk of collapse, detachment or dislodgment of any portion,
      member, appurtenance or ornamentation of the building or structure under service
      loads.

      Bricks and debris have dislodged from subsequent storms damaging the structure adjacent
      and below the roof system of the property, as well as falling onto the metal canopies and
      landing on the sidewalks below.

      In light of these facts and circumstances, we respectfully request that this report be
      reviewed and that all conclusory and unsupported opinions be removed and/or revised to
      address the true extent of needed repairs so the insurer can render proper payment for the
      same.

      Sincerely,

      William Griffin
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                        ®t1                              c f~~,~
         Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 55 of 140                                              PageID 64


~           ~            YOUNG & Associates
    f
               ~         3102 West End Ave, #175
           ®             Nashville, TN 37203


                    Insured:   Dr. Joe Anderson; Dr. Gwin Anderson
                   Property:   119-123 N Poplar
                               Dresden, TN 38225


            Claim Rep.:        Lathan McFadden                                                    Business:    (870) 945-1600
               Position:       Sr. Property Adjuster                                               E-mail:     lathan.mcfadden@englemartin.com
             Company:          Engle Martin
              Business:        3750 Hacks Cross Road Suite 102-337
                               Memphis, TN 38125


                Estimator:     Chris Williams                                                     Business:    (615) 812-7474
                 Position:     Regional Consultant                                                 E-mail:     chris.williams@youngonline.
                Company:       YOUNG & Associates                                                              com
                 Business:     3102 West End Ave, #175
                               Nashville, TN 37203


        Claim Number: PR-400470                       Policy Number: BOP 9592386 22                    Type of Loss: Tornado


          Date of Loss:        12/10/_2021 12:00 AM                  (Date Received:     4/26/2022 12:00 AM '
         Date Inspecfed:       5T4/2022 12:00 AM                       Date Eritered:    6/'1072022 12:00 AM

                Price List:    TNJA8X_JAN22                                                                   WORK WILL BE AFTER
                               Rest6ration/Service/Remodel                                                    HOURS DUE TO HAZARDS
                   Estimate:   DRJOEANDERSON 0306

    Scope of work is based on a visual inspection completed on 5/4/2022 and is based on all work being done during normal
    business hours. No allowance has been made for overtime or premium time. This scope of work is based on a replacement basis
    and does not include code upgrades, emergency services, testing and/or removal of hazardous materials.

    The
    _.~                  document is!:to show repair quantities with the thought process of restoring the building to pre-loss
         intent ,of this____~.y_
    The accuracy of these quantities/prices should be verified by the insured or their contractor and any proposals'for the
    should include, all work required to restore the building to its pre-loss condition, regardless of whether the trade descri
    ,quantities are, sliown in this docurnent. Anypotential discrepancies should be brou t to our attention ~in a timely'ma


    YA JOB # SE-20220306
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                   YOUNG & Associates
                   3102 West End Ave, #175
                   Nashville, TN 37203



                                                              DRJOEANDERSON_0306
                                                                      Main Roof

                                     EPDM Roof

                                                     2957.50 Surface Area                                    29.57 Number of Squares
                                                      175.47 Total Perimeter Length




 DESCRIPTION                                  QUANTITY UNIT PRICE                    TAX            O&P         RCV         DEPREC.          ACV
        DEMOLITION
 1. Tear offrubber roofing - per adhered          29.57 SQ            33.54           0.00        198.36       1,190.14         (0.00)    1,190.14
 (no haul off)
 2. Remove Insulation - ISO board, 1 1/2"         59.15 SQ            47.20           0.00        558.38       3,350.26         (0.00)    3,350.26
   Assumptfon of roof insulation based on current codes. Tear offquantfty may need to be adjustedpending roof core review.
 3. Roofing - General Laborer - per hour           4.00 HR            34.35           0.00         27.48         164.88         (0.00)     164.88
   Additional labor for job sfte clean-up during demolition.
                                                                   SAFETY PROTOCOL AND SUPERViSOR
        INSULATION IECC CODE CHECK
 4. Insulation - ISO board, 1 1/2"                59.15 SQ          175.02         501.62       2,170.80      13,024.85     (1,085.40)   11,939.45
    Two layers to meet current codes. Pending review of roof core, this line item may need to be separated as a code upgrade. NO
        ROOFING
 5. Rubber roofing - Perimeter adhered            31.05 SQ           274.26        335.83       1,770.32      10,621.92     (2,655.48)    7,966.44
 system - 60 mil                           THIS IS TOTALLY WRONG
   Including an additional 5%for waste.
 6. Rubber roofing - Perimeter adhered             2.60 SQ           274.26         28.12         148.24         889.44       (222.36)     667.08
 system - 60 mil
    For coverfng ofparapet wall fn the center of the roof. Including an additional S%for waste.
 7. Membrane Roofing Installer - per hour          8.00 HR            60.74           0.00         97.18         583.10         (0.00)     583.10
   Additfonal laborfor tnstallation of inembrane over parapet wall in the center of the roof.
 8. Roofing - General Laborer - per hour           8.00 HR            34.35           0.00         54.96         329.76         (0.00)     329.76
   Additional laborfor job site clean-up during installation.
 9. Expansion joint - Roof - neoprene             65.00 LF              32.86        202.80         467.74   2,806.44       (1,002.30)    1,804.14
 w/alum. cover, 2"-3"
   Expansion joint at transition from EPDMto adjacent Mod Bit roofing.
    Continuous tile cap over the parapet walls is not present in satellite imagery from before the loss.
        FLASHING
 11. Flash parapet wall only - PVC/TPO           110.50 LF              10.76         46.54         247.10    1,482.62        (864.87)     617.75
   Front and right side of roof.
 12. Aluminum termination bar / flashing           45.50 LF            1.94           3.11          18.28      109.66          (39.16)       70.50
 for membrane roofs
   Back wall.
 13. Exhaust cap - through flat roof -              1.00 EA          112.45           8.31          24.16      144.92          (51.75)       93.17
 PVC/TPO

 Totals: EPDM Roof                                                                1,126.33       5,783.00    34,697.99        5,921.32   28,776.67



DRJOEANDERSON 0306                                                                                                       6/21/2022           Page:2
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                       YOUNG & Associates
           ~           3102 West End Ave, #175
       ®               Nashville, TN 37203

                                                                   No mod bit a°oof exists on these baaalcl'axags
                ~ 'i                  ~.......~ Bit Roof
                                      tMod           .~..J


                                                             975.59 Surface Area                              9.76 Number of Squares
               ffl.t ~                                        80.17 Total Perimeter Length




               t4 o.:
 DESCRIPTION                                     QUANTITY UNIT PRICE                  TAX        O&P           RCV         DEPREC.          ACV
        DEMOLITION
 14. Tear off modified bitumen roofing (no              9.76 SQ           33.10        0.00      64.62        387.68             (0.00)    387.68
 haul off)
 15. Remove Insulation - ISO board, 1 1/2"            19.51 SQ            47.20        0.00    184.18       1,105.05             (0.00)   1,105.05
   Assumption of roof insulation based on current codes. Tear off quantity may need to be adjusted pending roof core review.
 16. Remove Cap flashing                              15.00 LF             0.54        0.00       1.62           9.72            (0.00)       9.72
   Front of the building.
 17. Roofing - General Laborer - per hour               2.00 HR           34.35        0.00      13.74         82.44             (0.00)     82.44
   Additional labor for job site clean-up during demolition.
        INSULATION
 18. Insulation - ISO board, 1 1/2"                   19.51 SQ           175.02      165.46    716.02       4,296.12           (358.01)   3,938.11
   Two layers to meet current codes. Pending revfew of roof core, this line item may need to be separated as a code upgrade.
        ROOFING
 19. Modified bitumen roof - hot mopped               10.24 SQ           315.89      133.24    673.58       4,041.53       (2,357.57)     1,683.96
   Including an additfonal5%for waste.
 20. Roofing - General Laborer - per hour               4.00 HR           34.35        0.00      27.48        164.88             (0.00)    164.88
   Additional laborforjob site clean-up during installation.
 21. Expansion joint - Roof - neoprene                65.00 LF            32.86      202.80     467.74      2,806.44       (1,002.30)     1,804.14
 w/alum. cover, 2"-3"
   Expansion joint at transition from Mod Bit to adjacent TPO membrane.
        FLASHING
 22. Material Only Modified bitumen roof -              1.00 SQ          174.77       17.04      38.36        230.17           (134.27)      95.90
 self-adhering
   Materialfor chimneyflashing.
 23. Roofer - per hour                                  4.00 HR           66.64        0.00      53.32        319.88             (0.00)    319.88
   Labor to flash chimneys.
 24. Cap flashing                                     15.00 LF            15.97       16.98      51.32        307.85           (109.94)    197.91
   Front parapet wall.
 25. Flash parapet wall only - bitumen                15.00 LF             9.38        4.30      29.00        174.00           (101.50)      72.50
   Front parapet wall.
 26. Aluminum termination bar / flashing              15.00 LF             1.94        1.02       6.02          36.14           (12.91)      23.23
 for membrane roofs
   Back wall.

 Totals: Mod Bit Roof                                                                540.84   2,327.00     13,961.90           4,076.50   9,885.40




                                              Roofj
                                      Front Metal

DRJOEANDERSON 0306                                                                                                      6/21/2022            Page:3
      Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 58 of 140                                                        PageID 67

                                                                 FI2ON'I' ME't'AL CANOPY IS HEAYgLY DAMAGED
                             YOUNG & Associates
                             3102 West End Ave, #175
                             Nashville, TN 37203


  DESCRIPTION                                        QUANTITY UNIT PRICE               TAX           O&P            RCV        DEPREC.               ACV
  ;Gosmetic condition of1`oof at time,ofinspeclion matches historica! imagei3i of building exterior in 2012. i_No sh ucturg/ damages_ observed

  Totals: Front Metal Roof                                                              0.00          0.00           0.00             0.00            0.00




  Total: Main Roof                                                                  1,667.17      8,110.00      48,659.89        9,997.82        38,662.07
THIS IS INCORRECT IDENTITY
OF BRICK. TIIIS IS FRAUD                     Exterior

  DESCRIPTION                                        QUANTITY UNIT PRICE               TAX           O&P            RCV        DEPREC.               ACV
          MASONRY
  27. Material Only Paver brick                    100.00 SF             2.84         27.69          62.34         374.03        (194.81)          179.22
    Materfalfor parapet wall repairs.
  28. Mason - Brick / Stone - per hour              32.00 HR            62.36           0.00        399.10       2,394.62           (0.00)        2,394.62
    2 workers, 2 days, for repair to parapet wall.
          DOORS & WINDOWS
  29. Storefront - aluminum anodized frame -        48.00 SF           23.40     75.91      239.82  1,438.93   (839.38)                            599.55
  Single pane
         SIDING
  30. Siding Installer - per hour                    4.00 HR           71.05      0.00       56.84    341.04      (0.00)                           341.04
     Labor for exterior window sill covering, including mobilization and travel.
  31. Material Only Wrap wood window                 1.00 EA           46.02      4.49       10.10     60.61     (15.16)                             45.45
  trim with aluminum sheet*              THIS IS A FRAUDULENT         PRESENTATION    OF AN INSURANCE  CLAIM TCA
     Materialfor metal sill covering.    56-43-102, 102, 104
         CLEANING
  32. Clean exterior masonry - acid wash           182.00 SF            0.56      0.53       20.48    122.93      (0.00)                            122.93
    Preparation of theface of the parapet wallfor painting.
         PAINTING
  33. Paint brick                                182.00 SF             0.80         5.32           30.18           181.10         (105.64)           75.46
  34. Painter - per hour                          16.00 HR            64.28         0.00          205.70         1,234.18         (719.94)          514.24
    Additional laborfor paintfng to account for parapet wall detail and paintingfrom a boom lift.

  Totals: Exterior                                                                   113.94       1,024.56       6,147.44        1,874.93         4,272.51
                              NO ONE DOES TIIIS ... EVER


                                                                         Interior

                                                         119 N Poplar - Attorney General Office

         f-iru°~'6^                          Entry                                                                                       Height: 10' 2"
                 11 '," 7               .1
                                                          657.44 SF Walls                                       260.92 SF Ceiling
                     Eotrf
                                         ^                918.36 SF Walls & Ceiling                             260.92 SF Floor
                                                           28.99 SY Flooring                                     64.67 LF Floor Perimeter
                                        1                  64.67 LF Ceil. Perimeter
             6' 3"    ' 6~..6' 9"
         H       ~      H           ~


 DRJOEANDERSON_0306                                                                                                         6/21/2022                Page: 4
                                                 NO ENGINEERING PLANS ARE
                                                 INCLUI)EI) PER THE REPOItT
     Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 59 of 140                                          PageID 68


                   YOUNG & Associates
                   3102 West End Ave, #175                THEY AGREE THE WATF+R PF+IoTETRATED TIRE BARRIF+R IN
                   Nashville, TN 37203                    THgS INSTANCF, ,BLTT N®T THF+ ®THERS. CHECK FRAUD

DESCRIPTION                                    QUANTITY UNIT PRICE              TAX       O&P        RCV        DEPREC.         ACV

      DEMOLITION
35. Tear out wet drywall, cleanup, bag for        64.00 SF           0.80       0.94      10.42      62.56          (0.00)      62.56
disposal
   Ceiling.
      WALL & CEILING CLADDING
36. Mask per square foof for drywall work        260.92 SF            0.22      1.53      11.78      70.71          (5.89)      64.82
37. 5/8" drywall - hung, taped, ready for         64.00 SF            2.04      3.87      26.90     161.33         (13.45)     147.88
texture
   Ceiling.
38. Texture drywall - heavy hand texture         260.92 SF            0.86      3.56      45.60     273.55         (22.80)     250.75
39. Drywall Installer / Finisher - per hour        2.00 HR           76.16      0.00      30.46     182.78         (15.23)     167.55
   Additional labor to feather new drywall to existing.
        PAINTING
 40. Floor protection - heavy paper and tape     260.92 SF            0.43       1.78     22.80     136.78         (79.79)      56.99
 41. Mask the surface area per square foot -     400.00 SF            0.24       2.34     19.66     118.00         (68.84)      49.16
 plastic and tape - 4 mil
   Cover contents during drywall and paint worlc
 42. Paint the walls - one coat                  657.44 SF            0.63       8.33     84.50     507.02        (295.76)     211.26
       MECHANICAL
 43. Heat/AC register - Mechanically               1.00 EA           12.92       0.00       2.58     15.50           (0.00)     15.50
 attached - Detach & reset
        ELECTRICAL
 44. Fluorescent light fixture - 2' & 4' -         5.00 EA           64.70       0.00     64.70     388.20           (0.00)    388.20
 Detach & reset
      CLEANING
 45. Content Manipulation charge - per             4.00 HR           34.35       0.00     27.48     164.88           (0.00)    164.88
 hour
 46. Clean and deodorize carpet - Light          260.92 SF            0.32       0.25      16.76    100.50           (0.00)    100.50
 47. Final cleaning - construction -             260.92 SF            0.18       0.00       9.40     56.37           (0.00)     56.37
 Commercial

 Totals: Entry                                                                  22.60     373.04   2,238.18         501.76    1,736.42

 Total: 119 N Poplar - Attorney General Office                                  22.60     373.04   2,238.18         501.76    1,736.42



                                                             1211~Tffo:j1ar Sweei;Naa s




DRJOEANDERSON 0306                                                                                            6/21/2022           Page:5
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 ®~                  YOUNG & Associates

Cl~,   ®
                     3102 West End Ave, #175
                     Nashville, TN 37203



                                  Main Room                                                                               Height: 10' 4"

                ~4                               1398.40 SF Walls                                902.99 SF Ceiling
                     n                           2301.39 SF Walls & Ceiling                      902.99 SF Floor
                                                  100.33 SY Flooring                             134.69 LF Floor Perimeter
            T                                     144.67 LF Ceil. Perimeter
             U 1.
              3' 2' 10"
             6' 1"16'1

 Missing Wall - Goes to Floor                        21 811 X 61 811                   Opens into SIDE HALLWAY
 Window                                              2' 10" X 5' 1 9/16"               Opens into Exterior
 Window - Goes to Floor                              2' 3 11/16" X 6' 713/16"          Opens into Exterior
 Window - Goes to Floor                              21 411 X 61 8 1/8"                Opens into Exterior
 Window                                              3' X 59 211                       Opens into Exterior
 Missing Wall - Goes to Floor                        2' 8" X 6' 8"                     Opens into BACK_HALLWAY

 DESCRIPTION                              QUANTITY UNIT PRICE                TAX         O&P         RCV         DEPREC.           ACV
        DEMOLITION
 48. Tear out wet drywall, cleanup, bag for       632.10 SF        0.80       9.24      102.98      617.90          (0.00)       617.90
 disposal
     Ceiling.
 49. Remove Glue down carpet                      902.99 SF        0.57       0.00      102.94      617.64           (0.00)      617.64
 50. Tear offpainted acoustic ceiling             270.90 SF        0.83       0.00       44.98      269.83           (0.00)      269.83
 (popcorn) texture
        WALL & CE1LiNG CLADDING
 51. Mask per square foot for drywall work        902.99 SF        0.22      5.28        40.80      244.74          (20.40)       224.34
 52. 5/8" drywall - hung, taped, ready for        632.10 SF        2.04     38.21       265.54    1,593.23         (132.77)     1,460.46
 texture
    Ceiling.
 53. Acoustic ceiling (popcom) texture            902.99 SF        0.91       4.40      165.22      991.34          (82.61)      908.73
 54. Drywall Installer / Finisher - per hour         2.00 HR      76.16       0.00       30.46      182.78          (15.23)      167.55
   .4dditional labor to feather new drywall to existing.
        PAINTING
 55. Floor protection - heavy paper and tape      902.99 SF        0.43       6.16       78.90      473.35         (276.11)      197.24
 56. Mask the surface area per square foot -      400.00 SF        0.24       2.34       19.66      118.00          (68.84)       49.16
 plastic and tape - 4 mil
    Cover contents during drywall and paint work.
 57. Paint baseboard - one coat                   134.69 LF        0.91       1.18       24.76       148.51         (86.63)       61.88
 58. Paint the walls - one coat                 1,398.40 SF        0.63      17.72      179.74     1,078.45        (629.09)      449.36
        FLOORING
 59. Floor prep (scrape rubber back residue) 902.99 SF             0.42       0.00       75.86      455.12        (265.48)       189.64
 60. Glue down carpet                             997.42  SF       2.34     190.61      504.92     3,029.49      (1,767.20)     1,262.29
        MECHANICAL
 61 Hea AC register - Mechanically                   4.00 EA      12.92       0.00       10.34       62.02           (0.00)        62.02
 attached - Detach & reset
        ELECTRICAL
 62. F uorescent ig t ixture - 2' & 4' -           24.00 EA       64.70         0.00    310.56     1,863.36          (0.00)     1,863.36
 Detach & reset
        CLEANING                        I)O 1VOT ACCEPT THIS .... RF.BLIT
DRJOEANDERSON_0306                                                                                            6/21/2022            Page:6
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                             YOiJNG & Associates
                             3102 West End Ave, #175
                             Nashville, TN 37203




                                                                   CONTINUED - Main Room




     DESCRIPTION                                   QUANTITY UNIT PRICE             TAX           OBiP        RCV        DEPREC.          ACV
     63. Content Manipulation charge - per               4.00 HR         34.35         0.00     27.48,     164.88           (0.00)      164.88
     hour
     64. Final cleaning - construction -               902.99 SF          0.18         0.00     32.50      195.04           (0.00)      195.04
     Commercial

     Totals: Main Room                                                            275.14      2,017.64   12,105.68        3,344.36    8;761.32




                     F ' 3^-i              Side Hallway                                                                          Height: 10' 4"
                                                           280.67 SF Walls                                43.32 SF Ceiling
                I=     h        N
                           ali t_                          323.98 SF Walls & Ceiling                      43.32 SF Floor
                                                             4.81 SY Flooring                             25.27 LF Floor Perimeter
                                                            30.60 LF Ceil. Perimeter
               1       3
                           4
                           1' -~
     Missing Wall - Goes to Floor                             2'8"X6'8"                       Opens into MAIN_ROOM
     Missing Wall - Goes to Floor                             2'8"X6'8"                       Opens into BACK HALLWAY

     DESCRIPTION                                   QUANTITY UNIT PRICE             TAX           O&P         RCV        DEPREC.          ACV
           DEMOLITION
     65. Remove Glue down carpet                        43.32 SF          0.57         0.00       4.94       29.63          (0.00)       29.63
           PAINTING
     66. Floor protection - heavy paper and tape        43.32 SF          0.43         0.30       3.78       22.71         (13.25)        9.46
     67. Paint baseboard - one coat                     25.27 LF          0.91         0.22       4.64       27.86         (16.25)       11.61
           FLOORING
     68. Floor prep (scrape rubber back residue)        43.32 SF          0.42      0.00          3.64       21.83         (12.73)        9.10
     69. Glue down carpet                               95.17 SF          2.34     18.19         48.18      289.07        (168.62)      120.45
           CLEANING
     70. Final cleaning - construction -                43.32 SF          0.18         0.00       1.56        9.36          (0.00)        9.36
     Commercial

     Totals: Side Hallway                                                          18.71         66.74      400.46         210.85       189.61




    DRJOEANDERSON 0306                                                                                               6/21/2022            Page:7
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    f/ "                     3102 West End Ave, #175

      ~                      Nashville, TN 37203



                                               Back Hallway                                                                          Height: 8'
                       ,--
                    l2' 9"          _
                                                              293.19 SF Walls                              56.44 SF Ceiling
              =        "'12'        ~
                                   hanical E                  349.63 SF Walls & Ceiling                    56.44 SF Floor
                                                                6.27 SY Flooring                           35.76 LF Floor Perimeter
                                                               41.09 LF Ceil. Perimeter
               6"



    Missing Wall - Goes to Floor                                21811 V L1 OU11                  Opens into SIDE HALLWAY
    Missing Wall - Goes to Floor                                21 g vl LX
                                                                         1 6U1 811               Opens into MAIN ROOM

    DESCRIPTION                                      QUANTITY UNIT PRICE                TAX       O&P        RCV        DEPREC.          ACV
          DEMOLITION
    71. Tear out wet drywall, cleanup, bag for          92.50 SF                 0.80     1.35    15.08      90.43          (0.00)       90.43
    disposal
       Part of the ceflfng and walls.
    72. Tear off painted acoustic ceiling               22.57 SF                 0.83     0.00      3.74     22.47          (0.00)       22.47
    (popcorn) texture
    73. Remove Light fixture                             1.00 EA                 7.59     0.00      1.52      9.11          (0.00)        9.11
    74. Remove Glue down carpet                         56.44 SF                 0.57     0.00      6.44     38.61          (0.00)       38.61
          WALL & CEILING CLADDING
    75. Mask per square foot for drywall work           56.44 SF                 0.22     0.33     2.54      15.29          (1.27)       14.02
    76. 5/8" drywall - hung, taped, ready for           33.86 SF                 2.04     2.05    14.24      85.36          (7.12)       78.24
    texture
       Ceiling.
    77. 1/2" drywall - hung, taped, floated,            58.64 SF                 2.23     3.43    26.84     161.04         (13.42)      147.62
    ready for paint
      Walds.
    78. Acoustic ceiling (popcorn) texture           56.44 SF                   0.91      0.27    10.34      61.97          (5.17)       56.80
    79. Drywall Installer / Finisher - per hour        2.00 HR                 76.16      0.00    30.46     182.78         (15.23)      167.55
      Additional labor to feather new drywall to existing.
          PAINTING
    80. Floor protection - heavy paper and tape      56.44 SF                    0.43     0.39      4.94     29.60         (17.26)       12.34
    81. Paint baseboard - one coat                   35.76 LF                    0.91     0.31      6.56     39.41         (23.00)       16.41
    82. Seal/prime then paint part of the wa11s      58.64 SF                    1.24     1.60     14.86     89.17         (52.02)       37.15
    twice (3 coats)
      Section of replacement drywall.
    83. Paint part of the walls - one coat         234.55 SF                     0.63     2.97     30.16    180.90        (105.52)       75.38
          FLOORING
    84. Floor prep (scrape rubber back residue)      56.44 SF                    0.42    0.00       4.74     28.44         (16.59)       11.85
    85. Glue down carpet                           113.00 SF                     2.34   21.59      57.20    343.21        (200.20)      143.01
          ELECTRICAL
    86. Fluorescent light fixture - 2' & 4' -          1.00 EA                 64.70      0.00     12.94     77.64          (0.00)       77.64
    Detach & reset
    87. Light fixture                                  1.00 EA                 64:66      3.22     13.58     81.46         (47.51)       33.95
          CLEANING
          - TTnuig
    88. Fina  c         - construction -             56.44 SF                    0.18     0.00      2.04     12.20          (0.00)       12.20
    Commercial

                                               PENNIES ON TIIE DOLLAR AND INCORRECT SCOPE
DRJOEANDERSON 0306                                                                                                   6/21/2022            Page:8
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                         YOUNG & Associates
                         3102 West End Ave, #175
                         Nashville, TN 37203
m




                                                          CONTINUED - Back Hallway



    DESCRIPTION                                  QUANTITY UNIT PRICE           TAX         O&P        RCV        DEPREC.          ACV
    Totals: Back Hallway                                                       37.51      258.22   1,549.09         504.31     1,044.78




            ry                         Bathroom 2                                                                             Height: 8'

                 10„         I~eck                     126.36 SF Walls                             18.70 SF Ceiling
                                                       145.06 SF Walls & Ceiling                   14.70 SF Floor
                                                         1.63 SY Flooring                          13.30 LF Floor Perimeter
            :B anit3'1
                            IL
                                                        17.30 LF Ceil. Perimeter


    DESCRIPTION                                  QUANTITY UNIT PRICE           TAX         O&P        RCV        DEPREC.          ACV
         DEMOLITION
    89. Tear out wet drywall, cleanup, bag for     14.96 SF          0.80          0.22     2.44      14.63          (0.00)       14.63
    disposal
       Ceflfng.
    90. Tear off painted acoustic ceiling            3.74 SF         0.83          0.00     0.62       3.72          (0.00)        3.72
    (popcorn) texture
          WALL & CEILING CLADDING
    91. Mask per square foot for drywall work      14.70 SF         0.22           0.09     0.66       3.98          (0.33)        3.65
    92. 5/8" drywall - hung, taped, ready for      18.70 SF         2.04           1.13     7.86      47.14          (3.93)       43.21
    texture
      Ceiling.
    93. Acoustic ceiling (popcorn) texture          18.70 SF        0.91           0.09     3.42      20.53          (1.71)       18.82
             WALLPAPER
    94. Prep wall for wallpaper                     63.18 SF         0.61          0.00     7.70      46.24          (0.00)       46.24
    95. Wallpaper - Standard grade                  63.18 SF         2.06          4.50    26.94     161.59         (94.26)       67.33
    96. Wallpaper Hanger - per hour                  2.00 HR        66.84          0.00    26.74     160.42          (0.00)      160.42
      Additional labor for mobilization and travel.
    97. Bathroom mirror - Detach & reset             1.00 SF         7.99          0.00     1.60       9.59          (0.00)        9.59
          MECHANICAL
    98. Bathroom ventilation fan - Detach &          1.00 EA        69.21          0.00    13.84      83.05          (0.00)       83.05
    reset
    99. Heat/AC register - Mechanically              1.00 EA        12.92          0.00     2.58      15.50          (0.00)       15.50
    attached - Detach & reset
          ELECTRICAL
    100. Light fixture - Detach & reset              1.00 EA        44.56          0.00     8.92      53.48          (0.00)       53.48
          CLEANING
          cleanmg - construction -
    101. Final                                       2.00 SF         0.18          0.00     0.08       0.44          (0.00)         0.44
    Commercial


DRJOEANDERSON 0306                                                                                            6/21/2022            Page:9
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'            /            YOUNG & Associates
    f
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           ®              Nashville, TN 37203




                                                                 CONTINUED - Bathroom 2




 DESCRIPTION                                      QUANTITY UNIT PRICE               TAX         O&P       RCV        DEPREC.          ACV
 Totals: Bathroom 2                                                                     6.03   103.40    620.31         100.23       520.08




                                        Mechanical Room                                                                           Height: 8'

                        4                                   191.25 SF Walls                             31.96 SF Ceiling
                              1
                    E~°m.cR
                          ~ _ ~                             223.21 SF Walls & Ceiling                   31.96 SF Floor
                     ~"       I                               3.55 SY Flooring                          23.91 LF Floor Perimeter
                     "        I                              23.91 LF Ceil. Perimeter
                   ~- 4.21,   1



 DESCRIPTION                                      QUANTITY UNIT PRICE               TAX         O&P       RCV        DEPREC.          ACV
       DEMOLITION
 102. Tear out wet drywall, cleanup, bag for         31.96 SF             0.80          0.47     5.22     31.26          (0.00)       31.26
 disposal
        Ceilfng.
 103. Remove Glue down carpet                         31.96 SF            0.57          0.00     3.64     21.86          (0.00)       21.86
       WALL & CEILING CLADDING
 104. Mask per square foot for drywall                31.96 SF            0.22          0.19     1.44      8.66          (0.72)        7.94
 work
 105. 5/8" drywall - hung, taped, ready for           31.96 SF            2.04          1.93    13.42     80.55          (6.71)       73.84
 texture
        Ceiling.
    106. Acoustic ceiling (popcorn) texture           31.96 SF            0.91          0.16     5.86     35.10          (2.93)       32.17
          FLOORING
    107. Floor prep (scrape rubber back               31.96 SF            0.42          0.00     2.68     16.10          (9.39)        6.71
    residue)
    108. Glue down carpet                             81.83 SF            2.34      15.64       41.42    248.54        (144.99)      103.55
          PAINTING
    109. Floor protection - heavy paper and           31.96 SF            0.43          0.22     2.78     16.74          (9.77)        6.97
    tape
    110. Paint baseboard - one coat                   23.91 LF            0.91          0.21     4.40     26.37         (15.38)       10.99
    111. Paint the walls - one coat                  191.25 SF            0.63          2.42    24.58    147.49         (86.03)       61.46
          MECHANICAL
    112. HVAC Technician - per hour                    2.00 HR           86.39          0.00    34.56    207.34          (0.00)      207.34
        Labor to detach and reset furnace vent.
         PLUMBING
    113. Plumber - per hour                            1.00 HR           91.90          0.00    18.38    110.28          (0.00)      110.28
        Labar to detach and reset water heater vent pfpe.
           CLEANING


DRJOEANDERSON 0306                                                                                                6/21/2022           Page: 10
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                                      YOUNG & Associates
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           ®                          Nashville, TN 37203




                                                                    CONTINUED - Mechanical Room




 DESCRIPTION                                               QUANTITY UNIT PRICE                 TAX        O&P          RCV        DEPREC.           ACV

    114. Content Manipulation charge - per                       1.50 HR        34.35           0.00     10.30        61.83           (0.00)       61.83
 hour
    115. Final cleaning - constniction -                        31.96 SF          0.18          0.00       1.16         6.91          (0.00)         6.91
    Commercial

    Totals: Mechanical Room                                                                    21.24    169.84      1,019.03          275.92      743.11

    Total: 121 N Poplar - Sweet Nana's                                                       358.63    2,615.84    15,694.57        4,435.67    11,258.90



                                                                ~l 23 N P o
                                                                ~lar-                             Ag ency',
                                                                                Dresden Insurance-T
                                i ~he
                   t
                           9„                      Lobby                                                                                   Height: 10' 2"
                                 7-

                                                                  1413.67 SF Walls                                1100.64 SF Ceiling
                                                                  2514.31 SF Walls & Ceiling                      1100.64 SF Floor
                            Lobb
                                                                   122.29 SY Flooring                              140.15 LF Floor Perimeter
                           14~ Y~~
                           74 r                                    150.00 LF Ceil. Perimeter
                           s+ ~a ~
                   1'4"               l- Z"
                           4"
                       T         T    V

    Window                                                            5' X 4'                          Opens into Exterior
    Door                                                              6'X6'8"                          Opens into Exterior
    Window                                                            5' X 3' 11 11/16"                Opens into Exterior
    Missing Wall                                                      3' 10 3/16" X 10' 2"             Opens into KITCHEN_HALL

    DESCRIPTION                                            QUANTITY UNIT PRICE                 TAX        O&P          RCV        DEPREC.           ACV

          DEMOLITION
    116. Tear out wet drywall, cleanup, bag for    64.00 SF                       0.80          0.94      10.42        62.56           (0.00)       62.56
    disposal
      32sf ceiling, 32sf wall.
    117. Tear off painted acoustic ceiling      1,068.64 SF                       0.83          0.00     177.40     1,064.37           (0.00)    1,064.37
    (popcom) texture
          WALL & CEILING CLADDING
    118. Mask per square foot for drywall       1,100.64 SF                       0.22          6.44      49.70       298.28          (24.85)      273.43
    work
    119. 5/8" drywall - hung, taped, ready for     32.00 SF                       2.04          1.93      13.44        80.65           (6.72)       73.93
    texture
    Ceiling.
 120. 1/2" drywall - hung, taped, floated,                      32.00 SF          2.23          1.87      14.66        87.89           (7.33)       80.56
 ready for paint
    Walls.
 121. Acoustic ceiling (popcorn) texture                    1,100.64 SF           0.91          5.37     201.40     1,208.35         (100.70)    1,107.65
 122. Drywall Installer / Finisher - per hour                   2.00 HR          76.16          0.00      30.46       182.78          (15.23)      167.55
DRJOEANDERSON 0306                                                                                                             6/21/2022            Page: 11
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               ,THEY~CAiVNOT SAY TH); BOTTOiVt IS DAMAGED'-AND IGNO,RE THE TOE
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    f
                  ~            3102 West End Ave, #175
             ®                 Nashville, TT137203




                                                                                       r ........~..J
                                                                                       _~
                                                                     CONTIN UED =~Lobby,~




    DESCRIPTION                                    QUANTITY UNIT PRICE                        TAX          O&P        RCV        DEPREC.             ACV
        Additional labor to feather new drywall to existing.
           PAINTING
    123. Floor protection - heavy paper and     1,100.64 SF                  0.43               7.51      96.16     576.95         (336.56)         240.39
    tape
    124. Mask the surface area per square foot - 400.00 SF                   0.24               2.34      19.66     118.00          (68.84)          49.16
    plastic and tape - 4 mil
        Cover contents during drywall and paint work.
    125. Seal/prime then paint the surface area          35.20 SF            1.24               0.96        8.94     53.55          (31.23)          22.32
    twice (3 coats)
        Section of replacement drywall.
    126. Paint part of the walls - one coat         1,378.47 SF              0.63            17.47       177.18    1,063.09        (620.14)         442.95
          ELECTRICAL
    127. Fluorescent light fixture - 2' & 4' -           26.00 EA          64.70                0.00     336.44    2,018.64          (0.00)       2,018.64
    Detach & reset
         CLEANING
    128. Content Manipulation charge - per                4.00 HR          34.35                0.00      27.48     164.88           (0.00)         164.88
    hour
    129. Clean and deodorize carpet - Light         1,100.64 SF              0.32               1.07      70.66     423.93           (0.00)         423.93
    130. Final cleaning - construction -            1,100.64 SF              0.18               0.00      39.62     237.74           (0.00)         237.74
    Commercial

    Totals: Lobby                                                                            45.90      1,273.62   7,641.66        1,211.60       6,430.06




                                                                                                                                              Height: 8' 2"
                               ~ -                             67.10 SF Walls                                      13.48 SF Ceiling
                      3' 10"
        -     o                                                80.58 SF Walls & Ceiling                            13.48 SF Floor
    )m _     I€itchen Hallway
              M                     N
                                                                1.50 SY Flooring                                    7.67 LF Floor Perimeter
                                   ~
                                                               11.52 LF Ceil. Perimeter


    Missing Wall                                                31 10 3/16" X 81 211                    Opens into LOBSY
    Missing Wall - Goes to Floor                                31 10 3/16" X 7'                        Opens into KITCHEN

    DESCRIPTION                                    QUANTITY UNIT PRICE                        TAX          O&P        RCV        DEPREC.             ACV
          DEMOLITION
    131. ~ ear out clrrywall, cleanup, bag for
             wet                                         29.48 SF            0.80               0.43        4.80     28.81           (0.00)          28.81
    disposal
        Ceiling and upper section of wall.
      WALL & CEILING CLADDING
 132. Mask per square foot for drywall                   13.48 SF            0.22               0.08        0.62       3.67          (0.31)           3.36
 work
DRJOEANDERSON 0306                                                                                                            6/21/2022              Page: 12
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                     YOUNG & Associates
              ®      3102 West End Ave, #175
         ®           Nashville, TN 37203




                                                           CON'1CINi7ED - Kitchen Hallway,~




  DESCRIPTION                                    QUANTITY UNIT PRICE             TAX            O&P       RCV        DEPREC.          ACV

  133. 5/8" drywall - hung, taped, ready for        13.48 SF           2.04        0.82          5.66     33.98          (2.83)       31.15
  texture
    Ceiling.
  134. 1/2" drywall - hung, taped, floated,        16.00 SF            2.23        0.94          7.32     43.94          (3.66)       40.28
  ready for paint
    Walls.
  135. Acoustic ceiling (popcorn) texture           13.48 SF           0.91        0.07         2.48      14.82          (1.24)       13.58
  136. Drywall Installer / Finisher - per hour       2.00 HR          76.16        0.00        30.46     182.78         (15.23)      167.55
    Additfonal labor to feather new drywall to existtng.
        PAINTING
  137. Floor protection - heavy paper and           13.48 SF           0.43        0.09          1.18      7.07          (4.12)        2.95
  tape
  138. Seal/prime then paint the surface area       17.60 SF           1.24        0.48          4.46     26.76         (15.61)       11.15
  twice (3 coats)
    Section of replacement drywall.
  139. Paint part of the walls - one coat           49.50 SF           0.63        0.63          6.36     38.18         (22.27)       15.91
       CLEANING
  140. Clean and deodorize carpet - Light           13.48 SF           0.32        0.01          0.86      5.18          (0.00)        5.18
  141. Final cleaning - construction -              13.48 SF           0.18        0.00          0.48      2.91          (0.00)        2.91
  Commercial

  Totals: Kitchen Hallway                                                          3.55         64.68    388.10          65.27       322.83




                                       .-.-_.T
                                       ;1Vlechanical RooR                                                                     Height: 10' 2"

                                                       154.47 SF Walls                                  16.63 SF Ceiling
                              K'i[cl
                                                       171.10 SF Walls& Ceiling                         16.63 SF Floor
                                                         1.85 SY Flooring                               14.33 LF Floor Perimeter
                                                        16.83 LF Ceil. Perimeter
         02          1


  Missing Wall - Goes to Floor                             2' 6" X 6' 8"                      Opens into CLOSET2

  DESCRIPTION                                    QUANTITY UNIT PRICE             TAX            O&P       RCV        DEPREC.          ACV

        DEMOLITION
  142. Tear out wet drywall, cleanup, bag for       16.63 SF           0.80        0.24          2.70     16.24          (0.00)       16.24
  disposal
     Ceiling.
 143. Tear out wet drywall, no bagging, per          3.00 LF           2.38        0.00          1.42      8.56          (0.00)        8.56
 LF-upto2'tall
 144. Tear out baseboard and bag for                 3.00 LF           1.01        0.05          0.62      3.70          (0.00)        3.70
 disposal
DRJOEANDERSON 0306                                                                                                6/21/2022           Page: 13
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 f
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           ~               Nashville, TN 37203




                                                          CONTINUED -LMechanical'Room~




 DESCRIPTION                                     QUANTITY UNIT PRICE             TAX         O&P       RCV        DEPREC.          ACV

      WALL & CEILING CLADDING
 145. Mask per square foot for drywall               16.63 SF          0.22          0.10     0.76      4.52          (0.38)        4.14
 work
 146. 5/8" drywall - hung, taped, ready for          16.63 SF          2.04          1.01     6.98     41.92          (3.49)       38.43
 texture
     Ceiling.
 147. Acoustic ceiling (popcorn) texture             16.63 SF          0.91          0.08     3.04     18.25          (1.52)       16.73
 148. 1/2" - drywall per LF - up to 2' tall           3.00 LF          8.77          0.39     5.34     32.04          (2.67)       29.37
 149. Drywall Installer / Finisher - per hour         0.50 HR         76.16          0.00     7.62     45.70          (3.81)       41.89
    Lahor to feather new drywall to existing.
       FIi`IISH CARPENTRY
 150. Baseboard - 5 1/4"                               3.00 LF         4.01          0.68     2.54     15.25          (1.27)       13.98
       PAINTING
 151. Floor protection - heavy paper and              16.63 SF         0.43          0.11     1.46      8.72          (5.09)        3.63
 tape
 152. Seal & paint baseboard - two coats               3.00 LF         1.42          0.04     0.86      5.16          (3.01)        2.15
 153. Seal/prime then paint the surface area           9.00 SF         1.24          0.25     2.30     13.71          (7.98)        5.73
 twice (3 coats)
     Section of new drywall.
 154. Paint part of the walls - one coat             145.47 SF         0.63          1.84    18.70    112.19         (65.45)       46.74
        MECHANICAL
 155. Air handler - with heat element -                1.00 EA       739.17          0.00   147.84    887.01          (0.00)      887.01
 Detach & reset
        CLEANING
 156. Clean and deodorize carpet - heavy              16.63 SF         0.60          0.10     2.02     12.10          (0.00)       12.10
 staining
 157. Final cleaning - construction -                 16.63 SF          0.18         0.00     0.60      3.59          (0.00)        3.59
 Commercial

 Totals: Mechanical Room                                                             4.89   204.80   1,228.66         94.67     1,133.99




                       2' 9"~           Closet                                                                             Height: 10' 2"

                       2~ ~~~    ~                       100.25 SF Walls                              8.18 SF Ceiling
      T                                                  108.43 SF Walls & Ceiling                    8.18 SF Floor
       ~           -             -
       ~               ,loset    ~                         0.91 SY Flooring                           9.00 LF Floor Perimeter
       I                         ~                        11.50 LF Ceil. Perimeter
      1                           d-

 Missing Wall - Goes to Floor                               2' 6" X 6' 8"                   Opens into MECHANICAL R

 DESCRIPTION                                     QUANTITY UNIT PRICE             TAX          O&P       RCV         DEPREC.         ACV
DRJOEANDERSON_0306                                                                                              6/21/2022          Page:14
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~                     YOUNG & Associates
    f
                      3102 West End Ave, #175
                      Nashville, TN 37203




                                                                CONTINUED - Closet




    DESCRIPTION                                   QUANTITY UN1T PRICE         TAX      O&P      RCV        DEPREC.        ACV

         DEMOLTITON
    158. Tear out wet drywall, cleanup, bag for     108.43 SF        0.80      1.59   17.66    105.99          (0.00)   105.99
    disposal
       Ceiling and walls.
    159. Tear out baseboard and bag for               9.00 LF         1.01     0.15     1.86    11.10          (0.00)     11.10
    disposal
          WALL & CEILING CLADDING
    160. Mask per square foot for drywall             8.18 SF         0.22     0.05     0.38     2.23          (0.19)      2.04
    work
    161. 5/8" drywall - hung, taped, ready for        8.18 SF        2.04      0.49     3.44    20.62          (1.72)     18.90
    texture
       Ceiling.
    162. Acoustic ceiling (popcorn) texture           8.18 SF        0.91      0.04    1.48      8.96          (0.74)     8.22
    163. 1/2" drywall - hung, taped, floated,       100.25 SF        2.23      5.86   45.90    275.32         (22.95)   252.37
    ready for paint
       Walls.
          FINISA CARPENTRY
    164. Shelving - wire (vinyl coated) -            12.00 LF         7.39     0.00    17.74   106.42          (0.00)   106.42
    Detach & reset
    165. Baseboard - 5 1/4"                           9.00 LF         4.01     2.03     7.62    45.74          (3.81)     41.93
          PAINTINC
    166. Floor protection - heavy paper and           8.18 SF         0.43     0.06     0.72     4.30          (2.50)      1.80
    tape
    167. Seal & paint baseboard - two coats           9.00 LF         1.42     0.11     2.58    15.47          (9.03)      6.44
    168. Seal/prime then paint the walls twice      100.25 SF         1.24     2.74    25.40   152.45         (88.94)     63.51
    (3 coats)
          ELECTRICAL
    169. Light fixture - Detach & reset               1.00 EA        44.56     0.00     8.92    53.48          (0.00)     53.48
          CLEANING
    170. Clean and deodorize carpet - heavy           8.18 SF         0.60     0.05     1.00     5.96          (0.00)      5.96
    staining
    171. Content Manipulation charge - per            1.00 HR        34.35     0.00     6.88    41.23          (0.00)     41.23
    hour
    172. Final cleaning - construction -              8.18 SF         0.18     0.00     0.30     1.77          (0.00)      1.77
    Commercial

    Totals: Closet                                                            13.17   141.88   851.04         129.88    721.16




DRJOEANDERSON 0306                                                                                      6/21/2022       Page: 15
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 ®                    YOUNG & Associates
             ~        3102 West End Ave, #175
         ®            Nashville, TN 37203



                                      Tech Closet                                                                               Height: 10' 2"

                                T                       213.13 SF Walls                                 23.17 SF Ceiling

 hen              7 4n
                 ech Closet
                               ~
                                                        236.30 SF Walls & Ceiling
                                                          2.57 SY Flooring
                                                                                                        23.17 SF Floor
                                                                                                        20.96 LF Floor Perimeter
      Tf
                                                         20.96 LF Ceil. Perimeter



 DESCRIPTION                                    QUANTITY UNIT PRICE             TAX           O&P          RCV         DEPREC.          ACV

       DEMOLITION
 173. Tear out wet drywall, cleanup, bag for          9.27 SF        0.80           0.14       1.50         9.06           (0.00)        9.06
 disposal
     Ceiling.
 174. Tear off painted acoustic ceiling              13.90 SF        0.83           0.00       2.30        13.84           (0.00)       13.84
(popcorn)texture
      WALL & CEILING CLADDING
 175. Mask per square foot for drywall             236.30 SF         0.22           1.38      10.68        64.05           (5.34)       58.71
 work
     Floor and low voltage equipment.
 176. 5/8" drywall - hung, taped, ready for           9.27 SF        2.04           0.56       3.90        23.37           (1.95)       21.42
 texture
    Ceiling.
 177. Drywall Installer / Finisher - per hour         0.50 HR       76.16           0.00       7.62        45.70           (3.81)       41.89
     Additional labor to feather new dr}nvall to existing.
 178. Acoustic ceiling (popcorn) texture             23.17 SF        0.91           0.11       4.24        25.43           (2.12)       23.31
       ELECTRICAL
 179. Fluorescent light fixture - 2' & 4' -           1.00 EA       64.70           0.00      12.94        77.64           (0.00)       77.64
 Detach & reset
       CLEANING
 180. Clean and deodorize carpet - Light             23.17 SF        0.32           0.02       1.48          8.91          (0.00)         8.91
 181. Final cleaning - construction -                23.17 SF        0.18           0.00       0.84          5.01          (0.00)         5.01
 Cornmercial

 Totals: Tech Closet                                                                2.21      45.50       273.01           13.22       259.79




                 -
 Total: 123 N Poplar       Insurance Agenc
                     Dresden                                                    69.72       1,730.48    10,382.47        1,514.64     8,867.83

 Total: Interior                                                               450.95       4,719.36    28,315.22        6,452.07    21,863.15


                                       General Conditions

 DESCRIPTION                                    QUANTITY UNIT PRICE                 TAX        O&P          RCV        DEPREC.           ACV

         SUPERVISION)
                            ^ /~rojectl
 rl'8 2~ommerc>a < upervision
 L                             P                    20.00
                                                        H           i63~76)         i0.00    (255:04)   L1,53024           1(0.00)    0l,53 24
 Management - per hour
     Ihr/day, for 4 weeks.
          DEBRIS REMOVAL
DRJOEANDERSON 0306                                                                                                  6/21/2022           Page: 16
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                   YOUNG & Associates
                   3102 West End Ave, #175
                   Nashville, TN 37203



    THERG IS NO SAFETY OR,%                                      ~___.~~_
    SUPERVISIONi                                      CONTINUED -:General Conditions




DESCRIPTION                                    QUANTITY UNIT PRICE                 TAX          O&P        RCV        DEPREC.          ACV

183.Dumpster load - Approx. 30 yards, 5-           2.00 EA          557.69          0.00      223.08     1,338.46         (0.00)     1,338.46
7 tons of debris
        TEMPORARY SERVICES
184. Temporary toilet (per month)                  1.00 MO          115.00          0.00       23.00      138.00          (0.00)      138.00
185. Job-site cargo/storage container - 20'        1.00 MO           87.83          0.00       17.56      105.39          (0.00)      105.39
long - per month
186. Job-site cargo container - pick up/del.       2.00 EA              99.40       0.00       39.76      238.56          (0.00)      238.56
(each way) 16'-40'
        TOOLS / EQUIPMENT RENTAL
                                                   2.00 WK              972.00      0.00      388.80     2,332.80         (0.00)     2,332.80
187. Boom lift - 30'-45' reach (per week)
   2 week rental to facilitate roofing andfront parapet wall repairs.
 188. Equipment Operator - per hour                80.00 HR              51.41      0.00      822.56     4,935.36         (0.00)     4,935.36
        PERMITS/FEES
 189. Permits & Fees*                               1.00 EA                                                                     AS INCURRED
   Permit fees, if applicable, pafd as incurred.

 Totals: General Conditions                                                         0.00     1,769.80   10,618.81           0.00    10,618.81

 Line Item Totals: DRJOEANDERSON 0306                                            2,232.06   15,623.72   93,741.36      18,324.82    75,416.54



 Grand Total Areas:
      5,737.75 SF Walls                               2,702.41 SF Ceiling                         8,440.16 SF Walls and Ceiling
      2,694.41 SF Floor                                 299.38 SY Flooring                          590.06 LF Floor Perimeter
          0.00 SF Long Wall                               0.00 SF Short Wall                        641.25 LF Ceil. Perimeter


      2,694.41 Floor Area                              2,878.60 Total Area                        5,737.75 Interior Wall Area
      5,231.62 Exterior Wall Area                        420.83 Exterior Perimeter of
                                                                Walls

       4,620.83 Surface Area                              46.21 Number of Squares                   415.62 Total Perimeter Length
           0.00 Total Ridge Length                         0.00 Total Hip Length




                                                                                                                    6/21/2022           Page: 17
DRJOEANDERSON 0306
                                        ?K46
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                                                                                                  t)L5-       PageID 81


                 William Griffin, Public I                ce AZ1Juste
       YYI   V
                 128 Poplar Street, Gadsden, TN 38337



           Insured:    Dr. Joe & Gwin Anderson
          Property:    125 N Poplar Street
                       Dresden, TN 38225


  Claim Number:                                 Policy Number:                                Type of Loss:


    Date of Loss:                                              Date Received:
   Date Inspected:                                              Date Entered:      3/16/2022 7:37 PM

        Price List:    TNJA8X_MAR22
                       Restoration/Service/Remodel
         Estimate:     DRANDERSON

This damage assessment utilizes and abides to the following documentation:

- Manufacturer Installation Instructions
- Local Building and Zoning Code
- International Building Code (IBC)
- International Residential Code (IRC)
- International Energy Conservation Code (IECC)

Labor rates have been corrected to reflect their proper trade, where applicable.

Additional documentation will be provided upon request. This assessment only represents known damages at this time and can
be amended.

Respectfully,

William Griffin, Public Insurance Adjuster
        Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 73 of 140                                                   PageID 82
!~          ♦




                         William Griffin, Public Insurance Adjuster
        WIG              128 Poplar Street, Gadsden, TN 38337




                                                                  DRANDERSON



                                          Main Roof

     DESCRIPTION                                      QTY         RESET       REMOVE        REPLACE              TAX             O&P          TOTAL

       Begin TPO Roof Repairs
            Tear Off
     1. Remove Cap flashing - steel            249.97 LF                             0.81          0.00           0.00           40.50          242.98
     2. Remove Drip edge - PVC/TPO clad        249.97 LF                             0.76          0.00           0.00           38.00          227.98
     metal with cleat
     3. Remove Exhaust cap - through flat        1.00 EA                           12.26           0.00           0.00            2.46           14.72
     roof
     4. Remove Special Doors - Roof Hatch        1.00 EA                           34.80           0.00           0.00            6.96           41.76
     5. Remove Rubber roofing - Fully           28.66 SQ                          102.36           0.00           0.00          586.72        3,520.36
     adhered system - 60 mil
     6. Remove Insulation - ISO board, 1        28.66 SQ                           70.57           0.00           0.00          404.50        2,427.04
     1/2"
     7. Remove Insulation - ISO board, 1        28.66 SQ                           70.57           0.00            0.00         404.50        2,427.04
     1/2"
     8. Remove Recovery Board                   28.66 SQ                            56.63          0.00            0.00         324.60        1,947.62
     9. Remove Rubber roofing - Fully           28.66 SQ                            94.15          0.00            0.00         539.66        3,238.00
     adhered system - 60 mil
     10. Remove Membrane roofing - cant        314.26 LF                             0.94          0.00            0.00          59.08          354.48
     strips - wood
     11. R&R Sheathing - spaced 1" x 8"       2,866.00 SF                            0.84          4.21         796.39         3,053.94      18,323.63

             Dry In
     12. Membrane roofing - cant strips -      314.26 LF                             0.00          2.88          21.14          185.24        1,111.45
     wood
            Insulation
     13. Install Special Doors - Roof Hatch       1.00 EA                            0.00        299.05            0.00           59.82         358.87

     14. Glass mat gypsum - 1/2" - primed        28.66 SQ                            0.00        167.75         205.13         1,002.56       6,015.41

     15. Insulation - ISO board, 1 1/2"          28.66 SQ                            0.00        176.59         243.05         1,060.84       6,364.96

     16. Insulation - ISO board, 1 1/2"          28.66 SQ                            0.00        176.59         243.05         1,060.84       6,364.96

         Flashing
     17. Nailer board for Cap Flashing          314.26 LF                            0.00           2.41         25.43           156.56         939.36

     18. Aluminum termination bar /             314.26 LF                            0.00           2.17         20.22           140.42         842.58
     flashing for membrane roofs
     19. TPO installed under the cap            314.26 LF                            0.00         -51.49      3,926.87        -2,450.88      -14,705.26
     flashing for added moisture protection
     20. Cleat for cap flashing                 314.26 LF                            0.00           3.85          88.86          259.76       1,558.52

        Material Stagfng
     21. Roof loading                            31.53 SQ                            0.00          40.00           0.00          252.24       1,513.44

     Loadfng of materials and stackingfor a roof laborer. Ifsomeone is working on the roof then we have to cover them with roofing workman
     compensatfon and liabflity insurance.
 DRANDERSON                                                                                                               3/18/2022              Page:2
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         p          William Griffin, Public Insurance Adjuster
     ydlG           128 Poplar Street, Gadsden, TN 38337




                                                            CONTINUED - Main Roof

 DESCRIPTION                                         QTY          RESET       REMOVE           REPLACE              TAX            O&P          TOTAL

     Installation
 22. Flash parapet wall only -               249.97 LF                                  0.00        10.11         100.17          525.48        3,152.85
 PVC/TPO

 The height of the parapet wall is four foot and 4 inches. An additional fourteen inches is required to go over to cap of the parapet wall and have
 enough left to terminate on the opposite side of the wall.
 23. Single ply membrane - Fully               31.53 SQ                               0.00          359.37          520.61        2,370.30      14,221.85
 adhered system - 60 mil
 24. TPO Inside Comers                           2.00 EA                              0.00           68.00            0.00           27.20         163.20

 TPO inside corners are not included in the pricing database for the TPO field area.
 25. TPO Outside Comers                         2.00 EA                                 0.00        68.00            0.00          27.20          163.20

 TPO outside comers are not included in the pricing database for the TPO field area.
 26. Final cleaning - construction -        2,866.00 SF                                 0.00         0.31            0.00         177.70        1,066.16
 Commercial
    Begin Modified Bitumen Roof Repairs
   Tear Off
 27. Remove Modified bitumen roof               8.76 SQ                                61.43         0.00            0.00         107.62          645.75

 28. Remove Insulation - ISO board, 1           8.76 SQ                                70.57         0.00            0.00         123.64          741.83
 1/2"
 29. Remove Insulation - ISO board, 1           8.76 SQ                                70.57         0.00            0.00         123.64          741.83
 1/2"
 30. Remove Bitumen roof - Add. glass           8.76 SQ                                 8.85         0.00            0.00           15.50          93.03
 felt layer - cold adhesive appl.
 31. R&R Sheathing - spaced 1" x 8"           876.00 SF                                 0.84         4.21         243.42          933.44        5,600.66

    Material Stagfng
 32. Roof loading                              31.53 SQ                                 0.00        40.00            0.00         252.24        1,513.44

 Loadfng of materials and stackingfor a roof laborer. If someone is working on the roof then we have to cover them with roofing workman
 compensation and liability insurance.
    Insulation
 33. Bitumen roof - Add. glass felt            37.42 SQ                                 0.00        74.84           78.55          575.82       3,454.88
 layer - cold adhesive appl.
 34. Insulation - ISO board, 1 1/2"             8.76 SQ                                 0.00       175.04           74.29         321.54        1,929.18

 Weakley County Tennessee has an R value of R-20ci
 This requires 2layers of 1.75" polyiso board
 35. Insulation - ISO board, 1 1/2"           8.76 SQ                                   0.00       175.04           74.29         321.54        1,929.18

 Weakley County Tennessee has an R value R-20ci
 This requires 2 layers of 1.75" polyiso board
    Installatfon
 36. Prepare deck sheathing for peel          876.00 SF                                 0.00         0.15            0.85           26.46         158.71
 and stick




DRANDERSON                                                                                                                  3/18/2022              Page:3
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                    William Griffin, Public Insurance Adjuster
     WIG            128 Poplar Street, Gadsden, TN 38337




                                                            CONTINUED - Main Roof

 DESCRIPTION                                          QTY      RESET   REMOVE       REPLACE       TAX             O&P      TOTAL

 37. Modified bitumen roof - self-                8.76 SQ                   0.00      320.23    149.27          590.90     3,545.38
 adhering
 38. Final cleaning - construction -         876.00 SF                      0.00        0.31       0.00           54.32     325.88
 Commercial

 Totals: Main Roof                                                                             6,811.59       13,762.86   82,576.91




                                       Metal Roof

 DESCRIPTION                                          QTY      RESET   REMOVE       REPLACE       TAX             O&P      TOTAL

   Begin Metal Roof Repairs
   Tear Off
 39. Remove Gable trim for metal                 16.00 LF                   1.23        0.00       0.00            3.94      23.62
 roofing - 29 gauge
 40. Remove Eave trim for metal                  41.00 LF                   1.23        0.00       0.00           10.08      60.51
 roofing - 29 gauge
 41. Remove Endwall flashing for                 41.00 LF                   1.40        0.00       0.00           11.48      68.88
 metal roofing - 29 gauge
 42. Remove Metal roofing                    333.40 SF                      0.75        0.00       0.00           50.02     300.07

 43. Remove Drip edge/gutter apron               57.00 LF                   0.49        0.00       0.00            5.58      33.51

   Dry In Process
 44. Drip edge/gutter apron                      57.00 LF                   0.00        2.07       6.72           24.94     149.65

   Metal Roof Installation
 45. Metal roofmg                            333.40 SF                      0.00        4.59     74.44          320.94     1,925.69

 46. Endwall flashing for metal roofing -        41.00 LF                   0.00        4.53       9.95          39.14      234.82
 29 gauge
 47. Gable trim for metal roofing - 29           16.00 LF                   0.00        3.94       3.29           13.26       79.59
 gauge
 48. Eave trim for metal roofing - 29            41.00 LF                   0.00        3.12       5.16           26.62     159.70
 gauge
 49. Final cleaning - construction -         333.40 SF                      0.00        0.34       0.00           22.68     136.04
 Commercial

 Totals: Metal Roof                                                                              99.56           528.68    3,172.08




                                       Gutters

 DESCRIPTION                                          QTY      RESET   REMOVE       REPLACE       TAX             O&P      TOTAL

 50. R&R Gutter / downspout -                118.00 LF                      0.80       10.65      85.94          287.40    1,724.44
 aluminum - 6"


DRANDERSON                                                                                                3/18/2022           Page:4
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          1         William Griffin, Public Insurance Adjuster
     WIG            128 Poplar Street, Gadsden, TN 38337




                                                              CONTINUED - Gutters

 DESCRIPTION                                           QTY      RESET        REMOVE        REPLACE               TAX               O&P       TOTAL
 Totals: Gutters                                                                                                 85.94            287.40     1,724.44




                                       Exterior Brick

 DESCRIPTION                                           QTY      RESET        REMOVE        REPLACE               TAX               O&P       TOTAL

   Begin Brick Repafrs
   Removal
 51. Scaffold - per section (per month)         110.00 MO                           0.00        111.31            0.00         2,448.82     14,692.92
 Scaffolding comes in 5x5 sections. This scaffolding would provide coverage for three sides, up to 25 feet high for one month.
 52. Scaffolding Setup & Take down -            55.00 HR                            0.00         35.23            0.00            387.54     2,325.19
 per hour
 Calculated at one half hour per section. of scaffolding.
 53. Remove Brick veneer - Premium             3,270.00 SF                          2.12           0.00           0.00           1,386.48    8,318.88
 grade
 54. Remove House wrap (air/moisture           3,270.00 SF                          0.05           0.00           0.00             32.70       196.20
 barrier)
 55. Remove Window sill - hardwood               24.00 LF                           0.64           0.00           0.00              3.08        18.44

 56. Remove Precast sill                         24.00 LF                           5.80           0.00            0.00            27.84       167.04

   Installation
 57. House wrap (air/moisture barrier)         3,270.00 SF                          0.00           0.31          54.20            213.58     1,281.48

 58. Mason - Brick / Stone - per how             40.00 HR                           0.00          63.71            0.00           509.68      3,058.08

 Labor cost to load brick on to scaffolding.
 59. Brick veneer - Premium grade              3,270.00 SF                          0.00          18.67       2,754.65        12,761.12     76,566.67

 60. Window sill - hardwood                      24.00 LF                           0.00           4.36            6.18            22.16       132.98

 61. Flashing - Sill pan flashing -              24.00 EA                           0.00          51.85          80.85            265.06      1,590.31
 plastic - up to 4.5' sill
 62. Precast sill                                24.00 LF                           0.00          27.82          37.98            141.14       846.80

 63. Brick - Add for rowlock course             172.00 LF                           0.00           3.28            0.00           112.84       677.00

 64. Brick - Add for herringbone                 43.00 SF                           0.00           2.09            0.63            18.10       108.60
 pattern
 65. Paint brick                               3,270.00 SF                          0.00           0.82          95.65            555.42      3,332.47

 66. Final cleaning - construction -           3,070.00 SF                          0.00           0.19            0.00           116.66       699.96
 Commercial

 Totals: Exterior Brick                                                                                       3,030.14        19,002.22     114,013.02


                                                         Dresden Insurance Empty Building
                                                                    Main Level


DRANDERSON                                                                                                                3/18/2022             Page:5
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                 '               William Griffin, Public Insurance Adjuster
         WIG                     128 Poplar Street, Gadsden, TN 38337




                                               Dresden Insurance Empty Building                                                             Height: 10'
                                                            1,372.25 SF Walls                                 942.89 SF Ceiling
                      55' 2"
    rt      eadm Insmance Ecripty~~~                        2,315.14 SF Walls & Ceiling                       942.89 SF Floor
                            N
              '                 y_
                                                              104.77 SY Flooring                              130.67 LF Floor Perimeter
                                                              141.75 LF Ceil. Perimeter


    Window - Goes to Floor                                        2' X 3'                         Opens• into Exterior
    Window - Goes to Floor                                        2' 1" X 3'                      Opens into Exterior
    Door                                                          3' X 7'                         Opens into Exterior
    Window - Goes to Floor                                        2' X 3'                         Opens into Exterior
    Window - Goes to Floor                                        2' X 3'                         Opens into Exterior

                ~--2' io"                      Subroom: Hallway (1)                                                                         Height: 10'

                        3' 2"                                     67.98 SF Walls                                8.25 SF Ceiling
                     Haflway (1) °,                               76.23 SF Walls & Ceiling                      8.25 SF Floor
                                 N
                                                                   0.92 SY Flooring                             6.50 LF Floor Perimeter
                        3' 4"
                                                                   9.25 LF Ceil. Perimeter
                        Z, g .

    Missing Wall                                                  2' 9" X 10'                     Opens into EXIT_ROOM
    Missing Wall                                                  21 911 X 10'                    Opens into DRESDEN_INSU
    DESCRIPTION                                             QTY          RESET     REMOVE       REPLACE          TAX             O&P           TOTAL

    Accessories

    67. Fluorescent light fixture - 6' & 8' -          24.00 EA                         0.00        86.41         0.00          414.76         2,488.60
    Detach & reset
    68. Heat/AC register - Mechanically                 3.00 EA                         0.00        13.11         0.00               7.86         47.19
    attached - Detach & reset
    69. Thermostat - Detach & reset                     1.00 EA                         0.00        43.84         0.00               8.76         52.60
    70. Cold air returim cover - Detach &               1.00 EA                         0.00        17.91         0.00               3.58         21.49
    reset
    71. Mirror - plate glass - Detach &               150.00 SF                         0.00         5.41         0.00          162.30           973.80
    reset
      Begin Drywall Repairs
      Removal
    72. Content Manipulation charge - per               8.00 HR                         0.00        35.00         0.00           56.00           336.00
    hour
    To remove contents.
    73. Mask and prep for paint - plastic,            151.00 LF                         0..00        1.35         3.98           41.58           249.41
    paper, tape (per LF)
    74. Floor protection - plastic and tape -         951.14 SF                          0.00        0.31        11.13           61.20           367.18
    10 mil

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     WIG                      128 Poplar Street, Gadsden, TN 38337




                                                         CONTINUED - Dresden Insurance Empty Building

 DESCRIPTION                                                    QTY             RESET   REMOVE    REPLACE          TAX             O&P        TOTAL

 75. Remove 5/8" drywall - hung,                         320.00 SF                         0.39       0.00          0.00           24.96       149.76
 taped, ready for texture
 5/8 for the ceiling
    Installation
 76. Apply anti-microbial agent to the                   320.00 SF                         0.00       0.22          1.25           14.34         85.99
 surface area
 Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
 77. 5/8" drywall - hung, taped, ready                   320.00 SF                         0.00       2.09         19.97          137.76        826.53
 fortexture
 5/8 for the ceiling
 78. Scrape part of the ceiling & prep                   631.14 SF                         0.00       0.62          0.62           78.38        470.31
 for paint
 79. Acoustic ceiling (popcorn) texture -                951.14 SF                         0.00       1.14          5.56          217.98      1,307.84
 heavy
 For the popcom ceiling texture
 80. Clean the walls and ceiling                        2,391.37 SF                        0.00       0.31          2.33          148.72        892.37
 Ceiling/walls must be cleaned prior to application of paint.
 81. Seal the walls and ceiling w/latex                 2,391.37 SF                        0.00        0.60        18.65          290.70      1,744.17
 based stain blocker - one coat
 82. Paint the walls and ceiling - two                  2,391.37 SF                        0.00        0.93        53.63          455.52      2,733.12
 coats
 83. Content Manipulation charge - per                     8.00 HR                         0.00      32.52           0.00          52.04        312.20
 hour
 To move contents back in.
 84. Final cleaning - construction -           951.14 SF                                0.00          0.17            0.00          32.34       194.03
 Commercial
 This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.

 Totals: Dresden Insurance Empty Building                                                                         117.12         2,208.78    13,252.59




                                       „~           Exit Room                                                                           Height: 8' 11"
                                 4 i

                            3'-4'3"                               140.77 SF Walls                                42.63 SF Ceiling
                                             ~Way
                                                                  183.40 SF Walls & Ceiling                      42.63 SF Floor
                            itRoom      T
                                                                    4.74 SY Flooring                             13.25 LF Floor Perimeter
        L      _~3'6" +-a zi                                       23.75 LF Ceil. Perimeter
            f" - 3' 10" ~                   4"



 Missing Wall - Goes to Floor                                         41 211 X 61 811               Opens into Exterior
 Door                                                                 3' X 7'                       Opens into Exterior
 Missing Wall                                                         2' 9" X 8' 11"                Opens into HALLWAY

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                         William Griffin, Public Insurance Adjuster
     WIv                 128 Poplar Street, Gadsden, TN 38337




                                                             CONTINUED - Exit Room


              fflityRo
                                        Subroom: Hallway (1)                                                                      Height: 8 ' 11"




           o
                                                      198.57 SF Walls                                         42.14 SF Ceiling
                                                      240.71 SF Walls & Ceiling                               42.14 SF Floor
                                                        4.68 SY Flooring                                      19.58 LF Floor Perimeter
                                                       31.50 LF Ceil. Perimeter


 Door                                                     2' 7" X 7'                           Opens into UTILITY_ROOM
 Door                                                     3' X 7'                              Opens into BATHROOM
 Door                                                     3' X 7'                              Opens into Exterior
 Missing Wall - Goes to Floor                             3 1 4 19 X 6 1 8 91                  Opens into EXIT_ROOM
 DESCRIPTION                                        QTY             RESET       REMOVE     REPLACE              TAX         O&P          TOTAL
 Accessories
 85. Remove 5 lb. ABC fire          -           1.00 EA                            3.10            0.00         0.00         0.62            3.72
 extinguisher
 Remove
 86. Insta115 lb. ABC fire extinguisher         1.00 EA                            0.00            5.86         0.00         1.18            7.04
 Reset
 87. Exit sign - Detach & reset                 1.00 EA                            0.00           57.93         0.00        11.58           69.51
    Segin Drywall Repairs
    Removal
 88. Mask and prep for paint - plastic,        55.25 LF                            0.00            1.35         1.45        15.22           91.26
 paper, tape (per LF)
 89. Floor protection - plastic and tape -     84.76 SF                            0.00            0.31         0.99         5.46           32.73
 10 mil
 90. Remove 5/8" drywall - hung,               64.00 SF                             0.39           0.00         0.00            5.00        29.96
 taped, ready for texture
 5/8 for the ceiling
 91. Remove 1/2" drywall - hung,               32.00 SF                            0.39            0.00          0.00        2.50           14.98
 taped, ready for texture
 1/2 inch for the walls
    Installation
 92. Apply anti-microbial agent to the        96.00 SF                              0.00           0.22          0.37           4.30        25.79
 surface area
 Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
 93. 5/8" drywall - hung, taped, ready         64.00 SF                             0.00           2.09         3.99        27.56          165.31
 fortexture
 5/8 for the ceiling
 94. 1/2" drywall - hung, taped, ready         32.00 SF                             0.00           1.98          1.84       13.04           78.24
 fortexture

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                    William Griffin, Public Insurance Adjuster
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                                                             CONTINUED - Exit Room

 DESCRIPTION                                         QTY            RESET      REMOVE         REPLACE                TAX              O&P        TOTAL

 95. Scrape part of the walls & prep for      307.34 SF                               0.00            0.62            0.30            38.18        229.03
 paint
 96. Acoustic ceiling (popcorn) texture -      84.76 SF                               0.00            1.14            0.50            19.42        116.55
 heavy
 For the popcom ceiling texture
 97. Texture drywall - smooth / skim          339.34 SF                               0.00            1.25            3.31            85.50        512.99
 coat
 98. Clean the walls and ceiling              424.10 SF                               0.00            0.31            0.41            26.38        158.26
 Ceiling/walls must be cleaned prior to application of paint.
 99. Seal the walls and ceiling w/latex       424.10 SF                               0.00            0.60            3.31             51.56       309.33
 based stain blocker - one coat
 100. Paint the walls and ceiling - two       424.10 SF                               0.00            0.93            9.51             80.78       484.70
 coats
 101. Final cleaning - construction -          84.76 SF                               0.00            0.17            0.00              2.88        17.29
 Commercial
 This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.

 Totals: Exit Room                                                                                                   25.98            391.16     2,346.69




                   4'3" -    ~       Bathroom                                                                                              Height: 8' 11"

                  3' 11          I                      118.69 SF Walls                                            15.34 SF Ceiling
                                                        134.03 SF Walls & Ceiling                                  15.34 SF Floor
                 Bathroom
                                                          1.70 SY Flooring                                         12.67 LF Floor Perimeter
                                                         15.67 LF Ceil. Perimeter
         _=                      1


 Door                                                     3' X 7'                                 Opens into HALLWAY

 DESCRIPTION                                          QTY           RESET      REMOVE         REPLACE                TAX               O&P       TOTAL

 Accessories
 102. Exhaust fan - Detach & reset              1.00 EA                               0.00          161.51            0.00             32.30       193.81

 103. Heat/AC register - Mechanically           1.00 EA                               0.00           13.11            0.00              2.62        15.73
 attached - Detach & reset
    Begin Drywall Repairs
    Removal
 104. Mask and prep for paint - plastic,       15.67 LF                               0.00            1.35            0.41              4.32        25.88
 paper, tape (per LF)
 105. Floor protection - plastic and tape      15.34 SF                               0.00            0.31            0.18               1.00        5.94
 - 10 mil
 106. Remove 5/8" drywall - hung,              15.34 SF                               0.39            0.00            0.00               1.20        7.18
 taped, ready for texture

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        WIG                 128 Poplar Street, Gadsden, TN 38337




                                                                CONTINUED - Bathroom

    DESCRIPTION                                          QTY         RESET        REMOVE         REPLACE                TAX              O&P        TOTAL

    5/8 for the ceiling
       Installation
    107. Apply anti-microbial agent to the       15.34 SF                              0.00           0.22               0.06             0.70          4.13
    ceiling
    Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
    108. 5/8" drywall - hung, taped, ready        15.34 SF                               0.00            2.09            0.96             6.62         39.64
    fortexture
    5/8 for the ceiling
    109. Acoustic ceiling (popcorn)               15.34 SF                               0.00            1.14            0.09             3.52         21.10
    texture - heavy
    For the popcom ceiling texture
    I 10. Clean the ceiling                       15.34 SF                               0.00            0.31            0.01             0.96          5.73
    Ceiling/walls must be cleaned prior to application of paint.
    111. Seal the ceiling w/latex based           15.34 SF                               0.00            0.60            0.12             1.86         11.18
    stain blocker - one coat
    112. Paint the ceiling - two coats            15.34 SF                               0.00            0.93            0.34             2.92         17.53

    113. Final cleaning - construction -           15.34 SF                                0.00          0.17            0.00             0.52          3.13
    Commercial
    This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.

    Totals: Bathroom                                                                                                     2.17            58.54        350.98



           ~~-5'2"-~                      Utility Room                                                                                        Height: 8' 11"
                    4' 6"
                                 ~                         148.36 SF Walls                                            21.75 SF Ceiling
           ~     Ubliry Room ^   ~                         170.11 SF Walls & Ceiling                                  21.75 SF Floor
                                                             2.42 SY Flooring                                         16.08 LF Floor Perimeter
                                                            18.67 LF Ceil. Perimeter

                                     B;

    Door                                                      2' 7" X 7'                             Opens into HALLWAY
    DESCRIPTION                                          QTY          RESET       REMOVE         REPLACE                TAX              O&P        TOTAL

    Accessories

    114. Fluorescent light fixture - 6' & 8' -      1.00 EA                              0.00           86:41            0.00            17.28        103.69
    Detach & reset
    115. Water heater - Detach & reset              1.00 EA                               0.00         451.97            0.00            90.40        542.37

      Begin Drywall Repairs
       Removal
    116. Mask and prep for paint - plastic,       18.67 LF                                0.00           1.35            0.49               5.14       30.83
    paper, tape (per LF)
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                       William Griffin, Public Insurance Adjuster
     WIG               128 Poplar Street, Gadsden, 'I'N 38337




                                                           CONTINUED - Utility Room

 DESCRIPTION                                         QTY          RESET        REMOVE         REPLACE                TAX              O&P      TOTAL

 117. Floor protection - plastic and tape      21.75 SF                               0.00            0.31            0.25             1.40        8.39
 - 10 mil
 118. Remove 5/8" drywall - hung,              21.75 SF                               0.39            0.00            0.00             1.70       10.18
 taped, ready for texture
 5/8 for the ceiling
    Installation
 119. Apply anti-microbial agent to the        21.75 SF                               0.00            0.22            0.08              0.98        5.85
 ceiling
 Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
 120. 5/8" drywall - hung, taped, ready        21.75 SF                               0.00            2.09            1.36             9.38       56.20
 fortexture
 5/8 for the ceiling
 121. Acoustic ceiling (popcorn)               21.75 SF                               0.00            1.14            0.13             4.98       29.91
 texture - heavy
 For the popcom ceiling texture
 122. Clean the walls and ceiling             170.11 SF                               0.00            0.31            0.17            10.58       63.48

 Ceiling/walls must be cleaned prior to application of paint.
 123. Seal the walls and ceiling w/latex      170.11 SF                               0.00            0.60            1.33            20.68      124.08
 based stain blocker - one coat
 124. Paint the walls and ceiling - two       170.11 SF                               0.00            0.93            3.82            32.40      194.42
 coats
 125. Final cleaning - construction -          21.75 SF                               0.00            0.17            0.00              0.74        4.44
 Commercial
 This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.

 Totals: UtilityRoom                                                                                                  7.63            195.66    1,173.84

 Total: Main Level                                                                                                 152.90         2,854.14     17,124.10

 Total: Dresden Insurance Empty Building                                                                           152.90         2,854.14     17,124.10

                                                                  Dresden Insurance
                                                                      Main Level




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                           William Griffin, Public Insurance Adjuster
           lY IG           128 Poplar Street, Gadsden, TN 38337




                                                  Dresden Insurance                                                                         Height: 10'

                                                               1,551.23 SF Walls                            1,194.81 SF Ceiling
     =        a       co           UtiFi   oom
              ~l~esdan Insurence
              N                                                2, 746.04 SF Walls & Ceiling                 1, 194.81 SF Floor
                                      o    'tch                 ~
     9 -                                                          132.76 SY Flooring                           148.00 LF Floor Perimeter
                                                                  162.41 LF Ceil. Perimeter


 Door                                                                2' 2" X 7'                    Opens into UTILITY_ROOM
 Missing Wall                                                        3' 1" X 10'                   Opens into KITCHEN
 Door                                                                21 311 X 7'                   Opens into Exterior
 Window - Goes to Floor                                              3' 6" X 3'                    Opens into Exterior
 Door                                                                3' X 7'                       Opens into Exterior
 Window - Goes to Floor                                              3' 6" X 3'                    Opens into Exterior
 DESCRIPTION                                                   QTY          RESET   REMOVE       REPLACE         TAX            O&P            TOTAL

 Accessorfes

 126. Interior door - Detach & reset                      1.00 EA                         0.00      65.67         0.09          13.16             78.92

 127. Fluorescent light fixture - 6' & 8' -              26.00 EA                         0.00      86.41         0.00         449.34           2,696.00
 Detach & reset
 128. Heat/AC register - Mechanically                     8.00 EA                         0.00      13.11         0.00          20.98            125.86
 attached - Detach & reset
 129. Thermostat - Detach & reset                         1.00 EA                         0.00      43.84         0.00           8.76             52.60

 130. Cold air return cover - Detach &                    1.00 EA                         0.00      17.91         0.00           3.58             21.49
 reset
         Begin Drywall Repairs
         Removal
 131. Content Manipulation charge -                      20.00 HR                         0.00      35.00         0.00         140.00            840.00
 per hour
 To remove contents.
 132. Mask and prep for paint - plastic,                162.41 LF                         0.00       1.35         4.28          44.72            268.25
 paper, tape (per LF)
 133. Floor protection - plastic and tape              1,194.81 SF                        0.00       0.31        13.98          76.88            461.25
 - 10 mil
 134. Remove Crown molding - 4 1/4"                      20.00 LF                         0.62       0.00         0.00           2.48              14.88

 135. Remove 5/8" drywall - hung,                        64.00 SF                         0.39       0.00         0.00               5.00          29.96
 taped, ready for texture
 5/8 for the ceiling
 136. Remove 1/2" drywall - hung,                        64.00 SF                         0.39       0.00         0.00               5.00          29.96
 taped, ready for texture
 1/2 inch for the walls
         Installation
 137. Apply anti-microbial agent to the                 128.00 SF                         0.00       0.22         0.50               5.74          34.40
 surface area


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                       William Griffin, Public Insurance Adjuster
     WIG               128 Poplar Street, Gadsden, TN 38337




                                                       CONTINUED - Dresden Insurance

DESCRIPTION                                          QTY         RESET        REMOVE        REPLACE                TAX             O&P      TOTAL

Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
138. 5/8" drywall - hung, taped, ready         64.00 SF                             0.00            2.09            3.99           27.56     165.31
fortexture
 5/8 for the ceiling
139. 1/2" drywall - hung, taped, ready         64.00 SF                              0.00           1.98            3.68           26.08     156.48
for texture
140. Scrape part of the walls and          2,618.04 SF                               0.00           0.62            2.55          325.16    1,950.89
ceiling & prep for paint
141. Acoustic ceiling (popcom)              1,194.81 SF                              0.00           1.14            6.99          273.82    1,642.89
texture - heavy
For the popcorn ceiling texture
 142. Texture drywall - smooth / skim       1,551.23 SF                              0.00           1.25           15.12          390.82    2,344.98
 coat
 143. Clean the walls and ceiling           2,746.04 SF                              0.00           0.31            2.68          170.80    1,024.75

 Ceiling/walls must be cleaned prior to application of paint.
 144. Seal the walls and ceiling w/latex    2,746.04 SF                              0.00            0.60          21.42          333.80    2,002.84
 based stain blocker - one coat
 145. Paint the walls and ceiling - two     2,746.04 SF                              0.00            0.93          61.58          523.08    3,138.48
 coats
 146. Crown molding - 4 1/4"                   20.00 LF                              0.00            4.50           4.43           18.88     113.31

 147. Paint crown molding - two coats          20.00 LF                              0.00            1.45           0.29            5.86       35.15

 148. Final cleaning - construction -         1,194.81 SF                               0.00          0.17            0.00          40.62    243.74
 Commercial
 This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.
   Begin Carpet Repairs
    Removal
 149. Mask and prep for paint - plastic,      162.41 LF                              0.00            1.35           4.28           44.72      268.25
 paper, tape (per LF)
 150. Remove Baseboard - 4 1/4"               148.00 LF                              0.42            0.00           0.00           12.44       74.60

 151. Remove Glue down carpet - High        1,194.81 SF                              0.59            0.00           0.00          140.98      845.92
 grade
 152. Clean concrete the floor              1,194.81 SF                              0.00            0.27           1.17           64.76      388.53

    Installation
                                                                                    0.00           0.22              4.66          53.52      321.04
 153. Apply anti-microbial agent to the 1,194.81 SF
 floor
 Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
                                            1,374.03 SF                              0.00            2.91         338.94          867.46    5,204.83
 154. Glue down carpet - High grade
                                              148.00 LF                              0.00            3.86          31.75           120.62     723.65
 155. Baseboard - 4 1/4"
                                              148.00 LF                              0.00            1.39            1.88           41.52     249.12
 156. Paint baseboard - two coats
                                            1,194.81 SF                              0.00            0.17            0.00           40.62     243.74
 157. Final cleaning - construction -
 Commercial

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                         William Griffin, Public Insurance Adjuster
     WIG                 128 Poplar Street, Gadsden, TN 38337




                                                           CONTINUED - Dresden Insurance

 DESCRIPTION                                              QTY       RESET      REMOVE         REPLACE                TAX               O&P       TOTAL

 This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.
    Begin Interior poor Repairs
    Removal
 158. Remove Door opening (jamb &                  1.00 EA                            5.85            0.00            0.00              1.18         7.03
 casing) - 32"to36"wide - paint grade
    Installation
 159. Door opening (jamb & casing) -               1.00 EA                            0.00          161.62           11.73             34.66       208.01
 32"to36"wide - paint grade
 160. Rosette - corner block - 3/4" x 3            2.00 EA                            0.00            8.37            0.59              3.46        20.79
 1/2" - pine
 161. Paint door/window trim & jamb -              1.00 EA                            0.00           30.17            0.46              6.14        36.77
 2 coats (per side)
 162. Content Manipulation charge -               20.00 HR                            0.00           35.23            0.00            140.92       845.52
 per hour
 To move contents back in.
 163. Final cleaning - construction -          1,194.81 SF                            0.00            0.17            0.00             40.62       243.74
 Commercial

 Totals: DresdenInsurance                                                                                           537.04        4,525.74      27,153.93




                                           Utility Room                                                                                    Height: 8' 11"
        y      =                       1
                                                           105.21 SF Walls                                         11.35 SF Ceiling
                                       0
                   Utllity Room c'                         116:56 SF Walls & Ceiling                               11.35 SF Floor
                      3' 7"                                  1.26 SY Flooring                                      11.33 LF Floor Perimeter
                                                            13.50 LF Ceil. Perimeter
                       3' 11"-------


 Door                                                        2' 2" X 7'                           Opens into DRESDEN_INSU

 DESCRIPTION                                              QTY       RESET      REMOVE          REPLACE               TAX               O&P       TOTAL

 Accessories
 164. Water heater - Detach & reset                1.00 EA                             0.00         451.97            0.00             90.40       542.37

   Begin Drywall Repafrs
    Removal
 165. Mask and prep for paint - plastic,          13.50 LF                             0.00            1.35           0.36              3.72        22.31
 paper, tape (per LF)
 166. Floor protection - plastic and tape         11.35 SF                             0.00            0.31           0.13               0.72        4.37
 - 10 mil
 167. Remove 5/8" drywall - hung,                 11.35 SF                             0.39            0.00            0.00              0.88        5.31
 taped, ready for texture
 5/8 for the ceiling

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•               •         William Griffin, Public Insurance Adjuster
        ~IG               128 Poplar Street, Gadsden, TN 38337



                                                              CONTINUED - Utility Room

    DESCRIPTION                                         QTY          RESET       REMOVE          REPLACE               TAX               O&P       TOTAL

    168. Remove 1/2" drywall - hung,              64.00 SF                               0.39            0.00           0.00              5.00       29.96
    taped, ready for texture
    1/2 inch for the walls
       Installation
    169. Apply anti-microbial agent to the        75.35 SF                               0.00            0.22           0.29              3.38       20.25
    surface area
    Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
    170. 5/8" drywall - hung, taped, ready        11.35 SF                               0.00            2.09           0.71              4.88       29.31
    fortexture
    5/8 for the ceiling
    171. 1/2" drywall - hung, taped, ready        64.00 SF                               0.00            1.98           3.68             26.08      156.48
    fortexture
    172. Scrape part of the walls & prep          41.21 SF                               0.00            0.62           0.04              5.12       30.71
    for paint
    173. Acoustic ceiling (popcorn)               11.35 SF                               0.00            1.14            0.07             2.60       15.61
    texture - heavy
    For the popcorn ceiling texture
    174. Texture drywall - smooth / skim         105.21 SF                               0.00            1.25            1.03            26.50      159.04
    coat
    175. Clean the walls and ceiling             116.56 SF                               0.00            0.31            0.11             7.24       43.48

    Ceiling/walls must be cleaned prior to application of paint.
    176. Seal the walls and ceiling w/latex      116.56 SF                               0.00            0.60            0.91            14.16       85.01
    based stain blocker - one coat
    177. Paint the walls and ceiling - two       116.56 SF                               0.00            0.93            2.61            22.20      133.21
    coats
    178. Final cleaning - construction -           11.35 SF                                0.00          0.17            0.00             0.38        2.31
    Commercial
    This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.
      Begin Carpet Repairs
       Removal
    179. Mask and prep for paint - plastic,       13.50 LF                               0.00            1.35            0.36             3.72       22.31
    paper, tape (per LF)
    180. Remove Baseboard - 4 1/4"                11.33 LF                               0.42            0.00            0.00             0.96        5.72

    181. Remove Glue down carpet - High           11.35 SF                               0.59            0.00            0.00             1.34        8.04
    grade
                                                  11.35 SF                               0.00            0.27            0.01             0.62        3.69
    182. Clean concrete the floor
       Installation
    183. Apply anti-microbial agent to the       11.35 SF                              0.00           0.22               0.04               0.50      3.04
    floor
    Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
                                                  13.05 SF                               0.00            2.91            3.22               8.24     49.44
    184. Glue down catpet - High grade
                                                  11.33 LF                               0.00            3.86            2.43               9.22     55.38
    185. Baseboard - 4 1/4"
DRANDERSON                                                                                                                      3/18/2022           Page:15
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                              William Griffin, Public Insurance Adjuster
        IY IG                 128 Poplar Street, Gadsden, TN 38337




                                                                   CONTINUED - Utility Room

    DESCRIPTION                                            QTY              RESET   REMOVE       REPLACE                TAX               O&P        TOTAL

    186. Paint baseboard - two coats                  11.33 LF                           0.00            1.39            0.14              3.18         19.07
    187. Final cleaning - construction -              11.35 SF                           0.00            0.17            0.00              0.38          2.31
    Commercial
    This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.

    Totals: Utility Room                                                                                                16.14            241.42      1,448.73



         Ity            •~         ~
           ~~          3~    ~31~      _    Kitchen                                                                                               Height: 10'
                   ^ 6.~~~~~ 9~~
                                       r
                                       ~
                                                              391.14 SF Walls                                       144.01 SF Ceiling
                   ~
                   t                                          535.16 SF Walls & Ceiling                             144.01 SF Floor
                   I x `~`~                                    16.00 SY Flooring                                     36.41 LF Floor Perimeter
                   ^                                           45.41 LF Ceil. Perimeter
           i                           1
    Door                                                          3' X 7'                            Opens into Exterior
    Door                                                          3' X 7'                            Opens into Exterior
    Door                                                          3' X 7'                            Opens into Exterior
    Missing Wall                                                  3',1" X 10'                        Opens into DRESDEN INSU

    DESCRIPTION                                             QTY             RESET   REMOVE       REPLACE                TAX               O&P        TOTAL

    Accessories
    188. Refrigerator - Remove & reset                 1.00 EA                           0.00           37.79            0.00              7.56         45.35

    189. Interior door - Detach & reset                3.00 EA                           0.00           65.67            0.27             39.46        236.74

    190. Fluorescent light fixture - 6' & 8' -          1.00 EA                          0.00           86.41            0.00             17.28        103.69
    Detach & reset
    191. Heat/AC register - Mechanically                1.00 EA                          0.00           13.11            0.00              2.62         15.73
    attached - Detach & reset
    192. Cabinetry - upper (wall) units -             11.00 LF                            0.00          46.48            0.00            102.26        613.54
    Detach & reset
      Begin Drywall Repairs
       Removal
    193. Content Manipulation charge -                  5.00 HR                           0.00          35.00            0.00             35.00        210.00
    per hour
    To remove contents.
    194. Mask and prep for paint - plastic,            45.41 LF                           0.00           1.35            1.20             12.50         75.00
    paper, tape (per LF)
    195. Floor protection - plastic and tape          144.01 SF                           0.00           0.31            1.68              9.26         55.58
    - 10 mil
       Installation
                                                      535.16 SF                           0.00           0.31            0.52             33.28        199.70
    196. Clean the walls and ceiling

DRANDERSON                                                                                                                      3/18/2022              Page:16
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                   William Griffin, Public Insurance Adjuster
    WIG            128 Poplar Stxeet, Gadsden, TN 38337




                                                               CONTINUED - ICitchen

DESCRIPTION                                          QTY          RESET       REMOVE         REPLACE                TAX               O&P      TOTAL

Ceiling/walls must be cleaned prior to application of paint.
197. Seal the walls and ceiling w/latex      535.16 SF                                0.00           0.60            4.17             65.06      390.33
based stain blocker - one coat
198. Paint the walls and ceiling - two       535.16 SF                              0.00           0.93           12.00          101.94          611.64
coats
199. Final cleaning - construction -         144.01 SF                              0.00           0.17            0.00            4.90           29.38
Conunercial
This fmal clean is for the drywall repair process. Additional fmal clean line items may be necessary for other repair processes.
   Begin Carpet Repairs
   Removal
                                               45.41 LF                               0.00           1.35            1.20             12.50       75.00
200. Mask and prep for paint - plastic,
paper, tape (per LF)
                                               36.41 LF                               0.42            0.00            0.00             3.06       18.35
201. Remove Baseboard - 4 1/4"
                                              144.01 SF                               0.59            0.00            0.00            17.00      101.97
202. Remove Glue down carpet - High
grade
                                              144.01 SF                               0.00            0.27            0.14              7.80      46.82
203. Clean concrete the floor
   Installation
                                            144.01 SF                              0.00           0.22                0.56              6.46      38.70
204. Apply anti-microbial agent to the
floor
Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
                                              165.62 SF                               0.00            2.91          40.85             104.58     627.38
 205. Glue down carpet - High grade
                                               36.41 LF                               0.00            3.86            7.81             29.66     178.01
 206. Baseboard - 4 1/4"
                                               36.41 LF                               0.00            1.39            0.46             10.22      61.29
 207. Paint baseboard - two coats
                                               144.01 SF                               0.00           0.17            0.00              4.90      29.38
 208. Final cleaning - construction -
 Commercial
 This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.

                                                                                                                     70.86            627.30    3,763.58
 Totals: Kitchen

                                                                                                                   624.04         5,394.46     32,366.24
 Total: Main Level

                                                                                                                   624.04         5,394.46     32,366.24
 Total: Dresden Insurance

                                                               Attorney General Office
                                                                      Main Level




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DRANDERSON
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    '                   r        Williatn Griffin, Public Insurance Adjuster
               ~Iv               128 Poplar Street, Gadsden, TN 38337




           =                                 I   Attorney General Office                                                                     Height: 8' 11"

                                                                627.57 SF Walls                                       275.47 SF Ceiling
               F3 9+^ ttomey Genetal Offic   ~
                                             ~                  903.03 SF Walls & Ceiling                             275.47 SF Floor
                                                                 30.61 SY Flooring                                     65.00 LF Floor Perimeter
                                                                 77.17 LF Ceil. Perimeter


        Window - Goes to Floor                                      3' 1" X 3'                        Opens into Exterior
        Door                                                        3' X 7'                           Opens into Exterior
        Window - Goes to Floor                                      3' 1" X 3'                        Opens into Exterior
         Door                                                       3' X 7'                           Opens into Exterior
        DESCRIPTION                                           QTY          RESET    REMOVE         REPLACE               TAX            O&P         TOTAL

        Accessories
         209. Fluorescent light fixture - 6' & 8' -       5.00 EA                          0.00          86.41            0.00          86.42        518.47
         Detach & reset
         210. Heat/AC register - Mechanically            2.00 EA                           0.00          13.11            0.00           5.24         31.46
         attached - Detach & reset
           Begin Drywall Repafrs
               Removal
         211. Content Manipulation charge -               5.00 HR                          0.00          35.00            0.00          35.00        210.00
         per hour
         To remove contents.
         212. Mask and prep for paint - plastic,         77.17 LF                           0.00           1.35           2.03          21.24        127.45
         paper, tape (per LF)
         213. Floor protection - plastic and tape       275.47 SF                           0.00           0.31           3.22          17.72        106.34
         - 10 mil
         214. Remove 5/8" drywall - hung,                32.00 SF                           0.39           0.00           0.00           2.50         14.98
         taped, ready for texture
         5/8 for the ceiling
               Installation
                                                         32.00 SF                           0.00           0.22           0.12           1.42           8.58
         215. Apply anti-microbial agent to the
         surface area
         Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
                                                         32.00 SF                           0.00           2.09           2.00          13.78          82.66
         216. 5/8" drywall - hung, taped, ready
         for texture
         5/8 for the ceiling
                                                        243.47 SF                           0.00           0.62           0.24          30.24         181.43
         217. Scrape part of the ceiling & prep
         for paint
                                                        275.47 SF                           0.00           1.13           3.76          63.02         378.06
         218. Texture drywall - heavy hand
         texture
         For the heavy ceiling texture
                                                        275.47 SF                           0.00           0.31           0.27           17.14        102.81
         219. Clean the ceiling
         Ceiling/walls must be cleaned prior to application of paint.
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                     ~              William Griffin, Public Insurance Adjuster
        WIG                         128 Poplar Street, Gadsden, TN 38337




                                                              CONTINUED - Attorney General Office

    DESCRIPTION                                                QTY             RESET   REMOVE     REPLACE              TAX               O&P       TOTAL

    220. Seal the ceiling w/latex based                  275.47 SF                        0.00          0.60            2.15            33.50        200.93
    stain blocker - one coat
    221. Paint the ceiling - two coats                   275.47 SF                        0.00          0.93            6.18             52.48       314.85

    222. Content Manipulation charge -                     5.00 HR                        0.00         32.52            0.00             32.52       195.12
    per hour
    To move contents back in.
    223. Final cleaning - construction -         275.47 SF                                0.00          0.17            0.00              9.36        56.19
    Commercial
    This $nal clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.

    Totals: Attorney General Office                                                                                    19.97            421.58     2,529.33




                                                  Attorney General Back Office                                                               Height: 8' 11"

         T
             ~---               rr~                                                                                 65.88 SF Ceiling
                         l or Zr,
                                                                 267.99 SF Walls
                ry
             oTney General Back O
                                       hr 3rr.
                                             _                   333.86 SF Walls & Ceiling                          65.88 SF Floor
                                                                   7.32 SY Flooring                                 28.00 LF Floor Perimeter
                                         j
           4"            F_ 6r 4"-~                               36.83 LF Ceil. Perimeter


    Door                                                             1' 8" X 7'                     Opens into Exterior
    Missing Wall - Goes to Floor                                     4' 2" X 6' 8"                  Opens into Exterior
    Door                                                             3' X 7'                        Opens into Exterior

    DESCRIPTION                                                QTY             RESET   REMOVE     REPLACE              TAX               O&P       TOTAL

    Accessories

    224. Fluorescent light fixture - 6' & 8' -             1.00 EA                        0.00         86.41            0.00             17.28       103.69
    Detach & reset
    225. Heat/AC register - Mechanically                   1.00 EA                        0.00         13.11            0.00              2.62        15.73
    attached - Detach & reset
      Begfn Dryroal/ Repairs
       Removal
    226. Content Manipulation charge -                     3.00 HR                        0.00         35.23            0.00             21.14       126.83
    per hour
    To remove contents.
    227. Mask and prep for paint - plastic,               36.83 LF                        0.00          1.35            0.97             10.14        60.83
    paper, tape (per LF)
    228. Floor protection - plastic and tape              65.88 SF                         0.00          0.31           0.77               4.24       25.43
    - 10 mil
    229. Remove 5/8" drywall - hung,                      32.00 SF                         0.39          0.00           0.00               2.50       14.98
    taped, ready for texture
    5/8 for the ceiling

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                       Williann Griffin, Public Insurance Adjuster
                       128 Poplar Street, Gadsden, TN 38337




                                                 CONTINUED - Attorney General Back Office

 DESCRIPTION                                         QTY          RESET        REMOVE         REPLACE                TAX               O&P     TOTAL

 230. Remove 1/2" drywall - hung,              32.00 SF                               0.39            0.00            0.00              2.50     14.98
 taped, ready for texture
 1/2 inch for the walls
    Installatfon
 231. Apply anti-microbial agent to the        64.00 SF                               0.00            0.22            0.25              2.88     17.21
 surface area
 Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
 232. 5/8" drywall - hung, taped, ready        32.00 SF                               0.00            2.09            2.00             13.78     82.66
 for texture
 5/8 for the ceiling
 233. 1/2" drywall - hung, taped, ready        32.00 SF                               0.00            1.98            1.84             13.04     78.24
 fortexture
 234. Scrape part of the walls and            269.86 SF                               0.00            0.62            0.26             33.52    201.09
 ceiling & prep for paint
 235. Texture drywall - heavy hand            333.86 SF                               0.00            1.13            4.56             76.38    458.20
 texture
 For the heavy hand wall & ceiling texture
 236. Clean the walls and ceiling             333.86 SF                               0.00            0.31            0.33             20.76    124.59
 Ceiling/walls must be cleaned prior to application of paint.
 237. Seal/prime then paint the walls         333.86 SF                               0.00            1.52            9.44            103.38    620.29
 and ceiling twice (3 coats) - 2 colors
 238. Final cleaning - construction -          65.88 SF                               0.00            0.17            0.00              2.24     13.44
 Commercial
 This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.
    Begin Interior poor Repairs
    Removal
 239. Remove Door opening (jamb &               1.00 EA                               5.85            0.00            0.00              1.18      7.03
 casing) - 32"to36"wide - paint grade
    Installation
 240. Door opening (jamb & casing) -            1.00 EA                               0.00         161.62            11.73             34.66    208.01
 32"to36"wide - paint grade
 241. Paint door/window trim & jamb -           1.00 EA                               0.00           30.17            0.46              6.14     36.77
 2 coats (per side)
 242. Content Manipulation charge -             3.00 HR                               0.00           35.23            0.00             21.14    126.83
 per hour
 To move contents back in.
 243. Final cleaning - construction -          65.88 SF                               0.00            0.17            0.00              2.24     13.44
 Commercial

 Totals: Attorney General Back Office                                                                                32.61            391.76   2,350.27

 Total: Main Level                                                                                                   52.58            813.34   4,879.60


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 ,          •       William Griffin, Public Insurance Adjuster
      WIG           128 Poplar Street, Gadsden, TN 38337



 Total: Attomey General Office                                                                                  52.58          813.34      4,879.60

                                                           Under Construction Apartment
                                                                       Main Level


                                       Hallway                                                                                       Height: 8' 11"

                                                     1,123.63 SF Walls                                        464.00 SF Ceiling
                     '   ,1 •
                                                     1,587.63 SF Walls & Ceiling                              464.00 SF Floor
          26' 10                                        51.56 SY Flooring                                     121.50 LF Floor Perimeter
                                                       142.50 LF Ceil. Perimeter


 Door                                                      3' X 7'                             Opens into OPEN ROOM
 Door                                                      3' X 7'                             Opens into OPEN ROOM
 Door                                                      3' X 7'                             Opens into OPEN_ROOM
 Door                                                      3' X 7'                             Opens into BEDROOM_1
 Door                                                      3' X 7'                             Opens into BEDROOM 1
 Door                                                      3' X 7'                             Opens into BEDROOM_2
 Door                                                      3' X 7'                             Opens into BEDROOM_3

 DESCRIPTION                                         QTY             RESET   REMOVE        REPLACE               TAX            O&P        TOTAL

 Accessories
 244. Light fixture - Detach & reset             1.00 EA                            0.00          44.56           0.00            8.92        53.48
 Begin Plaster Repairs
    Removal
 245. Mask and prep for paint - plastic,     142.50 LF                              0.00           1.35           3.75          39.24        235.37
 paper, tape (per LF)
 246. Content Manipulation charge -              8.00 HR                            0.00          35.23           0.00          56.36        338.20
 per hour
 To remove contents.
 247. Floor protection - plastic and tape    464.00 SF                              0.00           0.31           5.43          29.84        179.11
 - 10 mil
 248. Remove Ceiling - wood - tongue         464.00 SF                              0.44           0.00           0.00           40.84       245.00
 & groove
     Insfallation
 249. Apply anti-microbial agent to the 1,587.63 SF                                 0.00           0.22           6.19           71.10       426.57
 walls and ceiling
 Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
 250. Ceiling - wood - tongue & groove       464.00 SF                              0.00           7.59         218.06          747.98     4,487.80
 251. Two coat plaster (no lath)            1,123.63 SF                             0.00           6.01          94.22        1,369.44     8,216.68
 252. Clean the walls                       1,123.63 SF                             0.00           0.31           1.10           69.88       419.31

 Ceiling/walls must be cleaned prior to application of paint.


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 .           .
                        William Griffin, Public Insurance Adjuster
         ~IG            128 Poplar Street, Gadsden, TN 38337




                                                                  CONTINUED - Hallway

     DESCRIPTION                                         QTY          RESET        REMOVE         REPLACE                TAX               O&P     TOTAL
     253. Seal the walls w/latex based stain    1,123.63 SF                               0.00            0.60            8.76            136.60     819.54
     blocker - one coat
     254. Paint the walls - two coats           1,123.63 SF                               0.00            0.93           25.20            214.04   1,284.22

     255. Final cleaning - construction -         464.00 SF                               0.00            0.17            0.00             15.78      94.66
     Commercial
     This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.
        Begin Interior poor Repafrs
        Removal
     256. Remove Door opening (jamb &               7.00 EA                               5.85            0.00            0.00              8.20      49.15
     casing) - 32"to36"wide - paint grade
        Installation
     257. Door opening (jamb & casing) -            7.00 EA                               0.00         161.62            82.13            242.68   1,456.15
     32"to36"wide - paint grade
     258. Paint door/window trim & jamb -           7.00 EA                               0.00          30.17             3.19             42.88     257.26
     2 coats (per side)
     259. Final cleaning - construction -         464.00 SF                               0.00            0.17            0.00             15.78      94.66
     Commercial
       Begin engineered woodJlooring repairs
       Removal
     260. Remove Oak flooring -#1                 464.00 SF                               2.17            0.00            0.00            201.38   1,208.26
     common - no finish
     261. Remove Vapor barrier - visqueen -       464.00 SF                               0.08            0.00            0.00              7.42      44.54
     6mi1
     262. Tear out subfloor & bag for             464.00 SF                               1.47            0.00            3.17            137.06     822.31
     disposal
        Installation
     263. Apply anti-microbial agent to the       464.00 SF                               0.00            0.22            1.81             20.78     124.67
     floor
     264. Sheathing - spaced 1" x 6"              464.00 SF                               0.00            4.26          134.82            422.28   2,533.74

     265. Vapor barrier - visqueen - 6mi1         464.00 SF                               0.00            0.25            2.71             23.74     142.45

     266. Oak flooring -#1 common - no        464.00 SF                         0.00          12.80        461.45     1,280.14                     7,680.79
     finish
     https://www.flooranddecor.com/engineered-hardwood-wood/lawrence-white-oak-distressed-engineered-hardwood-100708734.htm1
     267. Sand, stain, and frnish wood floor      464.00 SF                               0.00            3.79           46.14            360.94   2,165.64

     268. Content Manipulation charge -              8.00 HR                              0.00           35.23            0.00             56.36     338.20
     per hour
     To reset contents. This line item is specifically for the flooring repair process. Additional contents manipulation may be necessary for other repair
     processes.
     269. Final cleaning - construction -           464.00 SF                               0.00           0.17            0.00          15.78         94.66
     Commercial
     This final clean is for the flooring repair process. Additional final clean line items may be necessary for other repair processes.

     Totals: Hallway                                                                                                  1,098.13        5,635.44     33,812.42

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                          William Griffin, Public Insurance Adjuster
         WIG              128 Poplar Street, Gadsden, TN 38337




                                                Open Room                                                                            Height: 8' 11"

                     HallwWy.   i                           1,241.04 SF Walls                                 976.00 SF Ceiling
                                        '

> ~
           N
           20'       Pen m~n
                                    Q
                                                            2,217.04 SF Walls & Ceiling                       976.00 SF Floor
     ~     N
           N
                            ~               T
                                                              108.44 SY Flooring                              125.08 LF Floor Perimeter
                                                              158.50 LF Ceil. Perimeter


Door                                                              3' X 7'                     Opens into OPEN_ROOM_2
Door                                                              3' X 7'                     Opens into OPEN ROOM 2
Door                                                              3' X 7'                     Opens into OPEN_ROOM 2
Window - Goes to Floor                                            3' 1" X 3'                  Opens into Exterior
Window - Goes to Floor                                            3'1"X3'                     Opens into Exterior
Window - Goes to Floor                                            3' 1" X 3'                  Opens into Exterior
Door                                                              3' X 7'                     Opens into HALLWAY
Door                                                              3' X 7'                     Opens into HALLWAY
Door                                                              3' X 7'                     Opens into HALLWAY
Window - Goes to Floor                                            3' 1" X 3'                  Opens into Exterior
Window - Goes to Floor                                            3'1"X3'                     Opens into Exterior

 DESCRIPTION                                                QTY          RESET   REMOVE      REPLACE             TAX            O&P        TOTAL
 Accessorfes

 270. Fluorescent light fixture - 6' & 8' -            3.00 EA                        0.00       86.41            0.00          51.84        311.07
 Detach & reset
 Begin Plaster Repairs
         Removal
 271. Mask and prep for paint - plastic,             158.50 LF                        0.00         1.35           4.17          43.64        261.79
 paper, tape (per LF)
 272. Content Manipulation charge -                   15.00 HR                        0.00       35.23            0.00         105.70        634.15
 per hour
 To remove contents.
 273. Floor protection - plastic and tape            976.00 SF                        0.00         0.31          11.42          62.80        376.78
 - 10 mil
 274. Remove Acoustic ceiling tile                   315.00 SF                        0.57         0.00           0.00          35.92        215.47

 275. Remove Ceiling - wood - tongue                 976.00 SF                        0.44         0.00           0.00          85.88        515.32
 & groove
         Installatfon
 276. Apply anti-microbial agent to the 2,217.04 SF                                 0.00           0.22           8.65          99.30        595.70
 walls and ceiling
 Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
 277. Ceiling - wood - tongue & groove               976.00 SF                        0.00         7.59         458.67        1,573.30      9,439.81

 278. Acoustic ceiling tile                          315.00 SF                        0.00         3.48          46.99         228.64       1,371.83

 279. Two coat plaster (no lath)                    1,241.04 SF                       0.00         6.01         104.06        1,512.56      9,075.27

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        p         William Griffin, Public Insurance Adjuster
    WIG           128 Poplar Street, Gadsden, TN 38337




                                                          CONTINUED - Open Room

DESCRIPTION                                         QTY         RESET        REMOVE         REPLACE               TAX             O&P      TOTAL

280. Clean the walls                       1,241.04 SF                              0.00           0.31            1.21           77.18      463.11

Ceiling/walls must be cleaned prior to application of paint.
281. Seal the walls w/latex based stain    1,241.04 SF                              0.00           0.60            9.68          150.86      905.16
blocker - one coat
282. Paint the walls - two coats           1,241.04 SF                              0.00           0.93           27.83          236.40    1,418.40

283. Final cleaning - construction -          976.00 SF                                0.00          0.17            0.00          33.18     199.10
Commercial
This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.
   Begin Interfor poor Repairs
   Removal
                                               6.00 EA                              5.85            0.00           0.00            7.02       42.12
284. Remove Door opening (jamb &
casing) - 32"to36"wide - paint grade
   Installation
285. Door opening (jamb & casing) -            6.00 EA                              0.00         161.62           70.40          208.02    1,248.14
32"to36"wide - paint grade
286. Paint door/window trim & jamb -           6.00 EA                              0.00          30.17             2.73          36.74      220.49
2 coats (per side)
287. Final cleaning - construction -         976.00 SF                              0.00            0.17            0.00          33.18      199.10
Commercial
   Begin Wood Flooring Repairs
   Removal
 288. Remove Baseboard - 4 1/4"              125.08 LF                              0.42            0.00            0.00          10.50       63.03

                                             976.00 SF                              2.17            0.00            0.00         423.58    2,541.50
 289. Remove Oak flooring -#1
 common - no finish
                                             976.00 SF                              0.08            0.00            0.00          15.62       93.70
 290. Remove Vapor barrier - visqueen -
 6mi1
 291. Tear out subfloor & bag for            976.00 SF                              1.47            0.00            6.66         288.28    1,729.66
 disposal
   Installation
                                             976.00 SF                              0.00            0.22            3.81          43.70      262.23
 292. Apply anti-microbial agent to the
 floor
                                             976.00 SF                              0.00            4.26         283.58          888.28     5,329.62
 293. Sheathing - spaced 1" x 6"
                                             976.00 SF                               0.00           0.25            5.71          49.94      299.65
 294. Vapor barrier - visqueen - 6mi1
                                          976.00 SF                         0.00           12.80       970.63     2,692.68                 16,156.11
 295. Oak flooring -#1 common - no
 finish
 https://www.flooranddecor.com/engineered-hardwood-wood/lawrence-white-oak-distressed-engineered-hardwood-100708734.htm1
                                          976.00 SF                         0.00            3.79        97.06        759.22                 4,555.32
 296. Sand, stain, and finish wood floor
                                             125.08 LF                               0.00           3.86           26.83          101.92      611.56
 297. Baseboard - 4 1/4"
                                             125.08 LF                               0.00           1.39            1.59           35.10      210.55
 298. Paint baseboard - two coats
                                               15.00 HR                              0.00          35.23            0.00          105.70      634.15
 299. Content Manipulation charge -
 per hour

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                   William Griffin, Public Insurance Adjuster
                    128 Poplar Street, Gadsden, TN 38337




                                                             CONTINUED - Open Room

DESCRIPTION                                          QTY              RESET   REMOVE        REPLACE               TAX             O&P         TOTAL

To reset contents. This line item is specifically for the flooring repair process. Additional contents manipulation may be necessary for other repair
processes.
300. Final cleaning - construction -           976.00 SF                               0.00           0.17            0.00          33.18        199.10
Commercial
This final clean is for the flooring repair process. Additional final clean line items may be necessary for other repair processes.

Totals: Open Room                                                                                              2,141.68       10,029.86      60,178.99




                                      Open Room 2                                                                                      Height: 8' 11"
                ... ..~                                                                                     1,296.00 SF Ceiling
                                                     1,374.71 SF Walls
 _         a~                                        2,670.71 SF Walls & Ceiling                            1,296.00 SF Floor
                 Room 2 _
                                                       144.00 SY Flooring                                     137.92 LF Floor Perimeter
                                                       168.50 LF Ceil. Perimeter


 Window - Goes to Floor                                     3' 1" X 3'                          Opens into Exterior
 Window - Goes to Floor                                     3' 1" X 3'                          Opens into Exterior
 Window - Goes to Floor                                     3' 1" X 3'                          Opens into Exterior
 Window - Goes to Floor                                     3' 1" X 3'                          Opens into Exterior
 Door                                                       3' X 7'                             Opens into OPEN_ROOM
 Door                                                       3' X 7'                             Opens into OPEN_ROOM
 Door                                                       3' X 7'                             Opens into OPEN_ROOM
 Window - Goes to Floor                                     3' 1" X 3'                          Opens into Exterior
 Window - Goes to Floor                                     3' 1" X 3'                          Opens into Exterior
 Window - Goes to Floor                                     3' 1" X 3'                          Opens into Exterior

 DESCRIPTION                                         QTY              RESET   REMOVE        REPLACE                TAX            O&P          TOTAL

 Accessories
 301. Fluorescent light fixture - 6' & 8' -      1.00 EA                            0.00           86.41            0.00          17.28         103.69
 Detach & reset
 Begin Plaster Repairs
     Removal
 302. Mask and prep for paint - plastic,       168.50 LF                             0.00           1.35            4.44          46.38          278.30
 paper, tape (per LF)
 303. Content Manipulation charge -             15.00 HR                             0.00          35.23            0.00         105.70          634.15
 per hour
 To remove contents.
 304. Floor protection - plastic and tape     1,296.00 SF                            0.00           0.31           15.16          83.40          500.32
 - 10 mil
 305. Remove Acoustic ceiling tile             315.00 SF                             0.57           0.00            0.00           35.92         215.47

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                                                          CONTINUED - Open Room 2

DESCRIPTION                                          QTY         RESET        REMOVE         REPLACE               TAX             O&P      TOTAL

306. Remove Ceiling - wood - tongue        1,296.00 SF                               0.44           0.00            0.00          114.04      684.28
& groove
     Installatfon
307. Apply anti-microbial agent to the     2,670.71 SF                               0.00           0.22           10.42          119.60      717.58
walls and ceiling
Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
308. Ceiling - wood - tongue & groove       1,296.00 SF                              0.00           7.59          609.06        2,089.14    12,534.84

309. Acoustic ceiling tile                   315.00 SF                               0.00           3.48           46.99          228.64     1,371.83

 310. Two coat plaster (no lath)           1,374.71 SF                               0.00            6.01         115.27        1,675.46    10,052.74

 311. Clean the walls                       1,374.71 SF                              0.00            0.31           1.34           85.50      513.00

 Ceiling/walls must be cleaned prior to application of paint.
 312. Seal the walls w/latex based stain    1,374.71 SF                              0.00            0.60          10.72          167.10     1,002.65
 blocker - one coat
 313. Paint the walls - two coats           1,374.71 SF                              0.00            0.93          30.83          261.86     1,571.17

 314. Final cleaning - construction -         1,296.00 SF                               0.00          0.17            0.00          44.06     264.38
 Commercial
 This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.
     Begin Interior poor Repairs
     Removal
 315. Remove Door opening (jamb &               6.00 EA                              5.85            0.00           0.00            7.02        42.12
 casing) - 32"to36"wide - paint grade
     Installation
 316. Door opening (jamb & casing) -            6.00 EA                              0.00         161.62           70.40          208.02     1,248.14
 32"to36"wide - paint grade
 317. Paint door/window trim & jamb -           6.00 EA                              0.00           30.17            2.73          36.74       220.49
 2 coats (per side)
 318. Final cleaning - construction -       1,296.00 SF                              0.00            0.17            0.00          44.06       264.38
 Commercial
     Begin Wood Floorfng Repairs
     Removal
 319. Remove Oak flooring -#1               1,296.00 SF                              2.17            0.00            0.00         562.46     3,374.78
 common - no finish
 320. Remove Vapor barrier - visqueen - 1,296.00 SF                                  0.08            0.00            0.00          20.74       124.42
 6mi1
 321. Tear out subfloor & bag for       1,296.00 SF                                  1.47            0.00            8.85         382.80     2,296.77
 disposal
     Installation
 322. Apply anti-microbial agent to the     1,296.00 SF                              0.00            0.22            5.05          58.04       348.21
 floor
 323. Sheathing - spaced 1" x 6"            1,296.00 SF                              0.00            4.26         376.55         1,179.52    7,077.03

                                            1,296.00 SF                              0.00            0.25            7.58           66.32      397.90
 324. Vapor barrier - visqueen - 6mi1


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                r

                               William Griffin, Public Insurance Adjuster
       tll IG                  128 Poplar Street, Gadsden, TN 38337



                                                                          CONTINUED - Open Room 2

 DESCRIPTION                                                        QTY             RESET    REMOVE     REPLACE          TAX            O&P        TOTAL

 325. Oak flooring -#1 common - no      1,296.00 SF                         0.00           12.80      1,288.87    3,575.54                        21,453.21
 finish
 https://www.flooranddecor.com/engineered-hardwood-wood/lawrence-white-oak-distressed-engineered-hardwood-100708734.htm1
  326. Sand, stain, and finish wood floor                   1,296.00 SF                         0.00         3.79      128.89         1,008.14     6,048.87

  327. Content Manipulation charge -              15.00 HR                               0.00         35.23             0.00          105.70       634.15
  per hour
  To reset contents. This line item is specifically for the flooring repair process. Additional contents manipulation may be necessary for other repair
  processes.
  328. Final cleaning - construction -         1,296.00 SF                               0.00           0.17            0.00           44.06       264.38
  Commercial
  This final clean is for the flooring repair process. Additional final clean line items may be necessary for other repair processes.

  Totals: Open Room 2                                                                                                 2,733.15       12,373.24    74,239.25




                                                        Bedroom 1                                                                            Height: 8' 11"

                      32' 3"                   i~                     751.88 SF Walls                                483.75 SF Ceiling
                    Bedroom L
                                               ~
                                               _~Bedl               1,235.63 SF Walls & Ceiling                      483.75 SF Floor
   -     _                                     o                                                                      76.25 LF Floor Perimeter
                                   'is'        -
                                                                       53.75 SY Flooring
                                    15' 5" 1                           94.50 LF Ceil. Perimeter


  Window - Goes to Floor                                                  3' 1" X 3'                      Opens into Exterior
  Window - Goes to Floor                                                  3' 1" X 3'                      Opens into Exterior
  Window - Goes to Floor                                                  3' 1" X 3'                      Opens into Exterior
  Door                                                                    3' X 7'                         Opens into HALLWAY
  Door                                                                    3' X 7'                         Opens into HALLWAY
  Door                                                                    3' X 7'                         Opens into BEDROOM 2

  DESCRIPTION                                                       QTY             RESET    REMOVE     REPLACE          TAX             O&P       TOTAL

  Accessories

  329. Detach & Reset Hanging light                             2.00 EA              44.56      0.00         0.00         0.00           17.82       106.94
  fixture
  Begin Plaster Repairs
       Removal
  330. Mask and prep for paint - plastic,                      94.50 LF                         0.00         1.35         2.49           26.02       156.09
  paper, tape (per LF)
  331. Content Manipulation charge -                           15.00 HR                          0.00       35.23         0.00          105.70       634.15
  per hour
  To remove contents.
 332. Floor protection - plastic and tape                     483.75 SF                          0.00        0.31         5.66           31.14       186.76
 - 10 mil
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                                                            CONTINUED - Bedroom 1

 DESCRIPTION                                         QTY          RESET       REMOVE         REPLACE               TAX             O&P         TOTAL

 333. Wallpaper                              751.88 SF                               0.00           2.41           79.17          378.24       2,269.44

 334. Remove Acoustic ceiling tile           315.00 SF                               0.57            0.00           0.00           35.92        215.47

 335. Remove Ceiling - wood - tongue         483.75 SF                               0.44            0.00           0.00           42.58        255.43
 & groove
    Installation
 336. Apply anti-microbial agent to the 1,235.63 SF                                 0.00           0.22             4.82           55.32        331.98
 walls and ceiling
 Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
 337. Ceiling - wood - tongue & groove       483.75 SF                               0.00            7.59         227.34          779.80       4,678.80

 338. Acoustic ceiling tile                  315.00 SF                               0.00            3.48          46.99          228.64       1,371.83

 339. Two coat plaster (no lath)             751.88 SF                               0.00            6.01          63.05          916.38       5,498.23

 340. Wallpaper                              751.88 SF                               0.00            2.41          79.17          378.24       2,269.44

 341. Clean the walls                        751.88 SF                               0.00            0.31           0.73           46.76        280.57

 Ceiling/walls must be cleaned prior to application of paint.
 342. Seal the walls w/latex based stain     751.88 SF                               0.00            0.60           5.86           91.40        548.39
 blocker - one coat
 343. Paint the walls - two coats            751.88 SF                               0.00            0.93          16.86          143.24        859.35

 344. Final cleaning - construction -          483.75 SF                                0.00          0.17            0.00          16.44         98.68
 Commercial
 This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.
    Begin Interior poor Repairs
    Removal
 345. Remove Door opening (jamb &               3.00 EA                              5.85            0.00           0.00            3.52          21.07
 casing) - 32"to36"wide - paint grade
    Installation
 346. Door opening (jamb & casing) -            3.00 EA                              0.00         161.62           35.20          104.02         624.08
 32"to36"wide - paint grade
 347. Paint door/window trim & jamb -           3.00 EA                              0.00           30.17            1.37           18.38        110.26
 2 coats (per side)
 348. Final cleaning - construction -         483.75 SF                              0.00            0.17            0.00           16.44         98.68
 Commercial
    Begin Wood Flooring Repairs
    Removal
 349. Remove Oak flooring -#1                 483.75 SF                              2.17            0.00            0.00         209.94       1,259.68
 common - no finish
 350. Remove Vapor barrier - visqueen -       483.75 SF                              0.08            0.00            0.00               7.74      46.44
 6mi1
 351. Tear out subfloor & bag for             483.75 SF                              1.47            0.00            3.30          142.88        857.29
 disposal
    Installatlon
 352. Apply anti-microbial agent to the       483.75 SF                              0.00            0.22            1.89           21.66        129.98
 floor
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                                                                  CONTINUED - Bedroom 1

 DESCBIPTION                                               QTY            RESET   REMOVE      REPLACE               TAX             O&P        TOTAL

 353. Sheathing - spaced 1" x 6"                    483.75 SF                         0.00           4.26          140.55         440.28       2,641.61

 354. Vapor barrier - visqueen - 6mi1               483.75 SF                         0.00           0.25            2.83           24.74        148.51
 355. Oak flooring -#1 common - no        483.75 SF                         0.00           12.80       481.09     1,334.62                     8,007.71
 finish
 https://www.flooranddecor.com/engineered-hardwood-wood/lawrence-white-oak-distressed-engineered-hardwood-100708734.html
 356. Sand, stain, and finish wood floor            483.75 SF                         0.00           3.79           48.11         376.30       2,257.82
 357. Content Manipulation charge -             15.00 AR                               0.00          35.23           0.00        105.70           634.15
 per hour
 To reset contents. This line item is specifically for the flooring repair process. Additional contents manipulation may be necessary for other repair
 processes.
 358. Final cleaning - construction -           483.75 SF                               0.00           0.17            0.00          16.44        98.68
 Commercial
 This final clean is for the flooring repair process. Additional final clean line items may be necessary for other repair processes.

 Totals: Bedroom 1                                                                                               1,246.48        6,116.30     36,697.51




                                               Bedroom 2                                                                                Height: 8' 11"
        ~-          15, 9„ ~
         N

         ~                                                  506.38 SF Walls                                     236.25 SF Ceiling
         :n      Bedroom2               ~-B,                742.63 SF Walls & Ceiling                           236.25 SF Floor


        L
        1- 6' 10" ---1
                         }     , „
                         1- 6' 3"'--1
                                                             26.25 SY Flooring
                                                             61.50 LF Ceil. Perimeter
                                                                                                                  55.50 LF Floor Perimeter




 Door                                                           3' X 7'                          Opens into BEDROOM 1
 Door                                                           3' X 7'                          Opens into HALLWAY

 DESCRIPTION                                               QTY            RESET   REMOVE      REPLACE               TAX             O&P        TOTAL

 Accessories
 359. Light fixture - Detach & reset                  1.00 EA                         0.00          44.56            0.00            8.92         53.48

 Begin Plaster Repairs
    Removal
 360. Mask and prep for paint - plastic,             61.50 LF                         0.00            1.35           1.62           16.92        101.57
 paper, tape (per LF)
 361. Content Manipulation charge -                  15.00 HR                         0.00          35.23             0.00         105.70        634.15
 per hour
 To remove contents.
 362. Floor protection - plastic and tape           236.25 SF                         0.00            0.31            2.76          15.20          91.20
 - 10 mil
 363. Remove Acoustic ceiling tile                  315.00 SF                         0.57            0.00            0.00          35.92        215.47


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                                                            CONTINUED - Bedroom 2

 DESCRIPTION                                         QTY          RESET        REMOVE         REPLACE                TAX               O&P     TOTAL

 364. Remove Ceiling - wood - tongue          236.25 SF                               0.44            0.00            0.00            20.80     124.75
 & groove
    Installation
 365. Apply anti-microbial agent to the       742.63 SF                               0.00            0.22            2.90            33.26     199.54
 walls and ceiling
 Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
 366. Ceiling - wood - tongue & groove        236.25 SF                               0.00            7.59         111.03             380.82   2,284.99

 367. Acoustic ceiling tile                   315.00 SF                               0.00            3.48          46.99             228.64   1,371.83

 368. Two coat plaster (no lath)              506.38 SF                               0.00            6.01          42.46             617.16   3,702.96

 369. Clean the walls                         506.38 SF                               0.00            0.31            0.49             31.50    188.97

 Ceiling/walls must be cleaned prior to application of paint.
 370. Seal the walls w/latex based stain      506.38 SF                               0.00            0.60            3.95             61.56    369.34
 blocker - one coat
 371. Paint the walls - two coats             506.38 SF                               0.00            0.93           11.36             96.46    578.75

 372. Final cleaning - construction -          236.25 SF                                0.00          0.17            0.00              8.04     48.20
 Commercial
 This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.
    Begin Interior poor Repairs
    Removal
 373. Remove Door opening (jamb &               3.00 EA                               5.85            0.00            0.00              3.52      21.07
 casing) - 32"to36"wide - paint grade
    Installation
 374. Door opening (jamb & casing) -            3.00 EA                               0.00          161.62           35.20            104.02     624.08
 32"to36"wide - paint grade
 375. Paint door/window trim & jamb -            3.00 EA                              0.00           30.17            1.37             18.38     110.26
 2 coats (per side)
 376. Final cleaning - construction -         236.25 SF                               0.00            0.17            0.00              8.04      48.20
 Conunercial
   Begin Wood Flooring Repairs
    Removal
 377. Remove Oak flooring -#1                 236.25 SF                               2.17            0.00            0.00            102.54     615.20
 common - no finish
 378. Remove Vapor barrier - visqueen -       236.25 SF                               0.08            0.00            0.00              3.78      22.68
 6mi1
 379. Tear out subfloor & bag for             236.25 SF                               1.47            0.00            1.61             69.78     418.68
 disposal
    Installation
 380. Apply anti-microbial agent to the       236.25 SF                               0.00            0.22            0.92             10.58      63.48
 floor
 381. Sheathing - spaced 1" x 6"              236.25 SF                                0.00           4.26           68.64            215.00   1,290.07

 382. Vapor barrier - visqueen - 6mi1         236.25 SF                                0.00           0.25            1.38             12.10      72.54


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                                                             CONTINUED - Bedroom 2

 DESCRIPTION                                          QTY            RESET     REMOVE         REPLACE                TAX                O&P       TOTAL

 383. Oak flooring -#1 common - no            236.25 SF                               0.00           12.80          234.95             651.80     3,910.75
 finish
 https://www.flooranddecor.com/engineered-hardwood-wood/lawrence-white-oak-distressed-engineered-hardwood-100708734.htm1
 384. Sand, stain, and finish wood floor      236.25 SF                               0.00            3.79           23.50             183.78     1,102.67

 385. Content Manipulation charge -             15.00 HR                               0.00          35.23           0.00        105.70           634.15
 per hour
 To reset contents. This line item is specifically for the flooring repair process. Additional contents manipulation may be necessary for other repair
 processes.
 386. Final cleaning - construction -           236.25 SF                               0.00           0.17            0.00              8.04        48.20
 Commercial
 This final clean is for the flooring repair process. Additional final clean line items may be necessary for other repair processes.

 Totals: Bedroom2                                                                                                   591.13         3,157.96      18,947.23




                                       Bedroom 3                                                                                            Height: 8' 11"

                                                        498.94 SF Walls                                          182.83 SF Ceiling
                                                        681.77 SF Walls & Ceiling                                182.83 SF Floor
                                                         20.31 SY Flooring                                        54.67 LF Floor Perimeter
                                                         60.67 LF Ceil. Perimeter
       1 3' T' 1



 Door                                                      3' X 7'                                Opens into Esterior
 Door                                                      3' X 7'                                Opens into HALLWAY

 DESCRIPTION                                          QTY            RESET     REMOVE          REPLACE                TAX               O&P       TOTAL

 Accessories

 387. Light fixture - Detach & reset             1.00 EA                               0.00          44.56             0.00              8.92        53.48

 Begin Plaster Repairs
    Reinoval
 388. Mask and prep for paint - plastic,        60.67 LF                               0.00            1.35            1.60             16.70       100.20
 paper, tape (per LF)
 389. Content Manipulation charge -             15.00 HR                               0.00           35.23            0.00            105.70       634.15
 per hour
 To remove contents.
 390. Floor protection - plastic and tape     182.83 SF                                0.00            0.31            2.14             11.76        70.58
 - 10 mil
 391. Wallpaper                               498.94 SF                                0.00            2.41           52.54            251.00      1,505.99

 392. Remove Acoustic ceiling tile             315.00 SF                               0.57            0.00            0.00             35.92       215.47

 393. Remove Ceiling - wood - tongue           182.83 SF                               0.44            0.00            0.00             16.10        96.55
 & groove

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                                                             CONTINUED - Bedroom 3

 DESCRIPTION                                          QTY          RESET        REMOVE         REPLACE                TAX               O&P      TOTAL

   Installation
 394. Apply anti-microbial agent to the      681.77 SF                              0.00           0.22                2.66             30.54     183.19
 walls and ceiling
 Application of antimicrobial to the water damaged space before installation of new drywall and insulation.
 395. Ceiling - wood - tongue & groove         182.83 SF                               0.00            7.59          85.92             294.72    1,768.32

 396. Acoustic ceiling tile                    315.00 SF                               0.00            3.48          46.99             228.64    1,371.83

 397. Two coat plaster (no lath)               498.94 SF                               0.00            6.01          41.84             608.08    3,648.55

 398. Wallpaper                                498.94 SF                               0.00            2.41          52.54             251.00    1,505.99

 399. Clean the walls                          498.94 SF                               0.00            0.31            0.49             31.04     186.20

 Ceiling/walls must be cleaned prior to application of paint.
 400. Seal the walls w/latex based stain       498.94 SF                               0.00            0.60            3.89             60.66     363.91
 blocker - one coat
 401. Paint the walls - two coats              498:94 SF                               0.00            0.93          11.19              95.04     570.24

 402. Final cleaning - construction -          182.83 SF                               0.00            0.17            0.00              6.22       37.30
 Commercial
  This final clean is for the drywall repair process. Additional final clean line items may be necessary for other repair processes.
     Begin Interior poor Repairs
     Removal
  403. Remove Door opening (jamb &               3.00 EA                               5.85            0.00            0.00              3.52       21.07
  casing) - 32"to36"wide - paint grade
     Installation
  404. Door opening (jamb & casing) -            3.00 EA                               0.00         161.62            35.20            104.02     624.08
  32"to36"wide - paint grade
  405. Paint door/window trim & jamb -           3.00 EA                               0.00           30.17            1.37             18.38     110.26
  2 coats (per side)
  406. Final cleaning - construction -         182.83 SF                               0.00            0.17            0.00              6.22       37.30
  Commercial
     Begin Wood Flooring Repairs
     Removal
  407. Remove Oak flooring -#1                 182.83 SF                               2.17            0.00            0.00             79.34      476.08
  common - no finish
  408. Remove Vapor barrier - visqueen -       182.83 SF                               0.08            0.00            0.00              2.92       17.55
  6mi1
  409. Tear out subfloor & bag for             182.83 SF                               1.47            0.00            1.25             54.02      324.03
  disposal
     Installation
  410. Apply anti-microbial agent to the       182.83 SF                               0.00            0.22            0.71              8.18       49.11
  floor
  411. Sheathing - spaced 1" x 6"              182.83 SF                               0.00            4.26           53.12            166.40      998.38

  412. Vapor barrier - visqueen - 6mi1         182.83 SF                               0.00            0.25            1.07               9.36      56.14

 413. Oak flooring -#1 conunon - no            182.83 SF                                0.00          12.80          181.82            504.40    3,026.44
 finish
DRANDERSON                                                                                                                    3/18/2022            Page: 32
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                     William Griffin, Public Insurance Adjuster
     WIG             128 Poplar Street, Gadsden, TN 38337




                                                             CONTINUED - Bedroom 3

 DESCRIPTION                                           QTY       RESET        REMOVE         REPLACE               TAX             O&P           TOTAL

 https://www.flooranddecor.com/engineered-hardwood-wood/lawrence-white-oak-distressed-engineered-hardwood-100708734.htm1
 414. Sand, stain, and finish wood floor        182.83 SF                            0.00           3.79           18.18         142.22           853.33

 415. Content Manipulation charge -              15.00 HR                            0.00          35.23            0.00         105.70           634.15
 per hour
 To reset contents. This line item is specifically for the flooring repair process. Additional contents manipulation may be necessary for other repair
 processes.
 416. Final cleaning - construction -           182.83 SF                               0.00           0.17            0.00          6.22          37.30
 Commercial
 This final clean is for the flooring repair process. Additional final clean line items may be necessary for other repair processes.

 Totals: Bedroom 3                                                                                               594.52         3,262.94        19,577.17

 Total: Main Level                                                                                              8,405.09       40,575.74    243,452.57

 Total: Under Construction Apartment                                                                            8,405.09       40,575.74    243,452.57




                                       General Conditions

 DESCRIPTION                                           QTY       RESET        REMOVE         REPLACE               TAX             O&P           TOTAL

 417. Commercial Supervision / Project          320.00 HR                            0.00          62.49            0.00        3,999.36        23,996.16
 Management - per hour
 418. Site Safety Supervisor                    320.00 HR                            0.00          62.50            0.00        4,000.00        24,000.00


  OSHA regulation Title 29 CFR §1926.502(h)- Safety Monitoring Systems - www.osha.gov/Publfcatfons/Const Res_Man/1926m_interps.html

  1926.502(h)(1)(i)
     The safety monitor shall be competent to recognize fall hazards;

    1926.502(h) (1) (ii)
     The safety monitor shall warn the employee when it appears that the employee is unaware of a fall hazard or is acting in an unsafe manner;

    1926.502(h)(1)(iii)
     The safety monitor shall be on the same walking/working surface and within visual sighting distance of the employee being monitored,•

    1926 502(h)(1)(iv)
     The safety monitor shall be close enough to communicate orally with the employee; and 1926.502(h)(1)(v) The safety monitor shall not have
 other responsfbilftfes which could take the monitor's attention from the monitorfngfunction.
 419. Boom or spider lift - 30'-45' reach      1.00 MO                               0.00     2,445.00         0.00        489.00         2,934.00
 (per month)
 To lift the pallets of brick up to the scaffolding.
 420. Equipment Operator - per hour             160.00 HR                            0.00          52.61            0.00        1,683.52        10,101.12

 421. Boom or spider lift - 30'-45' reach          1.00 MO                           0.00       2,445.00            0.00          489.00         2,934.00
 (per month)
 For uploading of materials to roof top.


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                   William Griffin, Public Insurance Adjuster
     ► YIG         128 Poplar Street, Gadsden, TN 38337




                                                      CONTINUED - General Conditions

 DESCRIPTION                                        QTY          RESET       REMOVE            REPLACE         TAX            O&P       TOTAL

 422. Equipment Operator - per hour          160.00 HR                              0.00           52.61        0.00        1,683.52   10,101.12

 423. Job-site cargo/storage container -       4.00 MO                              0.00          115.84       45.18         101.72       610.26
 40' long - per month
 For building fumishings
 424. Job-site cargo container - pick          8.00 EA                              0.00           99.40        0.00         159.04       954.24
 up/del. (each way) 16'-40'
 425. Temporary construction office -          2.00 MO                              0.00         279.08         0.00         111.64       669.80
 portable (trailer)
 426. General Laborer - per hour              80.00 HR                              0.00           32.52        0.00         520.32     3,121.92

 Progressive cleaning. 2laborers, 1 hour per day, 5 days a week, for 8 weeks.
 427. Barricade/warning sign/traffic           4.00 EA                              0.00           52.50        0.00          42.00       252.00
 cone - Min. equip. charge
 428. Temporary fencing - 1-4 months         760.00 LF                              0.00            1.55        0.00         235.60      1,413.60
 (per month)
 429. General Demolition - per hour          160.00 HR                             52.70            0.00        0.00        1,686.40   10,118.40

 Additional labor to cart debris to the dumpster area. Calculated at 2 workersfor 2 hours per dayfor 8 weeks
 430. Material Only Sheathing - OSB -         45.25 SF                              0.00            0.87        3.84            8.64       51.85
 1/2"
 Asphalt protection from heavy equipment.
 431. Remove Sheathing - OSB - 1/2"         11,411. SF                              0.64            0.00        0.00        1,460.60     8,763.64
                                                 00
 432. Material Only Sheathing - OSB -        320.00 SF                              0.00            1.00       31.20           70.24      421.44
 1/2"
 Place under the dumpster to protect the asphalt. Dumpsters are 40 feet long by 8 feet wide.
 433. Remove Sheathing - OSB - 1/2"          320.00 SF                              0.64            0.00        0.00           40.96      245.76

 434. Dumpster load - Approx. 40              10.00 EA                            625.00            0.00        0.00        1,250.00     7,500.00
 yards, 7-8 tons of debris

 Totals: General Conditions                                                                                    80.22       18,031.56   108,189.31

 Line Item Totals: DRANDERSON                                                                              19,342.06      101,250.40   607,498.27




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               William Griffin, Public Insurance Adjuster
   WIG         128 Poplar Street, Gadsden, TN 38337




 Grand Total Areas:
   10,486.33 SF Walls                       6,403.33 SF Ceiling              16,889.66 SF Walls and Ceiling
    6,403.33 SF Floor                         711.48 SY Flooring              1,058.41 LF Floor Perimeter
        0.00 SF Long Wall                       0.00 SF Short Wall            1,262.08 LF Ceil. Perimeter

    6,403.33 Floor Area                     6,748.69 Total Area              10,486.33 Interior Wall Area
    7,063.32 Exterior Wall Area               806.83 Exterior Perimeter of
                                                     Walls

         0.00 Surface Area                      0.00 Number of Squares            0.00 Total Perimeter Length
         0.00 Total Ridge Length                0.00 Total Hip Length




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               William Griffin, Public Insurance Adjuster
               128 Poplar Street, Gadsden, TN 38337




                                                      Summary for Dwelling
Line Item Total                                                                          486,905.81
Material Sales Tax                                                                         19,296.88
Storage Rental Tax                                                                             45.18

Subtotal                                                                                  506,247.87
Overhead                                                                                   50,625.20
Profit                                                                                     50,625.20

 Replacement Cost Value                                                                  $607,498.27
 Net Claim                                                                               $607,498.27




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                                                                                 tt                b
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F .                                            ~ tt ~                                        x



XS      T',~TE ,~U'rO
      Insurance Companies
                                                                                                    ~


       July 22, 2022

       Via Electronic Mail (william@griffinlossconsultants.com; gwin.anderson@gmail.com)

       William Griffin
       128 Poplar Street
       Gadsen, TN 38337



       Our Insured:    Dr. Joe Anderson OD and Dr. Gwin Anderson OD
       Policy No:      BOP9592386
       File Number:    PR-0000000-400470
       Loss Date:      12/10/2021
       Location:       119 N Poplar Dresden, TN 38225 and 121-126 N Poplar Street Dresden, TN 38225
       Ins Comp:       State Automobile Mutual Insurance Company
       NAIC No:        25135

                           Appraisal Acknowledgment / Partial Declination of Coverage

       Dear Mr. Griffin:

       State Automobile Mutual Insurance Company ("State Auto") is in receipt of your
       correspondence dated July 19, 2022, wherein a demand for appraisal is made arising out of an
       alleged date of loss of December 10, 2021. While State Auto will proceed in accordance with
       the policy, there are genuine questions of coverage and State Auto reserves all rights under the
       Policy regarding coverage, including the right to maintain its coverage decisions outlined in this
       correspondence to you, the insureds and/or their agents, servants or employees.

       Appointment of Appraiser

       State Auto is aware you have appointed Ben Perry, as the insured's appraiser. State Auto
       hereby appoints Craig Betts as our appraiser. State Auto will ask Mr. Betts to coordinate
       directly with Mr. Perry to discuss and attempt to reach an agreement regarding an umpire as
       well as an agreed appraisal protocol for proceeding with the appraisal. His contact information
       for you to provide your appraiser is:

              Craig Betts
              Phone: 615-809-6591
              Email: 3Betts@Comcast.net

       Mr. Betts is authorized to retain any and all outside consultants he believes can assist in
       determining the amount of loss, and to the extent necessary in determining causation. We
       expect the appraisers to collaborate in good faith and agree to an independent umpire qualified


Corporate Headquarters 516 East Broad Street Columbus, Ohio 43215     614.464.5000     StateAuto.com
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    to assess claims for damage to this property. In the event they need the court's assistance, we
    expect to work with you to l'ointly approach the court to obtain appointment of a qualified and
    independent umpire. To the extent Mr. Betts is unable to obtain cooperation from your
    appraiser in compliance with the Policy conditions, he is further authorized to coordinate
    directly with the umpire to establish an appraisal protocol that sets the scope of the appraisal,
    and to submit his findings to the entire appraisal panel.

    The appraisal panel will need to determine the following:

        •     Replacement Cost Value of damage
        •     Actual Cash Value of damage

    Please refer to the insured's policy, Businessowners Special Property Coverage Form (BP0002
    12/99), which states, in part:

        E. Property Loss Conditions
           2. Appraisal
              If we and you disagree on the amount of loss, either may make written demand for
              an appraisal of the loss. In this event, each party will select a competent and
              impartial appraiser. The tow appraisers will select an umpire. If they cannot agree,
                 either may request that selection be made by a judge of a court having jurisdiction.
                 The appraisers will state separately the amount of loss. If they fail to agree, they will
                 submit their differences to the umpire. A decision agreed to by anytwo will be
                 binding. Each party will:
                 a. Pay its chosen appraiser; and
                 b. Bear the other expenses of the appraisal and umpire equally.
                 If there is.an.appraisal, we will still retain our right to deny the claim.

    ***


    Appraisal Cannot Resolve Coverage Questions

    By complying with the terms of the appraisal clause, State Auto reserves and does not waive
    the right to deny coverage for damage sought or awarded by the appraisal that are not covered
    by the Policy. Indeed, State Auto'has already conducted rts clairn m~estigation and determined..
    that certain
           _       iterns made part of the claim,
                                                -
                                                  includmg:but not__Iirnited.to
                                                                      -         ttie
                                                                                   _ mterior wa:ter;
    damage obseNed to: the cei4ing,"wall finishes and  _ roof framing throughout the second;'level of,
     z: bui:ltling, were not_ daniagedaiy a co~ered cause of loss;that occurred :durmg the..- policy
    the
                                                                  -         -                    --•- -
    period; Rathe~, it was determmea     ,these areas were.;damaged  in a;manner     consistent;with
                                                                                     n                  l'ong=
                               :.
    terrn and reoccurring exposure to water infiltration frorn the roof:°'ft was evident that~a section'
    of the r.00f frammg had been replaced, the roof aboye this area exhibited signs of pondmg
    wa_ter.
                                This is the main problem the tornado caused
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    Coverage is not being afforded for these claimed items that were not found to sustain damage
    from a covered cause of loss. State Auto determined that the cost to repair and/or replace the
    covered damages that occurred on the reported date of loss, amounted to $93,741.36.
    Recoverable depreciation of $18,234.82 has been withheld along with the $1,000 deductible for
    a net actual cash value payment owed of $74,416.54. To date, $33,173.43 has been issued. A
    supplement payment of $41,243.11 will be forthcoming. Please'provide a copy, of your W-9'so
    that a"cFieck can'be. cut:

    Pursuant to the Businessowners Special Property Coverage Form BP0002 (12/99), coverage
    applies when there is direct physical loss to property described in Coverage A unless excluded
    or limited:

       A. Coverage
          We wil'I pay for direct physical loss ofi or damage to Covered Property at the premises
          described in the Declarations caused by or resulting from any Covered Cause of Loss.

           1. Covered Property
              Covered Property, as used in this policy, means the type of property as described in
              this section, A.1., and limited in A.2., Property Not Covered, if a Limit of.lnsurance is
              shown in the Declarations for that type of property.
              a. Buildings.

    ***


           3. Covered Causes Of Loss
              Risks Of Direct Physical Loss unless the loss is:
              a. Excluded in Section B., Exclusions; or
              b. Limited in Paragraph A.4., Limitations; that follow.

    The insuring agreements set forth above indicates that coverage applies to direct physical loss
                                                           . p~ovided;to
                                                . information
    of or damage to Covered Property. Based on'the   _                   State: Auto to date;'it
                                                                      --            --
    is our understanding that you are preseritmg a_;claimfor damages which haye been determmed
    to not be caused by a co"vered cause of loss havmg occurr`ed on the reported date of loss. The
    interior damages were found to be a result of long-term water exposure, wear/tear and
    deterioration of the roof surfacing. Accordingly, the insuring agreements do not appear to be
    satisfied, and State Auto's coverage does not apply to this portion of your claim.

    ***


           Several Exclusions Potentially Bar Coveraee in Whole or In Part for the Claim
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    State Auto directs your attention to the following exclusions which may apply in whole or in
    part, to preclude coverage for a portion of your claim.

       B. Exclusions
          2. We will not pay for loss or damage caused by or resulting from any of the following:
              k. Other Types Of Loss
                 (1) Wear and tear;
                 (2) Rust, corrosion, fungus, decay, deterioration, hidden or latent defect or any
                      quality in property that caused it to damage or destroy itself;
                 (4) Settling, cracking, shrinking or expansion;
              But if an excluded cause of loss that is listed in B.2.k.(1) through B.2.k.(7) results in a
              "specified cause of loss" or building glass breakage, we will pay for the loss or
              damage caused by that "specified cause of loss" or building glass breakage.

    ***


             3. We will not pay for loss or damage caused by or resulting .from any of the following
                B.3.a. through B.3.c. But if an excluded cause of loss that is listed in B.3.a. through
                B.3.c. results in a Covered Cause of Loss, we will pay#or the loss or damage causedr
                by that Covered Cause of Loss.

                c. Negligent Work Faulty, inadequate or defective:
                ***
                (2) Design, specifications, workmanship, repair, construction, renovation,
                   remodeling, grading, compaction;
                ***
                (4) Maintenance;
                   of part or adl of any property on or off
                   the described premises.

    ***


    Now please refer to the Limited Coverage for "Fungi", Wet Rot, Dry Rot and Bacteria
    Endorsement BP217111/02.

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              LIMITED COVERAGE FOR "FUNGI", WET ROT, DRY ROT AND BACTERIA


     This endorsement modifies insurance provided under the following:
     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
             The following provisions apply:
    A. Fungi Or Bacteria Exclusions
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         1.     Paragraph A.5.1.(5) of the Increased Cost of Construction Additional Coverage  is
                 replaced by the following:
         (5)    Under this Additional Coverage, we will not pay for:
         (1)    The enforcement of any ordinance or law which requires demolition, repair,
                replacement, reconstruction, remodeling or remediation of property due to
                contamination by "pollutants" or due to the presence, growth, proliferation, spread or
                any activity of "fungi"'. wet or dry rot or bacteria; or
         (b)    Any costs associated with the enforcement of an ordinance or law which requires any
                insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or
                neutralize, or in any way respond to or assess the effects of "pollutants", "fungi", wet or
                 dry rot or bacteria.
         2. The following exclusion is added to Paragraph B.1.Exclusions:
         h. ""Fungi". Wet Rot, Dry Rot And Bacteria Presence, growth, proliferation, spread or any
            activity of "fungi", wet or dry rot or bacteria,
    But if "fungi", wet or dry rot or bacteria results in a"specified cause of loss", we will pay for the
      loss or damage caused by that "specified cause of loss".
    This exclusion does not apply:
    1) When "fungi", wet or dry rot or bacteria results from fire or lightning; or
    (2) To the extent that coverage is provided in the Additional Coverage - Limited Coverage For
        "Fungi", Wet Or Dry Rot And Bacteria (contained in the Limited Fungi or Bacteria
        Coverage) if any, with respect 10 loss or damage by a cause of loss other than fire or
              lightning.
    3.        Paragraph B.2.k.(2) of the Exclusions is replaced by the following:
    (2)       Rust or other corrosion, decay, deterioration, hidden or latent defect or any quality in
              property that causes it 10 damage or destroy itself;

    B. Limited Fungi Or Bacteria Coverage 1. The following Additional Coverage is added to
    Paragraph A.5. n. Limited Coverage For "Fungi", Wet Rot, Dry Rot And Bacteria

    (1) The coverage described in paragraphs B.1.n.(2) and B.1.n.(6) only applies when the 'fungi"
        wet or dry rot or bacteria a.re the result ofa "specified cause of loss" other than fire or
        lightning, that occurs during the policy period and only if all reasonable means were used
        to save and preserve the property from further damage at the time of and after that
               occurrence.

    (2) We will pay for loss or damage by "fungi", wet or dry rot or bacteria. As used in this
        l.imited Coverage, the fern loss or damage means:

    (a) Direct physical loss or damage to Covered Property caused by "fungi", wet or dry rot or
        bacteria, including the cost of removal of the "fungi', wet or dry rot or bacteria;

    (b) The cost to tear out a.nd replace any part of the building or other property as needed fo
        gain access to the "fungi", wet or dry rot or bacteria; and
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    (c) The cost of testing performed after removal, repair, replacement or restoration of the
    damaged property is completed, provided there is a reason to believe that "fungi", wet or dry
    rot or bacteria are present.

    (3)   The coverage described under this Limited Coverage is limited to $15,000. Regardless of
          the number of claims, this limit is the most we will pay for the total of all loss or damage
          arising out of all occurrences of "specified causes of loss" (other than fire or lightning)
          which take place in a 12-month period (starting with the beginning of the present annual
          policy period). With respect to a particular occurrence of loss which results in *fungi", wet
          or dry rot or bacteria, we will not pay more than the total of $15,000 even if the "fungi",
          wet or dry rot or bacteria continues to be present or active, or recurs, in a later policy
          period,

    (4)   The coverage provided under this Limited Coverage does not increase the applicable Limit
          of insurance on any Covered Property. If a particular occurrence results in joss or damage
          by "fungi', wet or dry rot or bacteria, and other loss or damage, we will not pay more, for
          the total of all loss or damage, than the applicable Limit of insurance on the affected
          Covered Property.

    If there is covered loss or damage 10 Covered Property, not caused by "fungi", wet or dry rot or
    bacteria, loss payment will not be limited by the terms of this Limited Coverage, except to the
    extent that "fungi®, wet or dry rot or bacteria causes an increase in the loss. Any such increase
    in the loss will be subject to the terms of this Limited Coverage.

    (5)   The terms of this Limited Coverage do not increase or reduce the coverage provided under
          A.5.d. Collapse, or A.5.e. Water Damage, Other Liquids, Powder Or Molten Material
          Damage Additional Coverages.

    (6)   The following applies only if Business Income and/or Extra Expense Coverage applies to
          the described premises and only if the suspension of "operations" satisfies all terms and
          conditions of the applicable Business income and/or Extra Expense Additional Coverage.

    (c)   If the loss which resulted in "fungi", wet or dry rot or bacteria does not in itself necessitate
          a suspension of "operations", but such suspension is necessary due of loss or damage to
          property caused by "fungi", wet or dry rot or bacteria, then our payment under the
          Business Income and/or Extra Expense is limited to the amount of loss and/or expense
          sustained in a period of not more than 30 days. The days need not be consecutive.

    (d)   If a covered suspension of "operations' was caused by loss or damage other than "fungi",
          wet or dry rot or bacteria, but remediation of "fungi®, wet or dry rot or bacteria prolongs
          the "period of restoration", we will pay for loss and/or expense sustained during the delay
          (regardless of when such a delay occurs during the "period of restoration"), but such
          coverage is limited to 30 days. The days need not be consecutive.

    C. Fungi Definition 1. The following definition is added 10 Paragraph H. Property Definitions:
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     "Fungi" means any type or form of fungus, including mold or mildew, and any mycotoxins,
     spores, scents or by-products produced or released by fungi.

    ***

    fxclusion B.2. precludes coverage for loss or damage caused by wear/tear, deterioration, et al.
    Accordingly, to the extent that any loss or damage was caused by these events, , State Auto
    reserves its rights with respect to Exclusion B.2.

    Exclusion B.3. precludes coverage for loss or damage caused by maintenance accordingly, to
    the extent that any loss or damage was caused by or results from the failure to act ofany
    person or group of people, State Auto reserves its rights with respect to Exclusion B.2.



    The coverage described in B.1n (2) and B 1.n(6) precludes coverage for loss or damage caused
    by or resulting from fungi, wet or dry rot or bacteria are the result of a"specified cause of loss"
    other than fire or lightning, that occurs during the policy period and only if all reasonable
    means were used to save and preserve the property from further damage at the of and after
    that occurrence. Accordingly, State Auto reserves its rights with respect to coverage B.1n (2)
    and B 1.n (6).

    ***

    Any disagreement on whether the reported weather event made the basis of the Claim caused
    covered damage to the Property cannot be resolved by appraisal. Thus, in accordance with the
    appraisal clause, State_ Auto   retains    .. _ khtto"decline to pay
                                         _.. the-ri                         any appraisal award; or a
    .. _       . __            . ._                                   _--
                                                                       _._
    portion'`#he~eof,
                   __ that  assesses   the  cost °to
                                                 _.  repair.a condition   or. damage that is`not the result.
    of a c'ouered;loss which-                               period:

    Because you have invoked appraisal, be assured it is State Auto's intention to participate in
    good faith and work to resolve as many amounts of loss disagreements as possible. 'Htowever; if'
     - -           _                                             .              .                  ` -
    an- appraisaJ award is (1) made without authority, (2) the result.of fraud, accident, or rnistake,
    or (3)'is not m compiiance`with-the requirernents of the Policy, it is,not valid and can be:'
    overtur
     . :     ned:To tliat
                        _ end,youu
                           _. _ sho_uld_----- .___ _-- that knowirikly
                                          be-aware           _ ..        includina; damai;es
                                                                  _--- -----            _   'in an
    appraisal award that are not covered losses, or appointing an appraiser who is not
    "comnetent and impartial". mav cause anv appraisal or resultine award not to be in
    compliance with the Policv.       They are practicing law without a license
    State Auto reserves all rights under the Policy and at law. We note that the entire Policy is
    incorporated herein by reference. No actions taken byState Auto and/or its authorized agents,
    adjusters or representatives are to be construed as a waiver or estoppel of any rights or
    defenses, nor are any of the Policy's terms, conditions or provisions waived. State Auto
    expressly does not waive its right to deny coverage for any valid reason, and we remind you

                                      They are practicing law without a license
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                                                                                  Dr. Joe Anderson OD
                                                                                             7/22/2022
                                                                                             Page 8 of 8
    that the appraisal process does not excuse your client from complying with all Policy conditions.
    You are further notified that State Auto does not intend to, nor does it, by any of its actions,
    waive, modify or alter any of the terms, provisions, conditions, duties or exclusions contained in
    the policy of insurance.

    Please let me know if you have any questions or concerns.
    Respectfully,




    Jennifer Stivers
    CARE Associate Seni®r
    State Auto Insurance Companies
    Phone: 614.917.5507 1 Email: Jennifer.Stivers@Stateauto.com

    CC:
    Dresden Insurance
    PO BOX 68
    Dresden, TN 38225
    a
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n"A.                      ~       ~
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ril
                                                          REPLY TO PARTIAL DECLINATION OF COVERAGE:

               Via Electronic Mail

           TO: .Iennifer Stivers CARE Associate Senior
               State Auto Insurance Companies
               Phone: 614.917.5507 1 Email: Jenrufer.Stivers@Stateauto.com

               Policy No: BOP9592386
               Claim No: PR-0000000-400470
               Location: 119 -121-126 N Poplar Street Dresden, TN 38225

                                   Aupraisal Acknowledgment / Partial Declination of Coverage

              Dear Ms. Stivers:

              Please see our responses to your letter in bold blue font below:

               State Automobile Mutual Insurance Company ("State Auto") is in receipt of your
               correspondence dated July 19, 2022, wherein a demand for appraisal is made arising out of an
               alleged date of loss of December 10, 2021. While State Auto will proceed in accordance with
               the policy, there are genuine questions of coverage and State Auto reserves all rights under the
               Policy regarding coverage, including the right to maintain its coverage decisions outlined in this
               correspondence to you, the insureds and/or their agents, servants or employees.

              The appraisal demand was made due to the insureds disagreement with your adjuster, and now your
              consultants, incorrect amount of loss calculations. However, there are no genuine questions of
              coverage and there is no legitimate way to maintain such a position in light of the fact that the costs
              listed in our estimate are applicable solely to the ongoing mitigation efforts and proper restoration
              methods of the roof, exterior brick, ezterior siding, and 'nnterior water damages caused by the tornado.
              Respectfully, wear and tear is an ezclusion only as a cause of loss, but not as a condition of damaged
              property. If wind damage is present, then wear and tear has no bearing on this claim ezcept as an
              existing condition that should simply be depreciated.

                                                      Appointment of Appraiser


               State Auto is aware you have appointed Ben Perry, as the insured's appraiser. State Auto
               hereby appoints Craig Betts as our appraiser. State Auto will ask Mr. Betts to coordinate ,
               directly with Mr. Perry to discuss and attempt to reach an agreement regarding an umpire as
               well as an agreed appraisal protocol for proceeding with the appraisal. His contact information
               for you to provide your appraiser is:


               Nowhere in the policy could we locate a term that allows either party to "ask" the appraisers to do
               anything, including the creation of a protocol, as the provision itself governs. It ezplacitly tells them
               what to do and when to do it.
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            Craig Betts
            Phone:615-809-6591
            EmaiP: 3Betts@Comcast.net

   Mr. Betts is authorized to retain any and all outside consultants he believes can assist in
   determining the amount of loss, and to'the extent necessary in determining causation. We
   expect the appraisers to collaborate in good faith and agree to an independent umpire qualified
   to assess claims for damage to this property.


   I'ou do not have the authority to authorize 1VIr. Betts to retain outside parties to participate in the
   appraisal process because the panel's authority is limited to what is granted in the insurance policy
   or granted by some other egpress agreement of the parties. In this instance, there are no agreements
   outside of the provision. Xour arsthorization to direct this' appraisal, order your appraiser to act, or
   any acts - other than you naming a competent and impartial appraiser, will be rejected. 'I'he provision
   clearly states that you pay your appraiser and bear the expense of the umpire equal➢y, which is the
   eztent of either party's involvement. ®nly the panel can agree to bring in outside eaperts.

   In the event they need the court's assistance, we expect to work with you to ~'ointly approach the
   court to obtain appointment of a qualified and independent umpire. To the extent Mr. Betts is
   unable to obtain cooperation from your appraiser in compliance with the Policy conditions, he is
   further authorized to coordinate directly with the umpire to establish an appraisal protocol that
   sets the scope of the appraisal, and to submit his findings to the entire appraisal panel.

   "3'he two annraisers wifll select an umnire. If they cannot aeree, either may reguest that selection be
   made by a iudee of a court having iurisdiction". Again, nothing you have stated 'as found in the
   provision, but I am sure the appraisers will cooperate with each other to complete the appraisal
   accordingly.

   The appraisal panel will need to determine the following:-

            Replacernent Cost Value of damage
            Actual Cash Value of damage

   Again, you are mistaken, as this provision only requires the appraisers to "state seoarately the
   amount of the loss", and I was unable to find any policy condition that would give your appraiser any
   additional powers or authority to set the amount of loss — as shown in the provision below.

    Please refer to the insured's policy, Businessowners Special Property Coverage Form (BP0002
    12/99), which states, in part:

        E. Property Loss Conditions
           2. Appraisal
              If we and you disagree on the amount of loss, either may make written demand for
              an appraisal of the loss. In this event, each party will select a competent and
              impartial appraiser. The tow appraisers will select an umpire. If they cannot agree,
                  either may request that selection be made by a judge of a court having jurisdiction.
                  The appraisers will state separately the amount of loss. If they fail to agree, they will
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               submit their differences to the umpire. A decision agreed to by any two will be
               binding. Each party wilf:
                a. Pay its chosen appraiser; and
                b. Bear the other expenses of the appraisal and umpire equally.
               If there is an appraisal, we will still retain our right to deny the claim.

                               Appraisal Cannot Resolve Coveraee Questions

   By complying with the terms of the appraisal clause, State Auto reserves and does not waive the.
   right to deny coverage for damage sought or awarded by the appraisal that are not covered by
   the Policy. Indeed, State Auto has already conducted its claim investigation and determined that
   certain items made part of the claim, including but not limited to the interior water damage
   observed to the ceiling, wall finishes and roof framing throughout the second level of the
   building, were not damaged by a covered cause of loss that occurred during the policy period.
   Rather, it was determined these areas were damaged in a manner consistent with long.term and
   reoccurring exposure to water infiltration from the roof. It was evident that a section of the roof
   framing had been replaced, the roof above this area exhibited signs of ponding water.


   g totally agree that appraisal cannot determine coverage issues, but coverage has already been
   extended and partial payment made for the tornado; however, you are intentionally using conditions
   that you are well aware existed prior to the loss to conflate them as being an excluded "cause of the
   loss". This theory is impossible when compared to the known facts and sworn affidavit of the most
   qualified subject matter expert for this property. (see insureds affidavit) The signs of staining and the
   wear and tear from age were present before, and at the policy inception date. The cond'ations of the
   upper floor and would certainly be excluded if they were the actual "causes" of this loss and there was
   no new water intrusion from the tornado damaged roof. However, that is not the case, and none of the
   exclusions you have listed could have possibly caused the roof, gutter, and brick damage that resulted
   in the water ponding and intrusion into the second and first floors. (see rebuttal and afFidavit)

            Several Exclusions Potentially Bar Coveraee in Whole or In Part for the Claim

   Clearly, there are several coverages listed here that are not being applied through misinterpretation
   and confusing the definition of the policy terms, and carefully placed with a contemplated exclusion
   section that conveniently omits anything about available coverage or endorsements that are available
   to the insured.

    State Auto directs your attention to the following exclusions which may apply in whole or in
    part, to preclude coverage for a portion of your claim.

        A. Exclusions
           2. We will not pay for loss or damage caused by or resulting.from any of the following:
               k. Other Types Of Loss
                  (1) Wear and tear;
                  (2) Rust, corrosion, fungus, decay,'deterioration, hidden or latent defect or any
                       quality in property that caused it to damage or destroy itself;
                   (4) Settling, cracking, shrinking or expansion;
                But if an excluded cause of loss that is listed in 6.2.k.(1) through B.2.k.(7) results in a
                "specified cause of loss" or building glass breakage, we will pay for the loss or
                damage caused by that "specified cause of loss" or building glass breakage.
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     No damages that were not caused by the tornado have been presented to you and nothing you
     have averred to as being caused by or resulting from any exclusion has been — or will be — claimed
     by the insured. You are merely conflating conditions with causes of Boss.

               3. We will not pay for loss or damage caused by or resulting from any of the following
                  B.3.a. through B.3.c. But if an excluded cause of loss that is listed in B.3.a. through
                  B.3.c. results in a Covered Cause of Loss, we will pay for the loss or damage caused
                  by that Covered Cause of Loss.

                  c. Negligent Work Faulty, inadequate or defective:
                  ***
                  (2) Design, specifications, workmanship, repair, construction, renovation,
                     remodeling, grading, compaction;
                  ***
                  (4) Maintenance;
                     of part or all of any property on or off
                     the described premises.
     ***
     Now please refer to the Limited Coverage for "Fungi", Wet Rot, Dry Rot and Bacteria
     Endorsement BP217111/02

      This is not applicable to the items you are contesting.

i     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY. LIMITED COVERAGE
i                      FOR "FUNGI", WET ROT, DRY ROT AND BACTERIA

      This endorsement modifies insurance provided under the following:
i     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
I
I   The following provisions apply:

    Sut only "ip' they are apAlicable — but they are not. Your experts have not provided any supporting
    evidence in their conflicted and inaccurate report and estimates, all of which are refuted by the attached
    affdavit and rebuttal.

     A. Fungi Or Bacteria Exclusions

        1.    Paragraph A.5.1.(5) of the Increased Cost of Construction Additional Coverage is
              replaced by the following:
        (5)   Under this Additional Coverage, we will not pay for:
        (1) The enforcement of any ordinance or law which requires demolition, repair,
            replacement, reconstruction, remodeling or remediation of property due to.
            contamination by "pollu,tants" or due to the presence, growth, proliferation, spread or
            any activity of "fungi"'. wet or,dry rot or bacteria; or
        (b) Any costs associated with the enforcement of.an ordinance or law which requires any
            insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or
            neutralize, or in any way respond to or assess the effects of "~pollutants", "fungi", wet or
              dry rot or bacteria.
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             None of the above ha.ve been clairned or submitted in this claim to date nor do any of
             them apply to our estirnates. See affidavit and supporting docurnentation.

              2. The fol'lowing exclusion is added to Paragr,aph B.1.Exclusions:
              h. ""Fungi". Wet Rot, Dry Rot And Bacteria Presence, growth, proliferation, spread or any
                 activity of "fungi", wet or dry rot or bacteria,
        But if "fungi", wet or dry rot or bacteria results in a"specified cause of Ioss", we will pay for the
          loss or damage caused by that "specified cause of loss".
        This exclusion does not apply:
        1) When "fungi", wet or dry rot or bacteria resu'Its from fire or lightning; or
        (2) To the extent that coverage is provided in the Additional Coverage - Limited Coverage For
            "Fungi", Wet Or Dry Rot And Bacteria (contained in the Limited Fungi or Bacteria
            Coverage) if, any, with respect to loss or damage by a cause of loss other than fire or
                lightning.
        3.      Paragraph B.2.k.(2) of the Exclusions is replaced by the following:
        (2)     Rust or other corrosion, decay, deterioration, hidden or latent defect or any quality in
                property that causes it to damage or destroy itself;

        B. Limited Fungi Or Bacteria Coverage 1. The following Additional Coverage is added to
        Paragraph A.5. n. Limited Coverage For "Fungi", Wet Rot, Dry Rot And Bacteria

        (1) The coverage descri'bed in pa'ragraphs B:T.n:(2) and B.1.n.(6) only applies:whenthe
            'fungi",. wet or dry_rot or bacteria,are the result of a. f'specified cause of loss" other than
            fire or lightning, that occurs during the policy period and only if all reasonable means were
            used to save and preserve the property from further damage at the time of and after that
            occurrence.

        I agree, and therefore this entire section does not even apply to the insureds claina and is not
        applicable to the causation of this rioss in any way.
        We will pay for loss or damage by "fiungi", wet or dry rot or bacteria. As used in this Limited
        Coverage, the term loss or damage means;

        (a) Direct physical loss or.damage to Covered Property caused by' "fungi", wet or dry rot or
            ba.cteria, including the cost, of removal o:f the "fungi', wet or dry rot or bacteria;
        (b) The cost to tear out and replace any part of the building or other property as needed to_
            gain access to the "fungi"; wet or dry rotor bacteria; and

                There is no contemplation of needing to access fungi or bacteria by us,

         (c)The cost of testing performed after removal, repair, replacement or restoration of the
        damaged property is completed, provided there is a reason to believe that "fungi", wet or dry
        rot or bacteria are present.

        (2)     The coverage described' under this Limited Coverage is limited to $15,000. Regardless of
                the number of claims, this limit is the most we will pay for the total of all loss or damage
                arising out of all occurrences of "specified causes of loss" (other than fire or Iightning)
                which take place in a 12-month period (starting with the beginning of the present annual
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          policy period). With respect to a particularoccurrence of loss which results in *fungi", wet
          or dry rot or bacteria, we will not pay more than the total of $15,000 even if the "fungi",
          wet or dry rot or bacteria continues to be present or active, or recurs, in a later policy
          period,.

    (3) The coverage provided underthis Limited Coverage does not increase the applicable Limit
        of insurance on any Covered Property. If a particular occurrence results in loss or dama>;e
        by "fungi`, wet or dry:rotor bacteria, and other loss or damage, we will not pay more, for
        the total of all loss or damage, than the a pp licable
                                                        '      Limit of insurance on the affected
          Covered Property.

          There is no loss or damage by fungi or dry rot or wet rot being claimed in our estimate..

    If there is covered loss or damage to Covered Property, not caused by "fungi", wet or dry rot or
    bacteria, 1EMy,me t           o be i i eWihe e s t t i i d ove                     except to the
    extent that "fungi®, wet or dry rot or bacteria causes:an increase in the loss. Any such increase
    in the loss will be subject to the terms of this Limited Coverage.

    We agree that the cause of loss and damage that is being claimed was not caused by any
    exclusion you have listed and no "limited coverages" listed in the policy shall appiy.
    (4) The terms of this Limited Coverage do not increase or reduce the_coverage provided under
          A.5.d. Collapse, or A.5.e. Water Damage, Other Liquids, Powder Or Molten Material
          Damage Additional Coverages.

    (5) The following applies only ;if Business Income and/or Extra Expense Coverage applies to
        the described premises and only if the suspension of "operations" satisfies all terms and
        conditions of the applicable Business income and/or Extra Expense Additional Coverage.

    (c) If the loss which resulted in "fungi", wet or dry rot or bacteria does not in itself necessitate
        a suspension of "operations", but such suspension is necessary due of loss or damage to
        property caused by'.'fu4", wet or dry rot or bacteria, then our payment under the
        Business Income and/or Extra Expense is limited to the amount of loss and/or expense
        sustained in a period of not more than 30 days. The days need not be consecutive.

    (d) lf:a covered suspension of "operations" was caused by loss or,damage other tha'n "fungi".,
        we~t or dry rot o'r bacteria, 'but rernediation of "fungi®,
                                                            . _.    wet or dry
                                                                           _   rot or bacteria prolongs
        the "period of restoration", we will pay for loss and/or expense sustained during the delay
        (regardless of when such a delay occurs during the "period of restoration"), but such
        coverage is limited to 30 days. The days need not be consecutive.

    No remediation of fungi or bacteria is contemplated or charged in our estimate, nor was it
    needed at the time of our submissions. If it is needed, your delays would be the cause of
    that loss.

    C. Fungi Definition 1. The following definition is added 10 Paragraph H. Property Definitions:
     "Fungi" means any type or form of fungus, including mold or mildew, and any mycotoxins,
     spores, scents or by-products produced or released by fungi.
    ***
    fxclusion B.2. precludes coverage for loss or darnage caused by wear/tear, deterioration, et:al.
    Accordingly, to the extent that any loss or damage was caused by these events, , State Auto
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    reserves its rights with respect to Exclusion B.2.

    Exclusion B.3. precludes coverage for loss or damage caused by maintenance accordingly, to
    the extent that any loss or damage was caused by or results frorn the failure to act of any
    person or group of people, State Auto reserves its rights with respect to Exclusion B.2.

    Again, none of these conditions apply to our estimate or the claim for damages.

    The coverage described in B.1n (2) and B 1.n(6) precludes coverage for loss or damage caused
    by or resulting from fungi, wet or dry rot or bacteria are the resu'It of a"specified cause of loss"
    other than fire or lightning, that occurs during the policy period and only if all reasonable
    means were used to save and preserve the property from further damage at the of and after
    that occurrence. Accordingly, State Auto reserves its rights with respect to coverage B.1n (2)
    and B 1.n (6).

   The insured is not claiming any of these exclusions that you are attempting to apply.
    ***
    Any disagreement on whether the reported weather event made the basis of the Claim caused
    covered damageeto the Property cannot be resolved by appraisal. Thus, in accordance with the
    appraisal clause, State Auto retains the right to decline to pay any appraisal award, or a
    portion thereof, that assesses the cost to repair a condition or damaee that is not the result
    of a covered loss which occurred during the policy period.

   There is no disagreement that the tornado is the cause of the loss and the damages claimed by the
   insured. The roof, rear gutters, and the brick sustained severe wind damage that allowed the water
   intrusion into the structure, ceilings, and walls - and the insured has taken all steps required to
   mitigate these issues. (See affidavit).

   Because you have invoked appraisal, be assured it is State Auto's intention to participate in good
   faith and work to resolve as many amounts of loss disagreements as possible. However, if
    an appraisal award is (1) made without authority; (2) the result of fraud, accident, or mistake,
   or (3) is not in compliance with the requirements of the Policy, it is not valid and can be
   overturned. To that end, you should be aware that knowingly including damages in an appraisal
   award that are not covered losses, or appointing an appraiser who is not "competent and
   impartial", may cause any appraisal or resulting award not to be in compliance with the Policy.

   I could not have said that better myself. Rest assured the damages we have presented were a result of
   the tornado and all statements are based upon supporting facts and sworn testimony from the subject
   matter expert of those buildings — the insured. Quite frankly, you are the only one who has not been in
   compliance with the policy to this point, and your representatfves still have not presented one iota of
   evidence of the insured failing to do so..

   State Auto reserves all rights under the Policy and at law. We note that the entire Policy is
   incorporated herein by reference. No actions taken by State Auto and/or its authorized agents,
   adjusters or representatives are to be construed as a waiver or estoppel of any rights or
   defenses, nor are any of the Policy's terms, conditions or provisions waived. State Auto expressly
   does not waive its right to deny coverage for any valid reason, and we remind you
   that the appraisal process does not excuse your client from complying with all Policy conditions.
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   You are further notified that State Auto does not intend to, nor does it, by any of its actions,
   waive, modify or alter any of the terms, provisions, conditions, duties or exclusions contained in
   the policy of insurance.

  Subsequently, not one of these exclusions has been claimed as being the cause of the loss. Nevertheless,
  these conditions must still be abated to accomplish the proper repair of the roof, structural brick, etc.
  Even the IBEC states that the replacement of non-damaged components is routinely necessary for the
  required repair and/or replacement of storm damaged components. Intentionally conflating these
  66conditions" as a cause of loss that you know is not applicable in order to deny coverage and
  circumvent the intent of this appraisafl process is not appropriate or ethical by any standard.

  After your review of the insureds rebuttal of your ezperts report, I trust that you will promptly rescind
  the partial declination of coverage and allow the appraisal process to proceed to its proper conclusion
  and a correct amount of loss. In any case, we have clearly shown there are no legitimate coverage
  disputes and if any arise, the provision still allows you to retain the right to deny the claim.

  If you have any further questions or concerns, do not hesfltate to contact me.
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     i
 I~9'~ ____}
         ~""
                          GENERAL AFFIDAVIT OF FACTS
       Affiant Claiim Number: PR-400470

       I, the undersigned, do hereby affirm and attest that the following statements pertaining to
       my claim are: true and correct to the best of my knowledge and belief:

       I applied to State Auto Insurance for coverage, they inspected the properry, and accepted
       my premium for the risk with a replacement cost insura.nce policy. There was no damage
       to roof, framing, or brick noted by State Auto at any time then, or thereafter, and the roof
       and upper floor areas were never excluded from coverage.

       I have faiMally paid my premiums since that time and State Auto has accepted my risk
       every year upon its renewal since the inception date.

       The existing roof was installed several years ago and has had one minor leak reported since
       that time. Tlie leak was repaired, and the roof has been properly maintained since its
       installation.

       This area referred to as "recent framing" in report was replaced for extra support shortly
       after purchase and was not the result of a darnage event to the structure. The debris
       undenneath that area was there before the work was performed. The "ponding water"
       observed on the roof above: this area was caused by the tomado when it lifted the rear
       elevation gutter and roof area allowing water to pour in. Some plaster damage was pre-
       existing and some of it happened during the tornado event.

      There has not been long term or reoccurring water infiltration from the roof into the
      building as staining and wear and tear were present at purchase and have remained
      unchanged until the tornado on the date of loss.

      The tornadic winds blew shards of dimensional lumber debris that embedded into many
      random areas across all three roof systems which caused considerable water intrusion into
      the rear uppei- floor. We removed the projectiles from the roof and repaired upon discovery.

      The tornadic winds have warped the right elevation wall causing exterior and interior
      damages to the brick and immediate water intrusion in many areas.

      The Indepenclent agent's staff can, and did, affirm that there has only been one leak in the
      building in many years prior to installation of roof. At the time of the tornado, both tenants
      had recently c:ompletely remodeled their spaces, further proving there were rio pre-existing
      leaks.
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    January 12, 2022
    Mr McFadden,

    My sister Gena Stalling forwarded the email addressed to my father Joe Anderson sent to her
    on your behalf by Tammy Ducote of Engle Martin and Associates. My sister is not the policy
    holder of the insurance covering my damaged buildings nor does she have any ownership in
    the the buildings. Secondly my father who was once an ownership partner in these buildings is
    deceased, he passed March 1, 2020. Going forward I request all communications to be
    addressed to me personally.

    I spoke with you via phone for 11 minutes, 10:13 AM March 11, 2020. Reviewing my notes
    from this conversation you indicated your report had been filed with State Auto Insurance and I
    would soon be receiving an initial payment from State Auto. You communicated should I have
    any further expenses in repairing my buildings this would be addressed in future additional
    payments. I understood that this claim would be reviewed every 30 days or sooner until a final
    resolution is made. I made it clear in the aftermath of the tornado which hit Dresden there is a
    delay in getting contractors in to make the repairs needed and we are at presently trying to
    stabilize the buildings to prevent any further damage. If you have a different understanding of
    our conversation please let me know.
    In your letter dated January 11, 2022 which was sent as an attachment on an email you
    indicated you are waiting for me to submit invoices for mitigation expenses and an estimate for
    repair from my contractor(s) before this claim will proceed. This is the first I have heard you
    were waiting on any documentation to be provided by me before you proceed. As I indicated
    in our phone conversation because of the widespread damage to Dresden getting estimates is
    not a simple task. Also your letter only mentions the roofs on 121 and 123 N. Poplar. I want to
    be clear the damage to the building for the roof leaks is in the buildings 119, 121 and 123 N
    Poplar.
    In our phone conversation I understood I would be getting an initial payment from State Auto
    and then in your letter you are telling me you are waiting on me to provide invoices and and
    estimates before you file your report. Which is it?

    Please let me know at your earliest opportunity what if anything I need to do to move this claim
    forward. I would also request you provide me a copy of any reports you submitted to State
    Auto regarding this claim.

    Respectfully,

    Gwin Anderson
    227 E. Locust Street
    Dresden, TN 38225
    Email: gwin.anderson@gmail.com
    731 571-1654
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Case 1:23-cv-01047-JDB-jay Document 1-1 Filed 03/27/23 Page 127 of 140                        PageID 136




    I-~TDEI_,BERG &. MU=NS9 INC
    IIVSURANCE CLAIMs CONSUL'TIlJG. APMATCAT. gUhUM SERVICES
    William Scott Heidelberg, President




    Background

    Mr, Heidelberg has a long history in residential and commercial general construction. He has
    lengthy experience in construction techniques and materials, having been self-employed in the
    industry since 1991. Mr. Heidelberg started in the construction industry as a framing employee
    for a residential development company in 1989 and continued form his own construction
    company in 1991, in which he performed as a sub-contractor and general contractor for twenty
    years.
    Mr. Heidelberg has been a licensed independent insurance adjuster since 2005 and has adjusted
    thousands of claims that range from simple residential to extremely complex commercial and
    industrial claims. He has been an advocate for both the insurer as an IA and an advocate for the
    insured as a restoration contractor.
    Mr. Heidelberg has been trained in applied electricity, heating, ventilating and air conditioning,
    as well as plumbing by a major mechanical contractor and held a related position for more than
    five years. He is knowledgeable in codes for building and mechanical trades.

   Mr. Heidelberg currently performing inspections, documentation, and analysis of peril related
   damage, maintenance related damage, building envelope related failures and damage including
   roofs, cladding, windows, doors and water proofing systems. He is currently accepting
   assignments as appraiser for insurers and insureds in simple and complex disputes. He is
   currently accepting appointments as umpire in simple and complex appraisals. He is experienced
   in premises liability evaluation and surveys perta.ining to insurance underwriting. These
   inspections encompass residential, commercial, industrial, civic, religious, hospitality, and multi-
   family residential building types.


    Professional Construction Ezperience

    Mid-South Services. Inc, Jackson, Tennessee 2007-2010
       •   Operating Partner
       •   Specializing in renovations of residential dwelling and insurance restoration construction.
       •   Wind,'Water and Fire Mitigation and Restoration.
       •   Exterior and Interior.
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              •    Sales

    Jackson Construction, Jackson, Tennessee 1994-2007
              •   General construction duties including framing and finishing carpentry, tile installation,
                  plumbing, HVAC and electrical.
           •      New Luxury Dwelling Construction Project Management
           •      Cantilever Construction on Steep Grades
          •       Multi-Family Dwelling Construction
          •       Planning and Design of Developments
          •       Large-Scale and Small-Scale Commercial Restaurant and Bar Renovation
          •       Restaurant and Bar Design and Layout
          •       Commercial Restroom Construction
          •       Commercial Assembly Place Building Codes Specialist

    Restoration Specialists, Inc, Jackson, Tennessee 1998 — 2004
          •       Owner/operator.
          •       Specializing in renovations of residential dwelling and insurance restoration construction.
          •       Wind, Water and Fire Mitigation and Restoration

    1VIcIntosh Development 1989 —1991
          •       General construction duties including framing and finishing carpentry

    S.M. Lawrence Company, Inc Mechanical Contractors 1986-1991
      •           Residential HVAC, electrical, and plumbing. Installation of residential HVAC systems.
      •           Commercial HVAC, electrical and plumbing, including zone systems
      •           Commercial design and installation of HVAC systems
      •           Industrial design, installation and maintenance of HVAC systems and controls systems,
                  including heavy load industrial chiller systems, variable air volume systems and
                  pneumatic control systems.
      •           Troubleshooting, electrical and HVAC systems and diagnostics of performance.
      •           Residential, Commercial and Industrial Air Balancing
      •           Troubleshooting, electrical and HVAC systems and diagnostics of performance.
      •           Residential, Commercial and Industrial Air Balancing
      •           Certified by American Standard, Trane and Carrier as an instalier and technician.
      •           Memphis State University in Co-op program with SML Inc. (Mechanical Engineering)



   Professional Insurance Claims Ezperience

   Licensed Independent Insurance Adjuster 2005 — Present
      •           Kentucky, Indiana, Arkansas, Oklahoma, Texas, Louisiana, Mississippi, Alabama,
                  Florida, Georgia, South Carolina, North Carolina, and Connecticut.
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 ~




           •   Eligible in any state.
           •   Thousands of successfully closed claims including residential property, commercial
               property, industrial, liability, retail liability, marine, total loss fire and water related, total
               loss commercial losses, bio-hazard losses.
           •   Hundreds of successfully closed large loss residential and commercial' claims including
               shopping centers, churches and industrial/warehousing buildings. Several claims in
               excess of $2,000,000.00 loss.
        •      Participation as an independent insurance adjuster in every major tropical event since
               2005 in the US, as well as most wind and hail events during this time. Participation in
               wildfire catastrophe as well.
        •      Trainer


     Professional Alternative Dispute Resolution Ezperience

        •      Appraiser, Carrier and insured' appointed, 2012 — 2021
        •      500+ appointments by insurers, 100+ appointments by insureds.
        •      Umpire, 2015 — 2021
        •      Years of experience successfully settling claims in litigation for insurers.
        •      Years of experience in working on behalf of insurance carriers, with attorneys, public
               adjusters, and forensic engineers to fnd fair and honest settlements for my clients.
       •       Years of ADR carrier training
       •       Fair, ethical, and honest professional practices
       •       Policy knowledge
       •       Estimating soflware expertise.
       •       Trainer



     Education and Certifications

       •       State Farm Certified
       •       NFIP
       •       USAA Certified
       •       TWIA Certified
       •       IICRC — FSRT, WRT
       •       Licensed General Contractor (retired)
       •       Memphis State University, Non-traditional student. Mechanical Engineering
       •       HVAC Trade School
       •       Jackson State Community College, General Education.
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                                                       Andrew J. Fraraccio
                                          570 New Waverly Place, Suite 220, Cary, NC 27518
                                Tel: 919.345.0548 / Fax: 866.369.1755 / email: andvfQintrustclaims.com


                    Property Loss Consulting / Appraiser / Umpire / Loss of Business Income
 Profile:                 Mr. Fraraccio carries 28 years of experience as independent insurance appraiser, umpire,
                                                                                                                        adjuster, and
                          property loss/business inten uption consultant. Mr. Fraraccio also provides a diverse range
                                                                                                                         of construction-
                          related services with experlise in restoration and reconstruction of existing custom-buil
                                                                                                                    t real properly, and
                          personal property. Mr. Fraraccio has served as an expert appraiser and umpire in hundreds
                                                                                                                           of loss
                          disputes nationally on behalf of individuals, insurers, and business-owners. He is responsible
                                                                                                                             for
                          Calculating Loss of Business Income, Project Management, Cost-Estimating, Scope Developmen
                                                                                                                                 t,
                          Damage Evaluations, Building Code-Compliance, Apprraisal Umpire Appointment, and Litigation
                          Expertise. Among numerous selected achievements, Mr. Fraraccio served as umpire and appraiser
                                                                                                                                    for
                          hundreds of large losses nationally, for commercial and residential structures, and contents. In
                                                                                                                               addition,
                          he settled several thousand business interruption losses and disputes throughout the United States,
                          spanning 3 decades.

                                                      Additional Selected Achievements
                          Mr. Fraraccio developed and presented lectures and educational seminars to insurance carriers,
                                                                                                                           law firms,
                          and associations regarding property loss dispute resolution, appraisal, and arbitration. These educational
                          seminars involve extensive research'including state statutes and case laws, nationally. He is a nationally-
                          recognized expert in litigated insurance claim disputes. He was also retained as an expert to settle scores
                          of flood litigation claims for the NFIP and Write-Your-Own (WYO) insurance carriers.

                         Mr. Fraraccio has set industry standards in estimating soflware through research and Development of
                         Digital Documentation Systems; also known as MS/B estimating system. He also set industry standards in
                         the formatting and language used in captioned reports throughout the industry. He founded and principally
                         operates Intrust Claim Servicing, Inc., a nationally-recognized dispute resolution and loss consulting firm.

Education:               Electronics Technology Degree: (3.84/4.0 G.P.A.): United Electronics Institute, Tampa, FL (1986)
                         University of South Florida: Business Management Courses (1986-1990)
                         St. Petersburg Jr. College: Business Management Courses (1991-1992)
                         Manatee Jr. College: Business Management Courses, Technical-Writing, Physics 1-3, CAD and
                         other engineering-related courses (1982-1983, 1988-1990)
                         Mr: Fraraccio's education and career experience also include Insurance Law, Electronic
                         Engineering, and Research and Development.
Licenses/Certitications: Umpire Certification — FL WIND Network
                         Appraiser Certification — FL WIND Network
                         Independent Adjuster License, State ofNorth Carolina (License #NPN 1290237)
                         Independent Adjuster License, State of Florida
                         Independent Adjuster License; State of Texas
                         Independent Adjuster License, State of Alabama
                         Independent Adjuster License, State of Georgia
                         Independent Adjuster License, State of Louisana
                         Independent Adjuster License, State of Mississippi
                         IICRC WRT Certification / IICRC Fire and Smoke Restoration Certification
                         State Farm Flood Certification
                         Fomier Member of National Association of Independent Insurance Adjusters (NAIIA)
                         FEMA (DHS) Contractor Certification (Badge Number 7608306526)
                         National Flood Insurance Program (NFIP) Large Commercial Certification (FCN 06010133)
 Experience:            3/2001 to Present: Intrust Claim Servicine. Inc. QCS, Inc.)
                        CEOlUmpire/Appraiser
                       Responsible for handling everyday operations and management of this national loss consulting, independent
                       appraisal and umpire services firm. These responsibilities include consulting and settling multi-million.dollar
                       large loss disputes, hiring appraisers and umpires, training of management, field adjusters, case managers,
                       soflware implementation and website management. Estimation for commercial and residential property
                       damages resultant from these perils: water, fire/smoke, wind, mold, flood, vandalism, collapse, earth quake,
                       and construction defects.
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                       10/2011 - Present: Advanced AdiustinLr, LTD.
                       General Adjuster/Consultant
                       Handled hundreds of large-loss flood claims for the NFIP and WYO caniers. Also, led
                                                                                                                 the litigation team,
                       handling and managing dozens of flood claims in 1•itigation. Provided detailed protocols for, and
                                                                                                                          settled many
                       complex large losses for the company. Produced detailed scopes, exhibited estimating skills,
                                                                                                                      produced
                       presentations in negotiations with Attomeys and Public Adjusters for successful loss settlements.


                       1/2007 to 12/2019: Insurance Claims Groun, Inc.
                       Consultant: Appraiser/LTmpire
                        Provided detailed protocols for settling many large losses for the company. Also settled
                        many large losses in the capacity of appraiser. Detailed scope, estimating skills, presentation and
                        negotiation to appraisers and appraisal-umpires in successful loss settlements. Provided these
                        services to insurance can iers, individuals; and business-owners.


                        5/2010 — 3/2011: Worlev Catastroohe
                       Consultant: Large Loss/Business Interruption
                       BP Oil Spill: Advised and handled tens of thousands of large loss commercial Business
                       Interruption claims throughout the Gulf of Mexico states (Texas, Louisiana, Mississippi,
                       Alabama and Florida). Also supervised claims examiners and managed as liaison for
                       several Florida panhandle offices.


                      5/1993 to 3/2001: Self-emaloyed Indenendent Insurance Adiuster
                      During this 9 year period, 'Mr. Fraraccio worked as a daily claims adjuster and a catastrophe adjuster
                      with an impeccable record for the following companies:

                      Claim Adjustment Specialfsts, Inc, Global Claim Serrvices, Inc, Catastrophe Specialfsts,
                      InG, B& H Claims Service, IMS Catastrophe Adjusters, Pilot Catastrophe Serviees,
                      InG, National CatastropheAdjusters, InG (NCA), T.M. Mayfield & Co., Catastrophe
                      Insurance Adjusters, Refd, Jones, McRorie & William.s, Unfted Gates and Pylant, N&C
                      Claims, InG, Equity Claims, InG, Resource Services, Inc., Worley Catastrophe
                      Response, Insurance Clainrs Group, InG

                       Mr. Fraraccio's professional experience with •the.above-listed companies covers claims concerning
                       liability, appraisal losses, flood, hurricane, wind/hail, earthquake, freeze, and all other perils
                       common throughout the continental United States.


Estimating Software: Xactimate / National Cost Estimator / Marshall & Swift / Simsol / Blue Book Intemational


Benevolence:          Mr. Fraraccio consistently volunteers his time and donates financial resources both
                      locally and globally through various missions, helping the less fortunate improve their
                      quality of life.
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          The David Group
                                                                                              7Lmehu°y M. BaiIlkeir
                                                                                                      Claims@TDGroup.us
                                                                                                     Mobile (815)988-3337




                                               Curriculum Vitae


              My involvement in family owned, small businesses began
                                                                           at a young age. I began working in the
     building trades at the age of fifteen. I became involved
                                                               in large scale, historic renovations at the age of
     twenty as a"working" jobsite foreman. From age twenty throug
                                                                          h twenty-five, I became proficient at
     physically performing all of the building trades. This eventually
                                                                        led to a partnership in a fledgling real
     estate development firm. I became involved with the insurance industr
                                                                                 y seemingly by accident. I was
     assisting a storm restoration company on an insurance adjustment
                                                                             where in which Donan Engineering
     was involved. Soon after I spent the following two years perform
                                                                          ing ladder assists/consulting for ponan
     Engineering (while simultaneously acting as a Field Supervisor for
                                                                           a storm restoration company). This
     began what has become my entire careerfocus. While I still am
                                                                         engaged in real estate investments, my
     primary focus over the last (12) years has overwhelmingly been in
                                                                           the insurance industry. I have been
    fortunate enough to study under some of this industry's brighte
                                                                       st minds (on both sides of the proverbial
    fence). The experience I have gained from working under RRCs, RROs, PEs,
                                                                                    Attorneys and private
    business owners is what has allowed me to become proficient at settling large
                                                                                        losses. There is still much
    that I have to learn, but I have been involved in hundreds of large comme
                                                                                  rcial projects.


    I am licensed as a Public Adjuster, but I do not utilize my licensing i`the majorit
                                                                                        y of cases I am involved
    in. I consider myself to be an extremely fair and reasonable individual. Most
                                                                                     of my professional peers
    (on both sides) would tell you. that I am both respectful and fair. Since.2013, the
                                                                                         overwhelming majority
    ofthe claims I have adjusted, were settled without the aid ofthe Courts. I try my best
                                                                                                to always
    maintain an unmatched work ethic, a tremendous sense of fair play, and am always
                                                                                             willing to widen my
    professional know.ledge from those who are more experienced. Above all else,
                                                                                       I believe that if opposing
    parties meet on the common ground of good faith, any disagreement can be reconc
                                                                                             iled.


    Currently, approximately 50% of my workload is processed via Appraisal. I find the
                                                                                       "Alternative Dispute
    Resolution" process to be a more proficient way to handle losses because both interes
                                                                                          ted parties are
    removed from the process. Additionally, I appear on the "Umpire List" of a number
                                                                                       Independent
    Adjusters. I thoroughly support every position in each Appraisal and Adjustment. Even
                                                                                           as someone who
    has spent most of my career representing the consumer, I believe that unnecessarily
                                                                                        high
    estimates/awards lead to damaging the entire system (thus the consumer will inevitably
                                                                                            sufFer those
    consequences).
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   ~S




         Education

         2002-2003      Lincoln College

         2003-2004      College of Dupage



         Professional Exaerience

         1998-2000      RJB Desien

                        -General laborer

         2000-2005      Gaynors Inc/Mr. Scotts LLC

                        -Assistant Management/Jack of all trades for different family'businesses.
                                                                                                    Work
                        responsibilities consisted of labor, restaurant/bar management, custome
                                                                                                    r relations,
                        small scale renovations of rental properties.

        2005-2007      JMZ/JFMB Properties

                       -Job site floater on all active builds. Regularly perFormed roofing, carpentry
                                                                                                     , electrical,.
                       plumbing and demolition work.

                       -Rental Property Site Technician. I serviced more than 200 rental units in historic
                       buildings that had not yet been renovated.

        2007-2014      Urban Eguity Properties

                       -Partner/Site Foreman. We focused on large scale, complete renovations of historic
                       preservation properties, while also converting them to modern mixed-use
                       developments. UEP is still a commanding presence in the Real Estate development
                       markets ofthe Midwest.

        2009-2011      Rockton City Council

                       -Councilman for the City of Rockton, IL

        2010-2012      Donan Engineering

                       -Sub-contracted Consultant/Ladder Assist under Chris Hayes SE of Donan Engineering

        2010-2013      Hytek Exteriors/GC

                       -Field Supervisor. Eventually became the Sales Manager and was the top grossing
                       com'mercial salesman companywide from 2011-2013.

        2013-Current   Spartan Public Adiustments LLC

                       -Owner/Primary Adjuster. Spartan PA is a Public Adjusting firm with a focus on the
                       complex (and often large) insurance claims that otherfirms would release (orthat
                       would otherwise result in a lengthy legal battle). www.SpartanPA.com
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   ~1.




           2014-Current     The Heracles Group LLC

                            -Owner. The Heracles Group is a Real Estate develop
                                                                                  ment and management company
                            with a focus on affordable, historic housing, with tenant
                                                                                      service that is unmatched.
           2017-Current     The David Group LLC

                           -Claims Consultant. The David Group focuses primaril
                                                                                     y on claims consulting and all
                           forms of alternative dispute resolution within the insuran
                                                                                           ce restoration industry. We
                           also offer our clients training in ethics, sales and logistica
                                                                                          l services within the industry.
                           www.TDGroup.us




                                            Additional Points of Recognition
          -1 am a P.L.A.N. Certified Appraiser and Umpire

          - I have been involved in hundreds of commercial projects to
                                                                            date.
          - I have been involved in projects/claims with a total cost in excess
                                                                                    of 12M.
          - I take a"hands on" approach to every file. I conduct my own
                                                                        destructive testing and produce detailed
          property analysis reports (and estimates) for many of my custome
                                                                           rs.
          - I have upset people at times with my practical approach to public
                                                                               adjusting. There have been several
          occasions where I have talked commercial clients out of filing insuran
                                                                                 ce claims when they clearly have
          been misguided by an outside influence. I believe that this industry
                                                                               has been become needlessly
          adversarial (on both sides). Unfortunately, it is the consumer
                                                                         who often sufFers as a result.
         - I have completed both the level 1 and level 2 Xactimate training.
                                                                        I am proficient at writing both
         residential and commercial property adjustment/Appraisal estimat
                                                                          es.
         - I have been a part of as many as (60) Appraisals in a calendar year.

         - I have been certified in Lead removal in the State of Illinois

         - I have been certified in Asbestos removal in the State of Illinois

         - I have been licensed to practice as a Public Adjuster in (12) states.

         - I have been licensed (and am proficient) in nearly all of the building
                                                                                     trades.
         - I have completed to date (3) Certified Commercial Roofing Manufacturer
                                                                                          Courses.
         -1 have worked directly with (3) difFerent State Historic Preservation boards
                                                                                           on large projects.
         - Spartan Public Adjustments LLC/ Zachary M Baker to date has had zero disciplin
                                                                                                 ary action taken
         against it from any of the Department of insurances/Attorney General Offices
                                                                                               in any of the states where
         we have been licensed.

         - I am technologically "savvy".'I can efficiently utilize all Windows related
                                                                                         programs. I have also built
         several desktop computers.
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                                               Professional References


     -Attorney Raymond J Melton has been successfully
                                                            representing clients in and out of the courtroom for
     20 years; he has tried more than 60 cases to jury                                                              more than
                                                         verdict. Ray handles matters involving civil litigation
     estate, corporate litigation, real estate transactions                                                      includin g real
                                                            and defends insurance carriers in. He regularly
                                                                                                              handles large,
     complex, multi-million-dollar transactions on behalf
                                                            of his clients. Attorney Melton can attest to my ability,
     compass, and depth of industry related knowledge.                                                                 moral
                                                            We have work opposite of each other and now regular
     together on large loss cases. Attorney Melton is a Partner                                                       ly work
                                                                  at the Chicago based Law Firm of Smith Amund
     Point of Contact: Mr. Ray Melton (Partner) (312) 350-874                                                        sen.
                                                                  0

     -Urban Equity Properties is a large real estate develop
                                                             ment firm that Spartan PA has done work for a
     number of times over the years. We have successfully
                                                             negotiated several, millions of dollars' worth of
     claims for them.
     Point of Contact: Mr. Justin Fern (Founding Principal) (815)50
                                                                    5-5178

     -Pivotal Recruiting is one of the largest recruiting service
                                                                  providers for the storm restoration industry. We have
     worked closely with some of the same clients for years. The owner
                                                                           has referred me to several clients of his and has
     witnessed the proficiency of my work at both firms.
     Point of Contact: Matthew Snow (Owner) (773) 991-9975

    -Hytek General Contracting is a commercial and residential
                                                                 roofing firm with offices in Chicago, Detroit, and
    Rockford, IL. We have successfully negotiated Insurance settlem
                                                                     ents for their customers (and their affiliated
    companies)-consistently for the last few years. They continu
                                                                 e to be a valued customer of ours.
    Point of Contact: Mr. Joshua Wilson (630)776-3945


    -RAC Adjustments, Inc. provides a comprehensive range of services
                                                                           including commercial and residential property
    adjusting, workers' compensation, vehicle appraising, catastrophe
                                                                         adjusting, special investigations, telephone
    adjusting, and third-party administration. I have been on the opposin
                                                                            g end of adjustments opposite of their owner
    on several claims. He will attest to my character and ability as a Public Adjuste
                                                                                      r.
    Point of Contact: Mr. Darrell S. Roum (Owner) (815)967-3201

    -TNT Property Group is a large real estate development and management
                                                                                firm. Over the course of (5)
    years, we successfully obtained funding for complete replacements
                                                                          on every property they both owned
    and managed. Many of their developments are large multifamily propert
                                                                              ies (200+ unit properties) and
    large-scale commercial properties. As a result of our long standing, success
                                                                                 ful relationship, Mr. Tarandy
    had our firm do extensive work for his extended professional network.
    Point of Contact: Mr. Mike Tarandy (Majority Owner) (773)671-3758

    -IVIcDermaid Roofing & Insulating Co.is the oldest commercial/union roofer
                                                                                        in the City of Rockford, IL (and one of
    the largest in the State of Illinois). I have helped several of their large clients with
                                                                                             clams related issues and have
    had a relationship with the company for more than (10) years.
    Point of Contact; Paul Naretta (Owner) (815) 222-0074
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     -Kaney Aerospace is both an aerospace corporation/con
                                                                  tractor and a property holdings firm that is still
     currently a customer of ours. They have several Industria
                                                                   l and Commercial properties (many of them in
     high security settings as a result of the airport and their
                                                                 dealings as an aerospace manufacturer). I have
     secured to date over (2) million in Insurance settlements
                                                                  for them (and have additional
     settlements of potentially 1.2M pending as a result of storms
                                                                        that occurred in 2020).
     Point of Contact: Mr. Greg Steele (Property Agent/Manager)
                                                                       (815)978-5369


     -Windsor West Townhomes is a large condominium/townhome
                                                                      development of more than (90) 3-4
     bedroom townhomes. They initially received compensation
                                                                of approximately $22k from their Insurance
     Carrier after a large storm. We were retained and secured
                                                               an (approximate) additional $950k for them.
     Point of Contact: Mr. Jon Pantano (Former President) (630)639
                                                                    -6592

     -Meiborg Brothers Inc is a trucking and logistics firm headqua
                                                                   rtered in the Midwest. They are a
    current customer of ours, and I have successfully negotiated large property
                                                                                 loss settlements for them
    several times in the past as well.
    Point of Contact: Mr. Zach Meiborg (President/CEO) (779)210-3867

    -TNG Contractors INC is a Commercial and Industrial builder headqua
                                                                          rtered in Nashville, TN. They have
    built many of the new hotels and gas stations in the Middle Tenness
                                                                        ee area. We continue to work with
    them and all of their affiliated companies (and customers) on a regular
                                                                            basis. We have also negotiated
    large property settlements on Commercial properties owned by the
                                                                        Principal.
    Point of Contact: Mr. Akbar Arab (Owner) (615)394-4196

    -Summit Exteriors is a residential/commercial roofing company based
                                                                        in Illinois. Their owner is a former
    1ndependent Adjuster and Xactimate educator. I have resolved several large
                                                                                loss files with him over the past (10)
    years.
    Point of Contact: Joshua Jacobson (Owner) (815) 847-8850



    *Further references are available upon request. Some of our other large clients are
                                                                                         listed below:
    VishioForry PLLC, Safe Harbor Public Adjusters, NRG Restore, Attorney Scott Green, Kevin
                                                                                                Patel, Blackhawk Motors,
    Shanahowe Transportation, Stenstrom Companies Ltd, Reg Ellen Machine Tool Corp,
                                                                                           Victory Sports Complex,
    Ayushi Inc, First Baptist Church of Missouri, Abidon Inc Properties, McClenn
                                                                                 y, Moseley & Associates, Dr. Carl
    Patrnchak and Associates, Comprehensive Community Solutions, Villa Vista Condom
                                                                                          iniums, Dowling Investments
    North LLC, Fratelli Investments LLC, Gaynor's Restaurants Group, The Hard Corpora
                                                                                        tion Inc, Howard Johnson
    Hotels, Kramer Photographers, Golden Markets LLC, TriView Property Management
                                                                                          LLC, Victory Church.
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                      MARY JO O'NEAL, Sr. GA Adjuster
                 P.L.A.N. Cerfiified Appraiser & Umpire, NFIP, CEA
                                    2226 General Raines Dr., Murfreesboro, TN 37129
                                                     615-849-6400
                                                 Maryjo6400@aol.com

                                                SUMMARY OF QUALIFICATIONS
         ■       Certified Appraiser with P.L.A.N. ( Property Loss Appraisal Network)
         ■       Citizens of Florida — Commercial GA Adjuster
         '       19 yrs experience Independent Catastrophe Adjuster for various insurance companies vrith strengths in
                 knowiedge of various policies, state guidelines and policy limits.
         '       31 yrs experience in the construction industry with outstanding customer service skills and a high level of ethics
                 and professionalism.
         •       42 yrs experience in Residential and Commercial Real Estate sales with extensive client communication and
                 service skills, Nashville Metropolitan Area
         •       Enthusiastic team piayer/builder, outstanding communicator and negotiator, one-on-one and groups, written
                 and oral.
         •       Creative problem solving: maximizing resources and time management.
         •       Computer skills in Xactimate, Simsol and MS Office products, including paperless file transfer protocols &
                 wireless communication systems.
         °       State adjuster licenses: Florida, Texas, Louisiana & Georgia
         °       California EarthquaRe Accn:ditation (CEA) Certified.
         °       National Flood Insurance Program (NFIP) Certifled large commercial, dwelling, mobile home, small commercial
         ■       National Incident Management Systems (NIMS) and Incident Command System (ICS) training.
         •       E-RAILSAFE approved (certification to drive in rail yards)

                                              PROFESSIONAL EXPERIENCE
             ■    4 yrs experience as Senior Adjuster & Appraiser representing various carriers:
                  Allstate, Encompass, and Esurance.
             ■    Court appointed and/or selected umpire on numerous commercial 8 residential
                  disputed claims throughtout Tennessee and surrounding, states with awards in
                  excess of $1.4 million. Invoked as umpire position to settle disputed claims on new
                  auto dealerships, large chain restaurants, multi-unit condominium complexes,
                  large building products retail center, large furniture retail stores, large city owned
                  office & public works buildings, garage maintenance facilities and fire stations.
             ■    Flood catastrophe adjuster, certified since 2007 vrith 6 yrs flood adjusting experience in the field.
                  Adjusted numerous claims in excess of $1,000,000.00 in various states including TN, TX, LA, GA & MS
             ■    Flood certified for Large commercial, dwelling, mobile home and small commercial claims.
                                                                                                                             claims
             ■    Evaluated damages, completed estimates, negotiated Wth policyholders or their contractors and settled
                  in a professional manor with minimum    or no supervision or file rejection.
                                                                                                                        time
             ■    Managed multiple claim assignments, accomplished 1st contacts and set reserves within required
             ■    Consistently maintained priority of customer service skills along wlth time management in a highly pressurized,
                  multi-tasking environment under emergency conditions.
             ■    Experience Sinkhole claims settling for Citizens of FL.
             ■    Completed Citizens of FL Large Commercial Desk Adjuster training as a
                  Commercial GA adjuster.
             ■    Experienced in adjusting commercial liability claims involving in-depth investigation of large
                  commercial claims to establish cause or fault as well as bodily injury claims.
                                                                                                                         Irene,
             ■    Catastrophic Insuranoe Adjuster for Hurricanes Charlie, Francis, Jean, Katrina, Wilma, Gustov, Ike.
                  Sandy,  Harvey,  Irma,  Michael etc., and Tropical  Storm   Dolly.
                                                                                                                  on various claims.
             ■    Participated in settling claim assignments as an appraiser as well as selected as an umpin:
                                            Adjuster for Hurricanes,  Hail,  and Tornado  events in TX, IN, KY, TN, MN, MO, FL, KS,
             ■    Catastrophic Insurance
                  NC, VA, NJ, LA, IA MS and Flood      events  in TN, MS,   LA, TX,  FL and IL.
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            ■    Liability Claims Adjuster (Personal Injury, Commercial, Residential 8 Automofive)

                                       CONSTRUCTION & REAL ESTATE

            ■    Shared responsibility in floor plan selections and design with architectural changes, to setting and maintaining
                 the construction budgets, overseeing the construction process and accomplishing the. goal of higher profitability
                 for the contracts.
            ■    Assisted contractors with the overseeing of all phases of the building process while developing a working
                 knovvledge of residential construction.
            '    Managed multiple listings for sellers and builders/contractors while assisting multiple buyers in the selection,
                 negotiation, loan qualification and closing process of all real estate transactions.
            '    Accomplished multi-million dollar sales awards several years in a row. Customer service as the main focus,
                 with• high ethical standards, professionalism and self-motivation attributing key factors.


                                                              HISTORY

        2003 - Present                Adjusted for various independent adjusting companies since 2003 including, but not limited
                                      to, Worley Co., EA Renfroe, Eberls, Pacesetter Claims, Team One, Bradley Stinson &
                                      Assoc., NCA, Administrative Strategies, Colonial Claims, RJMW & CIS Specialty Claims.
        1976 - 2018
        Key Concepts Real Estate              2017 - Present
        Bob Parks Realty, Murfreesboro, TN     2013 - 2017
        Encore Real Estate Assoc.             2007 - 2010
        Prudential - RovAand Real Estate       1999 - 2007
        Bob Parks Realty, Murfreesboro, TN     1997- 1999
        Crye-Leike Realty, Murfreesboro, TN    1995 - 1997
        Prudential Real Estate Assoc.          1987 - 1995
        Mayes Real Estate                      1979 -1987
        General Contractor            1976 -1989

                                                EDUCATION & TRAINING
        Certificate of Completion — Citizens of Florida Commercial DA Training Program (as a Commercial GA Adjuster)
        Certificate, Flood Certified, (NFIP) Large Commercial, Dwelling, Mobil Home & Small Commercial
        Certificate, Property Damage Course, Epps Insurance Training Program, Dallas, TX
        Certificate, Earthquake Accreditation
        Donan Engineering Roof Systems Course
        Certificate, Insurance License for the State of Tennessee
        Certiflcate, Auto Adjusting - Alistate
        Certification of Completion - Adjusting Auto Flood & Hail Losses training
        Certificate of Completion — Allstate Auto Adjusting Certification
        Business Education, Middle Tennessee State University
        Real Estate Fundamentals & Law, University of Tennessee

                                    ADJUSTING LICENSE & CERTIFICATION
        NFIP Certified FCN#05080114 (Including LG Commercial)               Louisiana State Adjusters License #522698
        CEA California Earthquake Certified                                 Allstate Auto Adjusting Certification
        Florida state adjusters License #E141507                            Tennessee Real Estate Affiliate Broker License
        Texas state adjusters License #1263631                              Tennessee Insurance License
        Georgia state adjusters License #3335254

        SPECIFIC INSURANCE ADJUSTING EXPERIENCE Wor CERTIFICATIONS
        State Farm                                                  Nationwide (Wind, Haii & Flood)
        USAA                                                        Citizens O1Florida
        Allstate (Property & Auto)                                  Tower Hill (wind & flood) (dwelling & commercial)
        Citizens of Florida (GA Commercial & Property)               Shelter
        St Paul Travelers                                            Safeco
        USF&G                                                        Farm Bureau
        QBE & QBE 1sf                                                American Family
        Liberty Mutual — LMAC (Core Adj.)                            Guard Insurance (Commercial property loss claims)
        NFIP Direct & various flood carriers & WYO co.'s             Farmer's (Fire Ins. Exchange) Flood
        Consumers Insurance Co. & Continental Westem Ins. Co. (commercial liability and auto liability claims)
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    Russ Perkins
    17457 E Bellewood Cir I Aurora, CO 1 720.724.6491 1 perkinsruss5@gmaii.com


    EDUCATION
            •    Blanche Thomas High School Graduate
                    2000
            • Eastern New Mexico University College of Business 2001-2004



       AREAS OF EXPERTISE/SKILLS

             •       Achieved consistent yearly brand sales increases of 20 % as commissioned Insurance restoration project manager.
             •       Twenty years in all types of construction with emphasis on property claims damage inspection, valuation,and estimating.
             •       Simultaneous supervision of numerous subcontractors on multi-state projects.
             •       Competent Independent Insurance Appraisals / Umpire Services / Appraisal. Estimates / Appraisal Support.
             •       Profound knowledge of tools and equipment used in roofing
             •       Sound knowledge of safety procedures applied during roof replacement and installation
             •       Highly motivated professional with ability to work as a part of a team
             •       Exceptional physical capability to work at heights up to 40 feet
             •       Sound knowledge of federal regulations and local ordinances related to work
             •       Skilled at operating various electric tools that include grinder, sander, air compressor, high pressure hydraulic systems & other
                     equipment
             •       Exceptional ability to interpret building specifications, codes and make square footage calculations
             •       Clear Understanding of all aspects of property damage inspections, replacement
                     costs, and depreciation applications.

             •       Property and Casualty claims damage assessments implemented with Xactimate
                     Estimating Software. Event Time line reporting.

             •       Inspection and submission of thorough and accurate property damage estimates
                     w/photographic evidence / reports / presentations to insurance company
                     executives and senior adjusters on behalf of insureds and company.

             •       Developing new client bases and implementing new services while representing
                     company's best interests financially.

    EMPLOYMENT EXPERIENCE:

                •    P& G Construction Consultants LLC                                                                                 2017 - Present
                     Mile High Roofing, Inc. / Managing Partner                                                                        2016 - 2017
                •
                     Expert Exteriors LLC / General Manager / Sales Manager                                                            2013 - 2015
                •
                •    Total Home Exteriors LLC / Productiion Manager / Sales Manager                                                    2009 - 2010
                •    OnTop Roofing, Inc. / Owner                                                                                       2006-2009
                •    OnTop Roofing, Inc. — Denver Branch / Managing Partner                                                            2004 - 2006




    MEMBERSHIPS:          (PAST AND CURRENT)
                •    GAF Certified Contractor
                •    Colorado Roofing Association
                •    Certainteed Master Applicator
                •    National Roofing Contractors Association


    REFERENCES:
                 •   Kevin Fanter                                                    Denver, CO                             720-441-8866
                 •   Randy Songstad                                                  Memphis, TN                            901-870-5500
                 •   Blake Christopher                                               Denver, CO                             720-465-0329
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                                                                      2908 Ppston Avenue
                                                                      Nash •Ile, TN 37203
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